Case 1:22-cv-02234-EK-LB   Document 74-2 Filed 08/24/23   Page 1 of 58 PageID #:
                                     3979



                               EXIBIT #2
                  Case 1:22-cv-02234-EK-LB                 Document 74-2 Filed 08/24/23                     Page 2 of 58 PageID #:
                                                                     3980
                                                                       EXHIBIT 2
                                                         LIST OF 218 FEDERAL CASE SUMMARIES
                                                          ON OSHA PRIVATE RIGHT OF ACTION

     Case Name                                           Factual Allegations                                                                                          Court
1.   Mills v. Hastings Utils. Mills v. Hastings Utils.   "Mills alleges, because in November 2014, Mills reported the existence of several safety violations to       D. Neb
     (D. Neb. 2019) (D. Neb. 2019)                       the Occupational Safety and Health Administration (OSHA), Hastings Utilities unlawfully retaliated
                                                         against him in violation of OSHA and the Nebraska Fair Employment Practice Act..." Mills v. Hastings
                                                         Utils. (D. Neb. 2019). Filing 1-1 at 3." Mills v. Hastings Utils. (D. Neb. 2019)
2.   Lopez-Ramos v. Cemex de P.R., Inc. (D. P.R.         "Mr. López-Ramos' work consisted of removing the tank's old steel plates and replacing them with             D.P.R.
     2020)                                               new ones. Id. ¶ 12. An incident occurred where three (3) steel plates detached and fell but did not
                                                         injure the workers." Lopez-Ramos v. Cemex de P.R., Inc. (D. P.R. 2020) "in January 26, 2018, Mr.
                                                         López-Ramos filed a complaint under the Mine Act and OSHA before the U.S. Department of Labor."
                                                         Lopez-Ramos v. Cemex de P.R., Inc. (D. P.R. 2020)
3.   Kozar v. AT & T, 923 F. Supp. 67 (D. N.J. 1996)                                                                                                                  D. N.J.
                                                         Her eye irritation was caused by "airborne irritants, most likely from the construction at the work
                                                         place." Complaint ¶ 13. As a result, "plaintiff telephoned the area office of the Occupational Safety
                                                         and Health Administration of the United States Department of Labor ... and filed an Informal
                                                         Inspection Complaint." Complaint ¶ 17. Plaintiff further contends that she was harassed and
                                                         threatened after she requested a "hazardous chemical" list from her employer. Complaint ¶ 16.
                                                         According to Plaintiff, she was terminated from her employment shortly thereafter "on the false
                                                         pretext that she was guilty of falsifications of records in violation of the company's ethics code."...
                                                         Kozar v. AT &amp; T, 923 F. Supp. 67 (D. N.J. 1996)
4.   Gomez v. Wilson (D. Neb. 2013)                      Claim - "OSHA failed to adequately investigate violations of OSHA regulations as barred
                                                         under the FTCA's discretionary function exception)." Gomez v. Wilson (D. Neb. 2013)
5.   Haddix v. CentraSol, LLC (N.D. Tex.                                                                                                                              N.D. Tex
                                                         Haddix contends that: “Defendant again fails to deny that threats of physical violence by a Centrasol
     2021)                                               employee occurred and the Defendant failed to take any corrective actions”; “[t]he current OSHA laws
                                                         are poorly written[, ] . . . fail to protect employees from dishonest and unethical employers, ” “allow[ ]
                                                         for discrimination[, ] . . . racial bias, ” and “an employer to terminate an employee for dishonest
                                                         reasons to avoid reporting safety violations”; and “[t]he Department of Labor and Secretary of Labor
                                                         have failed to recognize to [sic] necessity to correct the errors in the OSHA laws in their current
                                                         form.”...
                                                         Haddix v. CentraSol, LLC (N.D. Tex. 2021)
6.   Pardo v. Securitas (E.D. N.Y. 2013)                 "Pardo alleges the following: I was wrongfully and illegally terminated for complaining to the               E.D. N.Y.
                                                         union about OSHA and other violations. Therefore, my employer (Securitas) fired me on
                                                         bogus charges of insubordination for listening to electronic devices." Pardo v. Securitas (E.D.
                                                         N.Y. 2013)
7.   Alexandria Div. Kenneth Hinton v. New
                                                         Hinton encountered the parasitic insects commonly known as "bedbugs." (Compl. ¶ 9.) Defendant
     Hope Hous. Inc. (E.D. Va. 2011)                     subsequently filed complaints regarding safety and health hazards with various county, state and
                                                         federal agencies. (Compl. ¶ 11.) Plaintiff alleges that he was wrongfully terminated in retaliation for
                                                         filing these complaints, and that Defendant thereby violated the anti-retaliation provisions of the
                                                         Virginia Occupational Safety and Health laws ("VOSH"),...
                                                         Alexandria Div. Kenneth Hinton v. New Hope Hous. Inc. (E.D. Va. 2011)
8.   Holmes v. Schneider Power Corp., 628                "Holmes filed a complaint with OSHA alleging that a retaliatory discharge had taken place
                                                         because Holmes had complained to OSHA about welding fumes at the Beaver Valley Power
     F.Supp. 937 (E.D. Pa. 1986)
                Case 1:22-cv-02234-EK-LB          Document 74-2 Filed 08/24/23                 Page 3 of 58 PageID #:
                                                            3981
                                                              EXHIBIT 2
                                                LIST OF 218 FEDERAL CASE SUMMARIES
                                                 ON OSHA PRIVATE RIGHT OF ACTION

                                                Station project in Shippings-port where he had worked for defendant." Holmes v. Schneider
                                                Power Corp., 628 F.Supp. 937 (E.D. Pa. 1986)
9.    Walker v. Universal Health Servs. (D.
                                                She seeks relief based upon Title VII for unequal terms and conditions of employment,
      S.C. 2022)                                termination, and retaliation based on her race (id. at 3, 5). She also alleges retaliation in
                                                violation of OSHA, and wrongful termination under unspecified state law (id. at 4). For relief,
                                                the plaintiff seeks money damages (id.
                                                Walker v. Universal Health Servs. (D. S.C. 2022) (No facts provided regarding OSHA)
                                                "The requirement of liberal construction does not mean that the Court can ignore a clear
                                                failure in the pleading to allege facts which set forth a claim cognizable in a federal district
                                                court. See Weller v. Dep't of Soc. Servs., 901 F.2d 387, 391 (4th Cir. 1990)." Walker v.
                                                Universal Health Servs. (D. S.C. 2022)
10.   Jeter v. St. Regis Paper Co., 507 F.2d
                                                Assuming without deciding that St. Regis may have violated the requirements of OSHA and
      973, 35 A.L.R. Fed. 449 (5th Cir. 1975)   the regulations promulgated thereunder by the Secretary of Labor, we affirm the trial court's
                                                charge and hold that no cause of action for such violations can be implied under OSHA to run
                                                in favor of a person who was not an employee of the violator against whom recovery is
                                                sought.
                                                Jeter v. St. Regis Paper Co., 507 F.2d 973, 35 A.L.R. Fed. 449 (5th Cir. 1975)
                                                The provisions for the enforcement of OSHA and the regulations promulgated thereunder
                                                are sufficiently comprehensive to make such a private right of action unnecessary to
                                                effectuate the congressional policy underpinning the substantive provisions of the statute.
                                                See Martinez v. Behring's Bearings Service, Inc., 501 F.2d 104 (5th Cir. 1974); cf. Breitweiser
                                                v. KMS Industries, Inc., 467 F.2d 1391, 1394 (5th Cir. 1972), cert. denied, 410 U.S. 969, 93
                                                S.Ct. 1445, 35 L.Ed.2d 705 (1973).
                                                Jeter v. St. Regis Paper Co., 507 F.2d 973, 35 A.L.R. Fed. 449 (5th Cir. 1975)
                                                "Although the results are not yet conclusive as to the litigation of private claims spawned by
                                                this relatively new Act, the courts so far have been unanimous in their rejection of
                                                contentions similar to the one made by Jeter." Jeter v. St. Regis Paper Co., 507 F.2d 973, 35
                                                A.L.R. Fed. 449 (5th Cir. 1975)
                                                NOTE: Jeter points out that "The Fourth Circuit has refused to imply an action against the
                                                employer itself, where state workmen's compensation was the exclusive remedy of the
                                                injured party. Byrd v. Fieldcrest Mills, Inc., 496 F.2d 1323 (4th Cir. 1974)." Jeter v. St. Regis
                                                Paper Co., 507 F.2d 973, 35 A.L.R. Fed. 449 (5th Cir. 1975) – Where there is a remedy there is
                                                no private right of action.
                                                Although the facts here do not call upon us to decide definitively whether OSHA may create
                                                a private right of action by an employee against his employer, we perceive no base upon
                                                which to posit a claim on behalf of Jeter, a nonemployee, against St. Regis. St. Regis owes no
                                                duty to Jeter under OSHA. There being no duty, there can be no breach. The district court
                                                was correct in not submitting this theory of action to the jury.
                                                Jeter v. St. Regis Paper Co., 507 F.2d 973, 35 A.L.R. Fed. 449 (5th Cir. 1975)
                Case 1:22-cv-02234-EK-LB           Document 74-2 Filed 08/24/23                   Page 4 of 58 PageID #:
                                                             3982
                                                               EXHIBIT 2
                                                 LIST OF 218 FEDERAL CASE SUMMARIES
                                                  ON OSHA PRIVATE RIGHT OF ACTION

11.   Carson v. Willow Valley Cmtys. (E.D. Pa.
                                                 Carson handwrote a declaration stating that the Willow Valley Clubhouse did not display
      2018)                                      various labor law posters or maintain an OSHA 300 recordkeeping log and read this
                                                 declaration out loud to Zerphey. Compl. ¶¶ 62-63, 65. Tracy became visibly angry and
                                                 demanded, "Where are you going with all of this?" Compl. ¶ 66. When Carson stated that he
                                                 could not sign something that was not true,2 Zerphey shouted "Charles, you are
                                                 terminated." Compl. ¶ 67.
                                                 Carson v. Willow Valley Cmtys. (E.D. Pa. 2018) "arson contends that Willow Valley
                                                 terminated him in retaliation for his OSHA complaints, ''mandatory reporting' of possible
                                                 'elderly abuse'' and unspecified 'help to Clubhouse dishwasher Mr. Jonathan Balueger' in
                                                 drafting and filing a complaint with the EEOC and Pennsylvania Human Relations
                                                 Commission. Compl. ¶¶ 72-74." Carson v. Willow Valley Cmtys. (E.D. Pa. 2018)
12.   Ellis v. Chase Communications, Inc., 63
                                                 “OSHA regulations can never provide a basis for liability. Minichello, 756 F.2d at 29. The Act
      F.3d 473, 153 A.L.R. Fed. 693 (6th Cir.    itself explicitly states that it is not intended to affect the civil standard of liability. 29 U.S.C.
      1995)                                      Sec. 653(b)(4). Plaintiffs have failed to establish a theory under which Chase owed a duty to
                                                 Ellis, as, under Tennessee law, the defendant owed no duty to protect Ellis from an obvious
                                                 and apparent danger.
                                                 Ellis v. Chase Communications, Inc., 63 F.3d 473, 153 A.L.R. Fed. 693 (6th Cir. 1995)
                                                 Instead of denying that they failed to comply with OSHA regulations or that they had an
                                                 obligation to do so, defendants denied that they had an obligation to comply with OSHA
                                                 regulations for the benefit of Ellis. In essence, defendants argued that, since Ellis was not
                                                 their employee, he was not within the class of persons protected by the OSHA regulations.
                                                 Ellis v. Chase Communications, Inc., 63 F.3d 473, 153 A.L.R. Fed. 693 (6th Cir. 1995)
13.   Fisher v. Stewart Ctr. (D. Nev. 2011)
                                                 Plaintiff asserts claims for relief for (1) negligence in instructing him on how to use sodium
                                                 hydroxide in violation of NRS 41.130, (2) negligence in failing to provide him protective eye
                                                 gear in violation of NRS 41.130, and (3) for a violation of the Occupational Safety and Health
                                                 Act (hereinafter "OSHA").
                                                 Fisher v. Stewart Ctr. (D. Nev. 2011)
14.   Sanborn v. DentalOne Partners Inc.
                                                 Plaintiff was responsible for the quality of staff and dental services. Plaintiff alleges that
      (S.D. Ohio 2018)                           during her employment, she observed violations of the Occupational Safety and Health
                                                 Administration's ( "OSHA") laws and regulations and also violations of the Health Insurance
                                                 Portability and Accountability Act's ("HIPAA") patient privacy requirements. She further
                                                 alleges that when she reported these violations to her supervisor, Defendant Overton,
                                                 Defendants retaliated against her by taking a number of adverse actions and ultimately
                                                 terminating her in April 2017.
                                                 Sanborn v. DentalOne Partners Inc. (S.D. Ohio 2018)
15.   Nasuti v. Kerry (D. Mass. 2016)
                                                 Nasuti alleges that the Secretary and the Department have failed to carry out their duties
                                                 under certain federal laws to provide adequate body armor to employees and visitors at
                                                 United States embassies abroad. He also alleges misconduct in relation to the termination of
                                                 his employment at the Department, as well as several claims under the Freedom of
                                                 Information Act ("FOIA").
                Case 1:22-cv-02234-EK-LB             Document 74-2 Filed 08/24/23               Page 5 of 58 PageID #:
                                                               3983
                                                                 EXHIBIT 2
                                                   LIST OF 218 FEDERAL CASE SUMMARIES
                                                    ON OSHA PRIVATE RIGHT OF ACTION

16.   Baudison v. Walmart, Inc. (S.D. Ill. 2020)
                                                   Plaintiff also alleges that Walmart stacks and stores products in a manner that violates the
                                                   requirements of the Occupational Safety and Health Administration ( "OSHA") (Doc. 21 at p.
                                                   13). Elaborating on her OSHA allegations, Plaintiff contends that employees of Walmart do
                                                   not practice proper safety procedures when removing items from the top shelf (Id.
                                                   Baudison v. Walmart, Inc. (S.D. Ill. 2020)
17.   Sorge v. Wright's Knitwear Corp., 832 F.     Ct Denied Defendants MTD – Found violation of public policy – by statute or constitution and
                                                   that administrative remedies under state statute on exclusive.
      Supp. 118 (E.D. Pa. 1993)                    Facts:
                                                   According to the complaint, High Voltage and Emerson supervised the electrical
                                                   maintenance performed at Chrysler's plant at the time of the explosion. As grounds for the
                                                   negligence claims, the complaint alleged that the defendants each failed to comply with
                                                   numerous safety measures and standards including the Occupational Safety and Health Act
                                                   (" ;OSHA"), 29 U.S.C. § 653. The complaint also asserted a state law claim for loss of
                                                   consortium by plaintiff Marie Stephens against each of the defendants.
                                                   Stephens v. High Voltage Maintenance Co., 323 F.Supp.2d 650 (E.D. Pa. 2004)
18.   Stephens v. High Voltage Maintenance
                                                   As grounds for the negligence claims, the complaint alleged that the defendants each failed
      Co., 323 F.Supp.2d 650 (E.D. Pa. 2004)       to comply with numerous safety measures and standards including the Occupational
                                                   Safety and Health Act (" ;OSHA"), 29 U.S.C. § 653. The complaint also asserted a state law
                                                   claim for loss of consortium by plaintiff Marie Stephens against each of the defendants.
                                                   Stephens v. High Voltage Maintenance Co., 323 F.Supp.2d 650 (E.D. Pa. 2004)
19.   Dowdell v. Love's Travel Stop (W.D. Va.
                                                   Dowdell further alleges that a pool of water extended six feet from the entrance to the
      2013)                                        regular shower, and that there were "[n]o signs posted to alert [him] that this was a possible
                                                   problem." (Id.) Dowdell's amended complaint* appears to assert claims under four federal
                                                   statutes: the Developmental Disabilities Assistance and Bill of Rights Act of 1990, 42 U.S.C. §§
                                                   15001-15115; Page 2 the Occupational Safety and Health Act of 1970, 29 U.S.C. §§ 651-
                                                   678;... Dowdell v. Love's Travel Stop (W.D. Va. 2013)
20.   George v. Aztec Rental Center Inc., 763
      F.2d 184 (5th Cir. 1985)                     On November 21, 1984, defendant filed a motion for summary judgment, contending, inter
                                                   alia, that shortly after plaintiff's discharge, which defendant contended was for inadequate
                                                   performance on the job, plaintiff filed a complaint with the Secretary of Labor pursuant to
                                                   section 11(c)(2) making the same complaint as made in this suit, namely, that his referenced
                                                   discharge was in retaliation for previous OSHA complaints, contrary to section 11(c)(1); that
                                                   in response the Department of Labor, on November 9, 1981, determined that the discharge
                                                   was a retaliatory one contrary to section 11(c)(1) and recommended a settlement between
                                                   the plaintiff, the defendant, a...
                                                   Note: "In the absence of strong indicia of a contrary congressional intent, we are compelled
                                                   to conclude that Congress provided precisely the remedies it considered appropriate.'..."
                                                   George v. Aztec Rental Center Inc., 763 F.2d 184 (5th Cir. 1985)
21.   Goforth v. Nev. Power Co., 101 F.Supp.3d     "Plaintiffs allege that Defendants violated several Occupational Safety and Health
                                                   Administration (“OSHA”) regulations." Goforth v. Nev. Power Co., 101 F.Supp.3d 975 (D.
      975 (D. Nev. 2015)                           Nev. 2015)
                 Case 1:22-cv-02234-EK-LB                 Document 74-2 Filed 08/24/23               Page 6 of 58 PageID #:
                                                                    3984
                                                                      EXHIBIT 2
                                                        LIST OF 218 FEDERAL CASE SUMMARIES
                                                         ON OSHA PRIVATE RIGHT OF ACTION

22.   Arya v. Ensil Technical Servs., Inc. (W.D. N.Y.   Plaintiff was employed by Ensil from November 1 through November 17, 2010. According to
                                                        OSHA's written findings regarding Plaintiff's retaliation complaint, Plaintiff contacted the
      2012)                                             New York State Public Employee Safety and Health Bureau on November 5, 2010, and
                                                        complained that he was exposed to a spray coating without proper ventilation. This
                                                        information was forwarded to OSHA, which conducted an investigation on November 12 and
                                                        November 17, 2010, Ensil was issued citations as a result of the OSHA investigation.
                                                        Arya v. Ensil Technical Servs., Inc. (W.D. N.Y. 2012)
23.   Jacobsen v. N.Y.C. Health & Hosps. Corp.          Jacobsen also alleges violations of OSHA. First, he contends that, in violation of 29 U.S.C. §
                                                        654—which mandates that employers provide a place of employment free of hazards and
      (S.D. N.Y. 2013)                                  comply with occupational safety and health standards—HHC exposed him to hazardous
                                                        dusts and asbestos each time he visited a construction site. Despite requesting necessary
                                                        and proper equipment, Jacobsen claims that he was "never given more than a paper sheet
                                                        mouth covering" to protect him from dust and asbestos. Second, Jacobsen alleges a
                                                        violation of 29 CFR § 1910.132(a), an occupational safety and health standard promulgated
                                                        by the Department of Labor's Occupational Safety and Health Administration, which
                                                        mandates that employers provide protective clothing and barriers "wherever it is necessary
                                                        by reason of hazards of processes or environment, chemical hazards, radiological hazards, or
                                                        mechanical irritants encountered in a manner capable of causing injury or impairment in the
                                                        function of any part of the body through absorption, inhalation or physical contact." Again,
                                                        Plaintiff contends that the lack of proper protective equipment contributed to his medical
                                                        condition and violated Department of Labor standards.
                                                        Jacobsen v. N.Y.C. Health & Hosps. Corp. (S.D. N.Y. 2013)
                                                        "Accordingly, as OSHA does not provide a private right of action for employees to bring
                                                        claims in federal court based on alleged violations of its provisions or associated
                                                        regulations, Plaintiff's OSHA claims must be dismissed." Jacobsen v. N.Y.C. Health & Hosps.
                                                        Corp. (S.D. N.Y. 2013)
24.   Lynn v. Ballard Cnty. (W.D. Ky. 2016)
                                                        In her complaint, Lynn claims "Defendants terminated Ms. Lynn in violation of the public
                                                        policy established by 803 KAR 2:307 § 2 and 29 C.F.R. § 1910.1030(d)." (Docket #1-2). The
                                                        parties agree that the only reference to federal law, and thus the only possible basis for
                                                        federal question jurisdiction, is Lynn's reference to 29 C.F.R. § 1910.1030(d). This regulation
                                                        is part of the Occupational Safety and Health Act ( "OSHA").
                                                        Lynn v. Ballard Cnty. (W.D. Ky. 2016) Cited - "Ellis v. Chase Commc'ns, Inc., 63 F.3d 473, 478
                                                        (6th Cir. 1995); Minichello v. U.S. Indus., Inc., 756 F.2d 26, 29 (6th Cir. 1985) ( 'OSHA
                                                        regulations can never provide a basis for liability because Congress has specified that they
                                                        should not')." Lynn v. Ballard Cnty. (W.D. Ky. 2016)
25.   Kennard v. Louis Zimmer Communications,           In June of 1983, she complained to defendant Zimmer regarding her medical problems
                                                        related to the combination of chemical fumes and cigarette smoke present in her work area.
      Inc., 632 F.Supp. 635 (E.D. Pa. 1986)             As a result of this complaint, defendant Zimmer directed all employees to stop smoking on
                                                        the premises and moved her work table from the rear of the office where the chemicals
                                                        were used to the reception area in the front.        On or about June 23, 1983, Tim Kennard,
                                                        Maureen Kennard's husband, telephoned the Occupational Safety and Health
                                                        Administration ( "OSHA") and complained regarding the lack of ventilation at the business
                  Case 1:22-cv-02234-EK-LB           Document 74-2 Filed 08/24/23                 Page 7 of 58 PageID #:
                                                               3985
                                                                 EXHIBIT 2
                                                   LIST OF 218 FEDERAL CASE SUMMARIES
                                                    ON OSHA PRIVATE RIGHT OF ACTION

                                                   premises of the defendants. …. ;OSHA prepared a formal complaint and sent it to the
                                                   Kennard residence but Maureen Kennard elected not to file a formal written complaint.
                                                   Kennard v. Louis Zimmer Communications, Inc., 632 F.Supp. 635 (E.D. Pa. 1986)

26.   Sheppard v. Ill. Cent. R.R. Co. (S.D. Ill.   "Before the Court are Defendants' motions to dismiss for lack of subject matter jurisdiction
                                                   pursuant to Rule 12(b)(1) (Docs. 14, 27). Plaintiff filed responses in opposition (Docs. 24, 31).
      2017)                                        For the following reasons, the motions are DENIED." Sheppard v. Ill. Cent. R.R. Co. (S.D. Ill.
                                                   2017) "Plaintiff Michael Sheppard was formerly employed by Illinois Central Railroad
                                                   Company as an Assistant Trainmaster. Sheppard filed a complaint with the Occupation
                                                   Safety and Health Administration ( 'OSHA') on March 4, 2016, alleging violations under the
                                                   Federal Railroad Safety Act, 49 U.S.C. 20109 ('FRSA')." Sheppard v. Ill. Cent. R.R. Co. (S.D. Ill.
                                                   2017) "OSHA never began an investigation into Sheppard's complaint. Accordingly,
                                                   Defendants' motions are denied..." Sheppard v. Ill. Cent. R.R. Co. (S.D. Ill. 2017)

27.   Brooks v. Alcon (N.D. Tex. 2021)             Brooks filed her suit pursuant to "29 U.S.C. §661, Occupational Safety and Health Review
                                                   Commission" and asserts no other basis for subject matter jurisdiction in this Court. Id. at 4.
                                                   She claims that working conditions at the Alcon facility injured her eyes and nose,
                                                   specifically that the "affected area would turn from normal to a slightly darker shade 1"
                                                   and that "[g]irly features would change from almond shape eyes to round." Id. at 5. Brooks
                                                   claims that these changes primarily occurred when she was working alone in the weigh and
                                                   washroom. Id. at 8-9. She believes that exposure to a "negative environment" while working
                                                   at Alcon for approximately seven months caused these changes.
                                                   Brooks v. Alcon (N.D. Tex. 2021) cites - Evans v. Turner, 59 F.3d 1242 (5th Cir. 1995). "The
                                                   provisions for the enforcement of OSHA and the regulations promulgated thereunder are
                                                   sufficiently comprehensive to make such a private right of action unnecessary to
                                                   effectuate the congressional policy underpinning the substantive provisions of the
                                                   statute." Jeter v. St. Regis Paper Co., 507 F.2d 973, 976-77 (5th Cir. 1975).
                                                   Brooks v. Alcon (N.D. Tex. 2021)

28.   Roman v. Tyco Simplex Grinnell (M.D. Fla.
                                                   Roman initiated this action on December 19, 2016. (Doc. # 1). In the original Complaint,
      2017)                                        Roman stated in full:
                                                   While working for Tyco Simplex Grinnell, I was harassed, eggs, mucus, grease or tar thrown
                                                   on company van. Placed in unfair and unsafe work Conditions. Causing me high blood
                                                   pressure. All because an oral Contract was breached.
                                                   Roman v. Tyco Simplex Grinnell (M.D. Fla. 2017)

29.   Baker v. Phillips (D. S.D. 2018)             "In support of his claims, plaintiff asserts the following facts. Defendants Brent Phillips and
                                                   Lia Green manage a health care organization." Baker v. Phillips (D. S.D. 2018) "The
                                                   defendants obstructed an OSHA inspection. Id. Plaintiff visited the OSHA Area District Office
                                                   in Bismarck, North Dakota. Id. The complaint also includes legal conclusions regarding
                                                   conspiracies to intentionally inflict emotional distress on plaintiff. Id." Baker v. Phillips (D.
                                                   S.D. 2018) "The court dismisses plaintiff's OSHA claim because neither OSHA nor its
                                                   regulations 'independently create private rights of action or impose alternative duties on
                 Case 1:22-cv-02234-EK-LB             Document 74-2 Filed 08/24/23               Page 8 of 58 PageID #:
                                                                3986
                                                                  EXHIBIT 3
                                                    LIST OF 218 FEDERAL CASE SUMMARIES
                                                     ON OSHA PRIVATE RIGHT OF ACTION

                                                    defendants.' Chew v. American Greetings Corp., 754 F.3d 632, 637 (8th Cir. 2014)..." Baker v.
                                                    Phillips (D. S.D. 2018)
                                                    Also held: In some cases, "[v]iolations of federal regulations may serve as evidence, but
                                                    unless clearly indicated by Congress, they do not 'independently create private rights of
                                                    action' and therefore do not constitute a claim arising under the Constitution, law, or
                                                    treaties of the United States." Johnson v. Stokes Contractor Servs., No. 4:14 CV 1052, 2014
                                                    WL 4450532, at *3 (E.D. Mo. Sept. 10, 2014) (quoting Chew, 754 F.3d at 637). The court
                                                    grants defendants' motion to dismiss plaintiff's OSHA claim under Rule 12(b)(6).
                                                    Baker v. Phillips (D. S.D. 2018)

30.   Groth v. Taylor Cable Prods., Inc. (W.D.      Groth complained to OSHA about the unsafe conditions in her walkway through the plant
                                                    and the plant's lighting conditions. Groth claims that OSHA mandated that Taylor Cable
      Mo. 2012)                                     correct these issues, and that on September 12, 2011, Taylor Cable sent a letter to OSHA
                                                    providing notice that all unsafe conditions had been corrected and referencing Groth in the
                                                    letter. On September 13, 2011, Defendant terminated Plaintiff, and Groth alleges this
                                                    termination was motivated by her complaint to OSHA.
                                                    Groth v. Taylor Cable Prods., Inc. (W.D. Mo. 2012)

31.   Arriwite v. SME Steel Contractors, Inc. (D.   Arriwite told SME that OSHA required compliance with the manufacture's warning labels, not
                                                    the MSDS, and that—if necessary—he would report SME to OSHA for safety violations.
      Idaho 2021)
                                                         At the conclusion of the meeting, SME sent Arriwite home for the day. Arriwite
                                                    immediately went to the Shoshone-Bannock Tribes' Tribal Employment Rights Office and
                                                    informed the safety compliance officer that he would likely be terminated the following day.
                                                    He also created an OSHA report outlining SME's unsafe use of 70c wire and the attending
                                                    unsafe working conditions. Arriwite sent the report to OSHA.
                                                    Arriwite v. SME Steel Contractors, Inc. (D. Idaho 2021)
32.   Pratico v. Portland Terminal Co., 783 F.2d
                                                    He claimed that his injury was caused by the railroad's use of equipment in violation of
      255 (1st Cir. 1985)                           OSHA regulations and that this constituted negligence per se. He also claimed that under
                                                    FELA a violation by the employer of a safety statute which leads to an injury eliminates the
                                                    employer's defense of contributory negligence. 45 U.S.C. Sec. 53. The district court found
                                                    that there was no relevan...
                                                    Pratico v. Portland Terminal Co., 783 F.2d 255 (1st Cir. 1985)

33.   Oji v. PSC Environmental Management           "In Count I of his complaint, Plaintiff alleges that Defendant terminated his employment
                                                    because he complained to his superiors that certain of Defendant's operations violated
      Inc., 771 F.Supp. 232 (N.D. Ill. 1991)        OSHA, and/or because he refused to participate in Defendant's operations that violated
                                                    OSHA." Oji v. PSC Environmental Management Inc., 771 F.Supp. 232 (N.D. Ill. 1991)

34.   Rosen v. Prince George's Bd. of Educ., 81     In April 1993, Rosen was diagnosed with mesothelioma cancer of the lungs. She died in
                                                    March 1994. Appellants claimed that the conditions in the school violated the
      F.3d 151 (4th Cir. 1996)                      Occupational Safety and Health Act (OSHA), 29 U.S.C.A. §§ 651-678 (West 1985 &
                 Case 1:22-cv-02234-EK-LB             Document 74-2 Filed 08/24/23                Page 9 of 58 PageID #:
                                                                3987
                                                                  EXHIBIT 3
                                                    LIST OF 218 FEDERAL CASE SUMMARIES
                                                     ON OSHA PRIVATE RIGHT OF ACTION

                                                    Supp.1995), and based their civil rights claim, 42 U.S.C. § 1983 (1988), on the alleged
                                                    violations.
                                                    Rosen v. Prince George's Bd. of Educ., 81 F.3d 151 (4th Cir. 1996)

35.   Prince v. Electrolux Home Prods., Inc. (D.    The Arbitrator noted that Defendant relied on both the "last chance agreement" and the
                                                    alleged safety violation in discharging Plaintiff. (Id. at 25.) The Arbitrator concluded, among
      Minn. 2014)                                   other things, that:
                                                    To the extent that [Plaintiff's] alleged violation here in issue was considered a health and
                                                    safety violation, the scheme of the contractual rules governing Major Offenses would not
                                                    seem to justify discharge considering the alleged offense in isolation.
                                                    Prince v. Electrolux Home Prods., Inc. (D. Minn. 2014)
36.   Anderson v. Airco, Inc., C.A. No. 03-123-
                                                    "[t]he essence of each of plaintiffs' claims, no matter how framed, is the alleged failure to
      SLR (D. Del. 7/28/2003) (D. Del. 2003)        adequately warn of the health risks of workplace exposure to VCM. . . . Workplace
                                                    warnings relating to VCM are conclusively and exclusively governed by federal statute and
                                                    comprehensive federal regulation promulgated by the Secretary of Labor under his
                                                    delegated powers."1 (D.I. 1, ¶¶ 3, 4) Defendants argue that "[f]ederal law and federal
                                                    regulation so completely occupy the field of occupational safety and health, as it pertains to
                                                    plaintiffs' purported exposure to VCM, that plaintiffs' complaint, premised as it is on
                                                    purported exposure to VCM, must be recharacterized as stating a federal cause of action."...
                                                    Anderson v. Airco, Inc., C.A. No. 03-123-SLR (D. Del. 7/28/2003) (D. Del. 2003)

37.   Horn v. CL Osborn Contracting Co., 423 F.
                                                    At all times mentioned herein the Plaintiff, Johnnie L. Horn, was an employee of Bama and
      Supp. 801 (M.D. Ga. 1976)                     was directly supervised by other employees of Bama and he was engaged in the laying of
                                                    sewer pipe in an excavation or ditch. While so employed he sustained personal injuries on
                                                    two occasions. On July 2, 1974, while the Plaintiff was working in a ditch excavated to a
                                                    depth of approximately 16 feet, the side or sides of the ditch caved in causing certain
                                                    personal injuries. Having recovered from...
                                                    Horn v. CL Osborn Contracting Co., 423 F. Supp. 801 (M.D. Ga. 1976)

38.   Clark v. Wells Fargo Bank (9th Cir. 2016)     "(plaintiff's 'vague allegations with no factual support that the defendants engaged in any of
                                                    the requisite predicate crimes' were insufficient to survive a motion to dismiss)." Clark v.
                                                    Wells Fargo Bank (9th Cir. 2016) "The district court properly dismissed Clark's allegations of
                                                    OSHA violations because OSHA does not provide a private right of action. See 29 U.S.C. §
                                                    653(b)(4)." Clark v. Wells Fargo Bank (9th Cir. 2016)
39.   Curry v. Emp'rs Preferred Ins. Co. (D. S.C.
                                                    Additionally, Plaintiff claims that his employer, Defendant Sesame II, violated OSHA
      2020)                                         regulations by failing to train him on the proper use of the meat grinder in the first place.
                                                    See id.; see also (ECF No. 1-1 at 3-6). Plaintiff asserts that, as a result of all the defendants'
                                                    actions, he has endured pain and suffering, lost wages, and incurred out-of-pocket medical
                                                    expenses. (ECF Nos. 1 at 5; 1-1 at 4-7). Therefore, Plaintiff seeks a total award of $300,000.00
                                                    for both compensatory and punitive damages. No private right of action for personal injury
                                                    Curry v. Emp'rs Preferred Ins. Co. (D. S.C. 2020)
                Case 1:22-cv-02234-EK-LB            Document 74-2 Filed 08/24/23                 Page 10 of 58 PageID #:
                                                              3988
                                                                 EXHIBIT 3
                                                   LIST OF 218 FEDERAL CASE SUMMARIES
                                                    ON OSHA PRIVATE RIGHT OF ACTION

40.   Cordeiro v. Brock, 698 F.Supp. 373 (D.       "The plaintiff asserts that as a result of the Occupational Safety and Health Administration's
                                                   failure to inspect his work place properly and its failure to enforce OSHA standards, he now
      Mass. 1988)                                  suffers from a disabling lung condition." Cordeiro v. Brock, 698 F.Supp. 373 (D. Mass. 1988)
                                                   No private right of action for personal injury

41.   Basden v. AG Growth Int'l, Inc. (S.D. Ill.   "Basden did file an amended complaint (Doc. 35) on July 30, 2012, alleging Occupational
                                                   Safety and Health Administration ( 'OSHA') violations." Basden v. AG Growth Int'l, Inc.
      2012)                                        (S.D. Ill. 2012)

42.   McCarthy v. Bark Peking, 676 F.2d 42 (2nd
                                                   Plaintiff, an employee of the Museum, sought damages and other relief as the result of his
      Cir. 1982) RED FLAGGED                       fall from a bosun's chair suspended by a gantline on the Bark Peking while the latter was
                                                   berthed at the Museum, the questions presented are (1) whether the district court correctly
                                                   ruled that plaintiff was not engaged in "maritime employment" so as to bring him within the
                                                   definition of an employee in § 2(3) of the Longshoremen's and Harbor Workers'
                                                   Compensation Act ("LHWCA"), 33 U.S.C. § 902(3) (1976); 2 and (2) whether the district court
                                                   correctly ruled that plaintiff had forfeited his right to claim a wrongful discharge pursuant to
                                                   § 11(c)(1) of the Occupational Safety and Health Act of 1970 ( "OSHA"), 29 U.S.C. § 660(c)(1)
                                                   (1976). 3...
                                                   NOTE- Only applies to cases involving regulatory violations – see
                                                   Whether § 11(c)(2) precludes a private right of action under § 11(c)(1), as the Sixth Circuit
                                                   held in Taylor, appellant first must utilize the remedies provided by Congress. See, e.g.,
                                                   McKart v. United States, 395 U.S. 185 (1969). Appellant failed to file a timely complaint with
                                                   the Secretary. The word "may" in § 11(c)(2) does not mean that the remedy provided for in
                                                   that section is merely one of several alternatives. While we do not reach the question
                                                   whether there is an implied private right of action under § 11(c)(1), we do hold that, even if
                                                   one existed, it could be invoked only after the filing of a timely complaint with the Secretary
                                                   had proved fruitless.

43.   Brancheau v. Sec'y of Labor (M.D. Fla.       Defendant OSHA has investigated the circumstances surrounding Brancheau's death. In the
                                                   course of that investigation, OSHA obtained video recordings and photographs depicting
      2011)                                        such things as Brancheau's death and the efforts to rescue her and recover her body. The
                                                   Plaintiffs refer to these recordings and photographs as the "Death Scene Materials". The
                                                   Plaintiffs are members of Brancheau's family - specifically, her husband, mother, brother and
                                                   sister. They seek to enjoin OSHA from releasing the so-called Death Scene Materials,...
                                                   Brancheau v. Sec'y of Labor (M.D. Fla. 2011) (wrongful death case) No private right of
                                                   action for wrongful death claim

44.   Anders v. Anders (D. S.C. 2023)              According to Plaintiff, Defendant Anthony Anders failed to provide safety training or take
                                                   safety measures and failed to comply with OSHA regulations, causing his son's death. [Id.
                                                   at 5.] Specifically, Plaintiff alleges that his son, Aaron, was killed as a result of Defendants'
                                                   failure to provide safety and properly supervise a job site.
                                                   Anders v. Anders (D. S.C. 2023) – No private right of action for wrongful death claim
                Case 1:22-cv-02234-EK-LB         Document 74-2 Filed 08/24/23                Page 11 of 58 PageID #:
                                                           3989
                                                              EXHIBIT 3
                                                LIST OF 218 FEDERAL CASE SUMMARIES
                                                 ON OSHA PRIVATE RIGHT OF ACTION

45.   GOOD CASE – MTD DENIED                    "Here, the plaintiff alleges that the defendants, in violation of OSHA standards, failed to
                                                put any warnings on the chemical containers whatsoever." Wickham v. American Tokyo
      Wickham v. American Tokyo Kasei, Inc.,    Kasei, Inc., 927 F.Supp. 293 (N.D. Ill. 1996)
      927 F.Supp. 293 (N.D. Ill. 1996)
                                                “But courts have consistently held that OSHA is a purely regulatory provision that creates no
                                                private right of action. Adami v. Green Giant, 849 F.Supp. 615, 616 (N.D.Ill.1994). Instead, it
                                                is enforced by fines or criminal prosecution. Id. Criminal prosecution or a fine payable to the
                                                federal government would not compensate the plaintiff for his alleged injuries. If §
                                                1910.1200(a)(2) did preempt a cause of action like plaintiff's based on a failure to warn, an
                                                employee would be without a remedy even when a defendant failed to comply with OSHA. It
                                                is obvious to this Court that Congress, in enacting a statute designed specifically to protect
                                                employees and others from such potential hazards, did not intend such a result.”
                                                For the reasons stated, defendant's Motion for Judgment on the Pleadings is denied.
                                                Wickham v. American Tokyo Kasei, Inc., 927 F.Supp. 293 (N.D. Ill. 1996)

46.   Wood v. Herman, 104 F.Supp.2d 43 (D.      "Plaintiff asserts that the discharge was in retaliation for his reporting safety violations and
                                                refusing to work under unsafe conditions. On February 15, 1991, plaintiff filed a § 11(c)
      D.C. 2000)                                complaint with the Occupational Safety and Health Administration (OSHA)." Wood v.
                                                Herman, 104 F.Supp.2d 43 (D. D.C. 2000)

47.   Sills v. Rex Lumber Co. (D. Mass. 2021)   Moreover, Sills cannot bring a claim under federal law asserting that Rex Lumber
                                                terminated his employment allegedly because Sills reported a safety violation to OSHA.
                                                Section 660(c)(1) of Title 29 of the United States Code prohibits retaliation against an
                                                employee on the ground that the employee submitted a report of the employer's violation of
                                                safety rules.
                                                Sills v. Rex Lumber Co. (D. Mass. 2021)

48.   Hylton v. Reeder Management Inc. (W.D.    "Plaintiff Alexander Hylton brought this action in King County Superior Court, alleging that he
                                                was dismissed from employment in violation of federal and state whistleblower and anti-
      Wash. 2021)                               discrimination laws." Hylton v. Reeder Management Inc. (W.D. Wash. 2021)

49.   Doyle v. Ind. Packers (N.D. Ind. 2022)    "Doyle complaints that defendant Hernandez of Indiana Packers' Human Resources
                                                department threatened to terminate Doyle's employment or subject him to workplace
                                                discipline for reporting an injury to the Department of Labor's Occupational..." Doyle v. Ind.
                                                Packers (N.D. Ind. 2022)

50.   Wheeler v. Skidmore (D. Kan. 2022)        "Second, courts hold that the OSHA statute does not support a private right of action as
                                                enforcement against violations. Kennedy v. Gill, 2021 WL 4523463 *3 (D.Kan. 10/4/2021);
                                                Booker v. Aramark Servs., Inc., 2020 WL 6130143 *3 (N.D.Tex. 9/2/2020); Collins v. Derose,
                                                2016 WL 659104 *3 (M.D.Pa. 2/17/2016)." Wheeler v. Skidmore (D. Kan. 2022)
                Case 1:22-cv-02234-EK-LB              Document 74-2 Filed 08/24/23                Page 12 of 58 PageID #:
                                                                3990
                                                                   EXHIBIT 3
                                                     LIST OF 218 FEDERAL CASE SUMMARIES
                                                      ON OSHA PRIVATE RIGHT OF ACTION

51.   Swift v. AFCO Indus., Inc. (W.D. La. 2018)     "In his complaint, Plaintiff, David Swift, alleges that he was terminated without cause in
                                                     violation of Louisiana Employment discrimination law because of his disability, because he
                                                     applied for short term disability benefits, because he filed a claim against Defendant with
                                                     OSHA, and because he filed a worker's compensation claim.1..." Swift v. AFCO Indus., Inc.
                                                     (W.D. La. 2018)

52.   Armstrong v. Sw. Airlines Co. (N.D. Tex.       Armstrong alleges he was injured when a Southwest employee pushing him in a wheelchair
                                                     through Dallas Love Field Airport “made a sudden turn and ran the wheelchair into the
      2021)                                          suitcase of an individual who [was] walking through the airport.” Id. ¶ 9. The collision caused
                                                     Armstrong “to fall out of the wheelchair onto the floor” and caused another person to fall on
                                                     top of him. Id. According to Armstrong, he suffered “severe bodily injuries, ” and by this
                                                     lawsuit he seeks damages for his medical costs, physical pain and suffering, mental anguish,
                                                     and disfigurement. Id. at ¶¶ 9, 14.
                                                     Armstrong alleges he was injured when a Southwest employee pushing him in a wheelchair
                                                     through Dallas Love Field Airport “made a sudden turn and ran the wheelchair into the
                                                     suitcase of an individual who [was] walking through the airport.” Id. ¶ 9. The collision caused
                                                     Armstrong “to fall out of the wheelchair onto the floor” and caused another person to fall on
                                                     top of him. Id. According to Armstrong, he suffered “severe bodily injuries, ” and by this
                                                     lawsuit he seeks damages for his medical costs, physical pain and suffering, mental anguish,
                                                     and disfigurement. Id. at ¶¶ 9, 14.
                                                     Armstrong v. Sw. Airlines Co. (N.D. Tex. 2021) (claim – employer violation of the OSHA
                                                     regulation caused injury)

53.   Estate of Macias v. Waste Mgmt. of             "In this wrongful-death action..." Estate of Macias v. Waste Mgmt. of Alameda Cnty., Inc.
                                                     (N.D. Cal. 2014) - According to the amended complaint, decedent was fatally injured when
      Alameda Cnty., Inc. (N.D. Cal. 2014)           she was run over by a front-end loader driven by Castellanos at WMAC's dumpsite in San
                                                     Leandro, California. She died from her injuries that same day. WM Corporate Service's safety
                                                     policy allegedly required traffic controllers to be in a protective zone to prevent serious
                                                     bodily harm or death. Decedent, however, had no such protective zone from which she could
                                                     safely perform her job (id. ¶¶ 16, 22, 23, 25).       The amended complaint asserts six claims:
                                                     (1) violation of the federal Occupational Safety and Health Act;...
                                                     Estate of Macias v. Waste Mgmt. of Alameda Cnty., Inc. (N.D. Cal. 2014)

54.   Glick v. Chukchansi Financial Co., LLC (E.D.   "On August 3, 2020, plaintiff filed her complaint in this action, alleging a claim of
                                                     negligence due to defendants' unsafe working walkways in violation of OSHA. (Id. at 9.)
      Cal. 2021)                                     Plaintiff seeks damages for her lost career, her lost wages until retirement, her lost access to
                                                     a..." Glick v. Chukchansi Financial Co., LLC (E.D. Cal. 2021)

55.   Kilpatrick v. Delaware County Soc., 632        "Linda Kilpatrick was terminated from her position as a kennel worker by the Delaware
                                                     County Society for the Prevention of Cruelty to Animals ('S.P.C.A.'). Her complaint alleged
      F.Supp. 542 (E.D. Pa. 1986)                    that she was fired because she reported an occupational health hazard to the Pennsylvania
                                                     Department of Agriculture." Kilpatrick v. Delaware County Soc., 632 F.Supp. 542 (E.D. Pa.
                                                     1986) "The Secretary of Labor is given numerous powers under OSHA, but nowhere is the
                                                     Secretary granted the power to decide how to further the administrative enforcement
                Case 1:22-cv-02234-EK-LB          Document 74-2 Filed 08/24/23                Page 13 of 58 PageID #:
                                                            3991
                                                               EXHIBIT 3
                                                 LIST OF 218 FEDERAL CASE SUMMARIES
                                                  ON OSHA PRIVATE RIGHT OF ACTION

                                                 mechanisms created by Pennsylvania lawmakers." Kilpatrick v. Delaware County Soc., 632
                                                 F.Supp. 542 (E.D. Pa. 1986)

56.   Carter v. Gardaworld Sec. Servs. (D. Md.   Similarly, Carter's allegations that Defendants terminated him because he complained
                                                 about the lack of COVID-19 precautions at his workplace do not fit within the purview of
      2021)                                      the FFCRA, which regulates employees' leave-taking during the pandemic. See, e.g., Colombe
                                                 v. SGN, Inc., Civ. No. REW-20-0374, 2021 WL 1198304, at *5 (E.D. Ky. Mar. 29, 2021)
                                                 (considering an FFCRA retaliation claim brought by an employee who took leave to care for a
                                                 family member with COVID-19, and emphasizing that under the FFCRA, "[a]s for retaliation,
                                                 the statutory scope for protected activity is quite narrow")...
                                                 Carter v. Gardaworld Sec. Servs. (D. Md. 2021)

57.   Walsh v. Cmty. Health Ctr. of Richmond     Concerned about the potential spread of COVID-19 at Community Health Center's planned
                                                 in-person executive leadership meeting on March 17, 2020, Ms. Nunez sent an email to
      (E.D. N.Y. 2022)                           participants alerting them that the meeting would instead be held by teleconference. Id. ¶¶
                                                 43, 50. When defendant Thompson instructed her to re-set the meeting as an in-person
                                                 meeting, Ms. Nunez did so, but told Thompson that she would not attend out of concern for
                                                 her health. See Id. ¶¶ 51-57. Two days later, Ms. Nunez was suspended from her duties for
                                                 “insubordination, confrontational and disruptive behavior, and refusal to participate in the . .
                                                 . leadership meeting on Tuesday, March 17, 2020.” Id. ¶ 62. On April 9, 2020, Ms. Nunez
                                                 received a letter informing her that Community Health Center was “exercising our employer
                                                 right to terminate your at-will employment.” Id. ¶¶ 71-72.
                                                      On May 7, 2020, Nunez filed a complaint with the Occupational Safety and Health
                                                 Administration (&ldquo ;OSHA”) pursuant to Section 11(c) of the Occupational Safety and
                                                 Health Act (“OSH Act”), 29 U.S.C. § 651, et seq., alleging that defendants suspended and
                                                 terminated her for making a complaint about unsafe conditions at the March 17, 2020
                                                 meeting, and for her refusal to attend. Id. ¶ 75...
                                                 Walsh v. Cmty. Health Ctr. of Richmond (E.D. N.Y. 2022)

58.   Helms v. Sporicidin Intern., 871 F.Supp.   Plaintiffs maintain that the defendant had an obligation to provide accurate information in
                                                 the MSDS to employers pursuant to a separate federal regulation established by OSHA.
      837 (E.D. N.C. 1994)                       Plaintiffs assert that the violation of a separate federal regulation is not preempted by FIFRA
                                                 and provides them a cause of action for damages resulting for violation of OSHA regulations.

                                                 Though it is correct that two federal regulations should be given equal dignity, the
                                                 plaintiffs are not accurate in their assurance that they have a cause of action based upon
                                                 an alleged violation of OSHA. As private citizens, the plaintiffs do not have a cause of
                                                 action for damages based upon a violation of an OSHA standard. See 29 U.S.C. § 653. See
                                                 Johnson v. Koppers Co., Inc., 524 F.Supp. 1182, app. dismissed, (D.C.Ohio 1981) (OSHA
                                                 does not provide a private right of action for an employee for violations of the employer.);
                                                 Blessing v. United States, 447 F.Supp. 1160 (D.C.Pa.1978) (no private right of action against
                                                 the U.S.); Otto v. Specialties, Inc., 386 F.Supp. 1240 (D.C.Miss.1974) (OSHA chapter does
                Case 1:22-cv-02234-EK-LB            Document 74-2 Filed 08/24/23                 Page 14 of 58 PageID #:
                                                              3992
                                                                 EXHIBIT 3
                                                   LIST OF 218 FEDERAL CASE SUMMARIES
                                                    ON OSHA PRIVATE RIGHT OF ACTION

                                                   not permit a civil action for damages to remedy alleged violations of safety standards
                                                   under OSHA).
                                                   Helms v. Sporicidin Intern., 871 F.Supp. 837 (E.D. N.C. 1994)
                                                   Helms v. Sporicidin Intern., 871 F.Supp. 837 (E.D. N.C. 1994)

59.   Abel v. Niche Polymer, LLC, 468 F.Supp.3d    "Abel alleges that the drug test was pretext for his termination in retaliation for filing
                                                   numerous safety complaints with Niche Polymer. (Id. at ¶ 17.)..." Abel v. Niche Polymer,
      719 (S.D. W.Va. 2020)                        LLC, 468 F.Supp.3d 719 (S.D. W.Va. 2020)

60.   Lopez v. Burris Logistics Co. (D. Conn.      In the absence of a private right of action to recover for such inherently dangerous
                                                   conditions under Conn. Gen. Stat. § 31-49, Plaintiffs were permitted to proceed with such a
      2013)                                        wrongful discharge claim. That claim sought to redress a separate and unremedied wrong
                                                   from Plaintiffs' § 31-51q claim, which was based on the public policy of protecting
                                                   employees' free speech. The motion to dismiss was thus denied in part.
                                                   Lopez v. Burris Logistics Co. (D. Conn. 2013)

61.   Akers v. Wal-Mart Stores, Inc. (E.D. Tenn.   Plaintiff asserts a claim of retaliatory discharge and argues that it was his right and duty to
                                                   contact the fire marshal or OSHA regarding the issue of the locked door. (Id. ¶ 47.) Plaintiff
      2011)                                        claims that Defendant discharged him in retaliation because of his intention to exercise this
                                                   right and that he has suffered damages as a result of this unlawful behavior.
                                                   Akers v. Wal-Mart Stores, Inc. (E.D. Tenn. 2011)

62.   In re Gold King Mine (D. N.M. 2022)          "Plaintiffs contend a violation of OSHA regulations conclusively establish a claim for
                                                   negligence, these are claims sounding in negligence per se and must be dismissed for the
                                                   same reasons set forth below.'..." In re Gold King Mine (D. N.M. 2022)

63.   McCarthy v. G.UB.MK Constructors (E.D.       "He claims that GUBMK discharged him in retaliation for reporting 'work-related exposure
                                                   and complaints about lack of worker protection for himself and all other workers' [Id. ¶ 6]."
      Tenn. 2017)                                  McCarthy v. G.UB.MK Constructors (E.D. Tenn. 2017)

64.   Lewis v. DBI Servs. (W.D. Tex. 2019)         "Plaintiff believes he was terminated in retaliation for his report of the safety issues he
                                                   observed during his driving test. Plaintiff indicates in his Complaint that he is unsure under
                                                   which law his claims fall but that he believes his civil rights have been violated." Lewis v. DBI
                                                   Servs. (W.D. Tex. 2019)

65.   Graves v. WS Atl. LLC (N.D. Ind. 2023)       Plaintiff also alleges that he was asked to perform construction duties without proper
                                                   equipment. (DE # 1 at 4.) To the extent that plaintiff is attempting to state a claim under the
                                                   Occupational Health and Safety Act (&ldquo ;OSHA”), federal law provides no private right of
                                                   action under OSHA. Baudison v. Walmart, Inc., No. 3:19-CV-512-MAB, 2020 WL 6562116, at
                                                   *4 (S.D. Ill. Nov. 9, 2020)...
                                                   Graves v. WS Atl. LLC (N.D. Ind. 2023)

66.   Robinett v. U.S., 62 F.3d 1433 (Fed. Cir.    "Robinett also claims that hydration and nutrition were removed by injection. We note that
                                                   45 C.F.R. part 46 and OSHA do not create any private right of action to recover damages."
      1995)                                        Robinett v. U.S., 62 F.3d 1433 (Fed. Cir. 1995) Held - "The Vaccine Act requires plaintiffs to
                Case 1:22-cv-02234-EK-LB             Document 74-2 Filed 08/24/23                Page 15 of 58 PageID #:
                                                               3993
                                                                  EXHIBIT 3
                                                    LIST OF 218 FEDERAL CASE SUMMARIES
                                                     ON OSHA PRIVATE RIGHT OF ACTION

                                                    show that they have been injured by vaccines listed on the vaccine table, something that
                                                    Robinett does not even allege..." Robinett v. U.S., 62 F.3d 1433 (Fed. Cir. 1995)

67.   Zeese v. Smurfit–Stone Container Corp.,       "The Charge asserted that Plaintiff had been discriminated against when she was terminated
                                                    in 2007..." Zeese v. Smurfit–Stone Container Corp., 487 B.R. 455 (E.D. Va. 2011)
      487 B.R. 455 (E.D. Va. 2011)
68.   Darnell v. Golden Nugget Lake Charles LLC     "Ms. Darnell assert a claim under OSHA for being prohibited from using the bathroom during
                                                    work. As noted by the Golden Nugget, OSHA dose not provide a private right of action. See
      (W.D. La. 2020)                               e.g., 29 U.S.C. § 653(b)(4); Jeter v. St. Regis Paper Co., 507 F.2d..." Darnell v. Golden Nugget
                                                    Lake Charles LLC (W.D. La. 2020)

69.   R.T. Vanderbilt Co. v. Occupational Safety
                                                    In determining "whether Congress intended to create a private right of action under a
      and Health Review Com'n, 708 F.2d 570         federal statute without saying so explicitly[,] [t]he key to the inquiry is the intent of the
      (11th Cir. 1983)                              legislature." Middlesex County Sewerage Auth. v. National Sea Clammers Ass'n, 453 U.S. 1,
                                                    12, 101 S.Ct. 2615 2622, 69 L.Ed.2d 435 (1981)...
                                                    R.T. Vanderbilt Co. v. Occupational Safety and Health Review Com'n, 708 F.2d 570 (11th Cir.
                                                    1983)
                                                    In Davis v. Passman, 442 U.S. 228, 99 S.Ct. 2264, 60 L.Ed.2d 846 (1979), the Supreme Court
                                                    stated that, "in the absence of 'a textually demonstrable constitutional commitment of [an]
                                                    issue to a coordinate political department,' Baker v. Carr, supra, 369 U.S. at 217 [82 S.Ct. 691
                                                    at 710, 7 L.Ed.2d 663], we presume that justiciable constitutional rights are to be enforced
                                                    through the courts." 442 U.S. at 242,...
                                                    R.T. Vanderbilt Co. v. Occupational Safety and Health Review Com'n, 708 F.2d 570 (11th Cir.
                                                    1983)
70.   Martin v. MAPCO Ammonia Pipeline, Inc.,
                                                    The Tenth Circuit has ruled that this provision does not prohibit all reference to OSHA
      866 F.Supp. 1304 (D. Kan. 1994)               regulations, but made no ruling on whether OSHA regulations could be introduced as
                                                    evidence relating to standard of care. In McHargue v. Stokes Div. of Pennwalt Corp., 912 F.2d
                                                    394 (10th Cir.1990), the defendant in a products liability action asserted
                                                    [866 F. Supp. 1307] that the devices in question met recog...
                                                    Martin v. MAPCO Ammonia Pipeline, Inc., 866 F.Supp. 1304 (D. Kan. 1994)

71.   Jones v. S. Atl. Galvinizing (D. S.C. 2022)   “I was fired shortly [a]fter I complained to OSHA." Jones v. S. Atl. Galvinizing (D. S.C. 2022)
                                                    No private right o action for allegations of regulation violations

72.   Atwood v. MJKL Enters., LLC (D. Ariz.         "Plaintiff alleges that he was retaliated against for complaining about perceived food
                                                    safety violations. (..." Atwood v. MJKL Enters., LLC (D. Ariz. 2012)
      2012)                                         There is no federal law supporting a suit filed in district court alleging OSHA violations, and
                                                    "no federal cause of action for an employer's retaliatory discharge of an employee who has
                                                    filed a complaint" under OSHA. Sandoval v. New Mexico Tech. Grp., 174 F. Supp. 2d 1224,
                                                    1229 (D. N. M. 2001).
                Case 1:22-cv-02234-EK-LB            Document 74-2 Filed 08/24/23                Page 16 of 58 PageID #:
                                                              3994
                                                                 EXHIBIT 3
                                                   LIST OF 218 FEDERAL CASE SUMMARIES
                                                    ON OSHA PRIVATE RIGHT OF ACTION

73.   Logan v. U.S., 272 F.Supp.2d 1182 (D. Kan.   "claims that OSHA had withheld information and tainted its investigation of Plaintiff's
                                                   complaint, all of which altered the outcome of Plaintiff's lawsuit against UPS; claims that
      2003)                                        OSHA had engaged in a conspiracy to conceal its errors; and that OSHA had caused Plaintiff's
                                                   termination from UPS." claims that OSHA had withheld information and tainted its
                                                   investigation of Plaintiff's complaint, all of which altered the outcome of Plaintiff's lawsuit
                                                   against UPS; claims that OSHA had engaged in a conspiracy to conceal its errors; and that
                                                   OSHA had caused Plaintiff's termination from UPS." Logan v. U.S., 272 F.Supp.2d 1182 (D.
                                                   Kan. 2003) No private right of action for OSHA conspiracy claim

74.   Pardo v. Securitas (E.D. N.Y. 2014)          "'The plaintiff's insistence on having regular restroom and locker room facilities ultimately
                                                   led to his being unjustly terminated.' (Id. ¶ 11.) '[P]laintiff began to see that there was a
                                                   direct correlation with every union complaint and Mr. Saez's retaliation tactics.'..." Pardo v.
                                                   Securitas (E.D. N.Y. 2014) – No private right of action for reporting regulatory violation

75.   Braun v. Kelsey-Hayes Co., 635 F.Supp. 75    "The plaintiff specifically cites, inter alia, OSHA, and specifically alleges that the defendant
                                                   discharged him to prevent him from revealing the defendant's alleged safety and health
      (E.D. Pa. 1986)                              violations. He further claims that his disclosure of toxic and hazardous waste information to
                                                   the Philadelphia Fire Department led to his discharge." Braun v. Kelsey-Hayes Co., 635
                                                   F.Supp. 75 (E.D. Pa. 1986) - No private right of action for reporting regulatory violations

76.   Johnson v. Interstate Mgmt. Co. (D. D.C.     "Plaintiff, who is proceeding pro se, alleges that he was terminated in retaliation for having
                                                   filed complaints with the Equal Employment Opportunity Commission ('EEOC') and the
      2012)                                        Occupational and Safety Health Administration ( 'OSHA'),..." Johnson v. Interstate Mgmt.
                                                   Co. (D. D.C. 2012)

77.   Kane v. City of Ithaca (N.D. N.Y. 2018)
                                                   In her complaint, plaintiff asserts a cause of action under both PESHA and OSHA, as well as a
                                                   claim based on allegations that the City violated public policy by terminating her
                                                   employment because she insisted on complying with copyright laws. Dkt. No. 7 at 4-10. As
                                                   the City argues, those claims fail as a matter of law.
                                                   Kane v. City of Ithaca (N.D. N.Y. 2018)

78.   Gomez v. Celebrity Home Health &
                                                   Sullins v. Third & Catalina Constr. P'ship, 602 P.2d 495, 498-99 (Ariz. Ct. App. 1979) (noting
      Hospice Inc. (D. Ariz. 2017)                 OSHA regulations "could not be used to establish a cause of action"). In certain instances,
                                                   these federal laws may provide evidence or support for a state law claim; for example,
                                                   provisions of HIPAA may be relevant to a determination of the standard of care in a private
                                                   negligence claim brought under state law. See, e.g., Acosta v. Byrum, 638 S.E.2d 246, 253
                                                   (N.C. Ct. App. 2006) (noting plaintiff cited HIPAA as evidence of the appropriate standard of
                                                   care);...
                                                   Gomez v. Celebrity Home Health & Hospice Inc. (D. Ariz. 2017)
79.   Fletcher v. United Parcel Service, Local
                                                   Fletcher asks this court to enter an injunction "compelling defendants to comply with OSHA
      Union 705, 155 F.Supp.2d 954 (N.D. Ill.      standards and all rules and regulations that allow Plaintiff and employees to be seen by a
      2001)                                        physician at the time appointed ...." (Id., p. 5.) Further, Fletcher seeks back pay and a share
                Case 1:22-cv-02234-EK-LB            Document 74-2 Filed 08/24/23                  Page 17 of 58 PageID #:
                                                              3995
                                                                 EXHIBIT 3
                                                   LIST OF 218 FEDERAL CASE SUMMARIES
                                                    ON OSHA PRIVATE RIGHT OF ACTION

                                                   of any commission or bonus received by defendants as a result of the work done by Fletcher,
                                                   as well as compensatory and punitive damages.
                                                   Fletcher v. United Parcel Service, Local Union 705, 155 F.Supp.2d 954 (N.D. Ill. 2001)




80.   Johnson v. Interstate Mgmt. Co., 871
                                                   Thus, it is the Secretary of the Department of Labor, not an individual employee, whom the
      F.Supp.2d 1 (D. D.C. 2012)                   statute authorizes to initiate a civil action in a federal district court against an employer who
                                                   allegedly violated the OSHA Act by having discharged or otherwise discriminated against the
                                                   employee for reporting a safety or health matter. For employees, courts have held that
                                                   “[t]he statutory remedies are exclusive: they provide for the filing of a complaint with the
                                                   Secretary of Labor and there is no private right of action.” Braun v. Kelsey–Hayes Co., 635
                                                   F.Supp. 75, 80 (E.D.Pa.1986); see also Kennard, 632 F.Supp. at 6...
                                                   Johnson v. Interstate Mgmt. Co., 871 F.Supp.2d 1 (D. D.C. 2012)

81.   Higdon v. Keolis Commuter Servs., LLC,       The Sixth Circuit, like the Fifth, leaves open the possibility that a violation of an OSHA
                                                   regulation may, in some cases governed by federal law, constitute negligence per se, see Ellis
      306 F.Supp.3d 470 (D. Mass. 2018)            [v. Chase Communications, Inc.], 63 F.3d [473] at 477 [ (6th Cir. 1995) ] ; Rabon [v. Auto.
                                                   Fasteners, Inc.], 672 F.2d [1231] at 1238 [ (5th Cir 1982) ], but it is rare in either circuit for a
                                                   court actually to uphold a finding of negligence per se on this basis. Silhouetted against this
                                                   backdrop, the Pratico holding is of questionable validity.
                                                   Higdon v. Keolis Commuter Servs., LLC, 306 F.Supp.3d 470 (D. Mass. 2018)

82.   Ries v. National R.R. Passenger Corp., 960   Our review of the legislative history of OSHA suggests that it is highly unlikely that Congress
                                                   considered the interaction of OSHA regulations with other common law and statutory
      F.2d 1156 (3rd Cir. 1992                     schemes other than worker's compensation. [Section 653(b)(4) ] is satisfactorily explained as
                                                   intended to protect worker's compensation acts from competition by a new private right of
                                                   action and to keep OSHA regulations from having any effect on the operation of the worker's
                                                   compensation scheme itself.
                                                   Ries v. National R.R. Passenger Corp., 960 F.2d 1156 (3rd Cir. 1992)

83.   Lundgren v. Occupational Safety &amp;
                                                   He alleges that defendants Universal, the Massachusetts Department of Public Health, the
      Health Admin., 324 F.Supp.3d 238 (D.         Occupational Safety and Health Administration ( "OSHA") and individual employees thereof,
      Mass. 2018)                                  improperly failed to protect his co-workers by collecting required water samples from a
                                                   malfunctioning compressor at his place of employment in violation of the Occupational
                                                   Health and Safety Act, 29 U.S.C. § 654 and his civil rights.
                                                   Lundgren v. Occupational Safety &amp; Health Admin., 324 F.Supp.3d 238 (D. Mass. 2018)
                Case 1:22-cv-02234-EK-LB           Document 74-2 Filed 08/24/23                 Page 18 of 58 PageID #:
                                                             3996
                                                                EXHIBIT 3
                                                  LIST OF 218 FEDERAL CASE SUMMARIES
                                                   ON OSHA PRIVATE RIGHT OF ACTION

84.   Boyd v. Accuray, Inc. (N.D. Cal. 2012)      ". Ultimately, Plaintiff did as he was ordered, Exs. 70.1, 110; see also Vagadori Decl. Ex. D, but
                                                  felt that he was retaliated against for his conduct in seeking to prevent what he saw as
                                                  incorrect labeling." Boyd v. Accuray, Inc. (N.D. Cal. 2012)

85.   Wicker v. Walmart, Inc., 533 F.Supp.3d      Rather, it is that Wicker's UCL claim is premised upon violations of provisions of the Labor
                                                  Code that do not create any private right of action—Wicker has standing to pursue relief for
      944 (C.D. Cal. 2021)                        the violation of those statutes only through PAGA. Accordingly, because Wicker failed to
                                                  comply with PAGA's administrative exhaustion requirements, Wicker cannot recast his
                                                  barred PAGA claim as one for violation of the UCL.
                                                  Wicker v. Walmart, Inc., 533 F.Supp.3d 944 (C.D. Cal. 2021)

86.   Graves v. WS Atl. LLC (N.D. Ind. 2023)      Plaintiff also alleges that he was asked to perform construction duties without proper
                                                  equipment. (DE # 1 at 4.) To the extent that plaintiff is attempting to state a claim under the
                                                  Occupational Health and Safety Act (&ldquo ;OSHA”), federal law provides no private right of
                                                  action under OSHA. Baudison v. Walmart, Inc., No. 3:19-CV-512-MAB, 2020 WL 6562116, at
                                                  *4 (S.D. Ill. Nov. 9, 2020). Rather, only the Secretary of Labor may bring an action on a
                                                  worker's behalf. Sabol v. Univ. of Wisconsin-Fond Du Lac, No. 12-C-540, 2012 WL 2287519, at
                                                  *2 (E.D. Wis. June 18, 2012); see 29 U.S.C. § 660(c). Accordingly, plaintiff fails to state a valid
                                                  claim under OSHA. Graves v. WS Atl. LLC (N.D. Ind. 2023)



87.   Clary v. Ocean Drilling &amp; Exploration   Since then, however, in Jeter v. St. Regis Paper Company, 507 F.2d 973 (5 Cir. 1975) the
                                                  Court has held that as to those workmen covered under the safety regulations (29 C.F.R. §
      Co., 429 F. Supp. 905 (W.D. La. 1977)       1910.1 et seq.), the Act does not create a private right of action against an employer for
                                                  violation of its terms. See also Otto v. Specialties, Inc., 386 F.Supp. 1240 (N.D.Miss.1974).
                                                  Clary v. Ocean Drilling &amp; Exploration Co., 429 F. Supp. 905 (W.D. La. 1977)

88.   S&H Distribution, LLC v. Meyer Lab. (D.
                                                  The complaint alleges that from and after 2020, the Safety Data Sheets for Hammer Clean
      Neb. 2022)                                  RTU, Mudslinger RTU, and Mudslinger R RTU all fail to classify the products as hazardous. Id.
                                                  The complaint also alleges that from and after 2020, the Safety Data Sheets for Hammer
                                                  Clean RTU, and Mudslinger RTU, and Mudslinger R RTU provide false and misleading
                                                  information regarding the potential dangers of improper use by purchasers of Meyer's
                                                  products, and by failing to identify these hazards, these Safety Data Sheets are in violation of
                                                  regulations propounded by OSHA. Id. at 5-6. Based on these allegations, S&H filed a cause of
                                                  action against Meyer for engaging in deceptive trade practices as defined under the
                                                  Nebraska Uniform Deceptive Trade Practices Act (“NUDTPA”),...
                                                  S&H Distribution, LLC v. Meyer Lab. (D. Neb. 2022)
89.   Morales-Vallellanes v. Potter, 339 F.3d 9
                                                  n 1988, Morales was hired to work as a distribution and window clerk at the Caparra Heights,
      (1st Cir. 2003)                             Puerto Rico, Station of the United States Postal Service. On April 7, 1995, plaintiff filed a
                                                  letter with OSHA complaining of dust accumulation, rodent infestation, and other unsanitary
                                                  conditions at the Caparra Heights station. OSHA ordered the station manager to correct the
                Case 1:22-cv-02234-EK-LB               Document 74-2 Filed 08/24/23                 Page 19 of 58 PageID #:
                                                                 3997
                                                                    EXHIBIT 3
                                                      LIST OF 218 FEDERAL CASE SUMMARIES
                                                       ON OSHA PRIVATE RIGHT OF ACTION

                                                      violations by June 19, 1995, but to no avail. Morales renewed his OSHA complaint through
                                                      certified letters to the OSHA Area Director on August 1, 1995, February 23, 1996, and April 6,
                                                      1996. Finally, on June 14, 1996, OSHA conducted a formal inspection of the Caparra Heights
                                                      station and confirmed plaintiff's allegations. OSHA cited the Caparra Heights station for at
                                                      least five violations, and directed the station to remedy the safety and health hazards by
                                                      October 9, 1996.
                                                      Morales-Vallellanes v. Potter, 339 F.3d 9 (1st Cir. 2003)
90.   Pitchford v. Aladdin Steel, Inc., 828 F.Supp.   "Section 11(c) of that statute does not create an implied private right of action on behalf of
                                                      employees discharged for reporting safety violations, and therefore district courts lack
      610 (S.D. Ill. 1993)                            subject matter jurisdiction over retaliatory discharge suits..." Pitchford v. Aladdin Steel, Inc.,
                                                      828 F.Supp. 610 (S.D. Ill. 1993)
91.   Dougherty v. Parsec, Inc., 824 F.2d 1477
                                                      In his complaint, Dougherty asserted that on or about June 27, 1985, Parsec discharged him
      (6th Cir. 1987)                                 from his employment at the request of Seaboard. He alleged that Seaboard brought about
                                                      his discharge because he had complained to OSHA concerning certain unsafe work
                                                      conditions which Seaboard allowed to exist on its premises.

92.   Irving v. United States, 532 F.Supp. 840 (D.
                                                      Plaintiff sustained her injuries on October 10, 1979, at Somersworth Shoe Company, when
      N.H. 1982)                                      her hair became entangled in the unguarded drive shaft of a "die out" machine, so-called. On
                                                      various occasions prior to the date of the accident, OSHA inspectors had inspected the
                                                      premises of Somersworth Shoe Company, but had negligently "failed to issue citations for
                                                      violations" of OSHA, including the lack of a guard on the machine at issue. See ¶ 9 of
                                                      Complaint. Plaintiff argues that the failure of OSHA to inspect and to issue citations
                                                      comprised a breach of a legal duty to her owed, and was causal of her injuries. ¶ 10,
                                                      Complaint.
                                                      Irving v. United States, 532 F.Supp. 840 (D. N.H. 1982)
93.   Campbell v. Eaton Corp. (D. Colo. 2019)
                                                      The Complaint further alleges that Campbell brought worker-safety concerns to his
                                                      supervisor about the conditions in the fabrication area. [#1 at pp. 8-9.] Campbell was
                                                      concerned that smoke in the area was a by-product of paint, fabrication chemicals, and "the
                                                      metal's fumes." [Id.] He seems to allege that his termination may have been retaliatory
                                                      because he raised these safety concerns in front of his crew-mates. [Id. ("Seems like
                                                      retaliation for bring[ing] it up[.]").]
                                                       OSHA's anti-retaliation provision, 29 U.S.C. § 660(c), provides the exclusive remedy for an
                                                      alleged whistleblower retaliation claim. Marshall v. Certified Welding Corp., No. 77-2048,
                                                      1978 WL 19111, at *4 (10th Cir. Dec. 28, 1978) ("The statute thus authorizes only the
                                                      Secretary [of Labor] to bring an action for violation of [OSHA]."); see cf. Frohlick Crane Serv.,
                                                      Inc. v. Occupational Safety & Health Review Comm'n, 521 F.2d 628, 631 (10th Cir. 1975)
                                                      (holding that, by statute, the "existing...
                                                      Campbell v. Eaton Corp. (D. Colo. 2019)
94.   Sabol v. Univ. of Wisconsin–Fond du Lac         "As for Sabol's claim under the OSHA, the Act does not provide a private right of action for
                                                      any person who believes he suffered retaliation as a result of complaints about unsafe
      (E.D. Wis. 2012)                                working conditions." Sabol v. Univ. of Wisconsin–Fond du Lac (E.D. Wis. 2012)
                 Case 1:22-cv-02234-EK-LB               Document 74-2 Filed 08/24/23                 Page 20 of 58 PageID #:
                                                                  3998
                                                                     EXHIBIT 3
                                                       LIST OF 218 FEDERAL CASE SUMMARIES
                                                        ON OSHA PRIVATE RIGHT OF ACTION


95.    Longhorn Integrity Inspection Servs., L.L.C.    McCurdy removed the case to federal court based on diversity jurisdiction and
                                                       counterclaimed for negligence under the Texas Deceptive Trade Practices Act ("DTPA"),
       v. McCurdy (5th Cir. 2018)                      fraudulent misrepresentation, and wrongful discharge under the Occupational Safety and
                                                       Health Administration ( "OSHA") retaliatory discharge provision. The district court granted
                                                       LIIS summary judgment on all of McCurdy's counterclaims.
                                                       Longhorn Integrity Inspection Servs., L.L.C. v. McCurdy (5th Cir. 2018)

96.    Skillsky v. Lucky Stores, Inc., 893 F.2d 1088   “A private right of action for wrongful discharge due to safety complaints co-exists with the
                                                       Cal/OSHA remedial scheme.'),..." Skillsky v. Lucky Stores, Inc., 893 F.2d 1088 (9th Cir. 1990)
       (9th Cir. 1990)
97.    Farr v. Pac. Gas & Elec. Co. (N.D. Cal. 2022)   "In her third cause of action, Plaintiff alleges retaliation for protected disclosures pursuant to
                                                       her rights under the Occupational Safety & Health Act (“OSH Act”), 29 U.S.C. § 654." Farr v.
                                                       Pac. Gas & Elec. Co. (N.D. Cal. 2022)
98.    Brown v. Choice Prods. (W.D. Wis. 2021)         "On October 19, 2016, Brown took his concerns outside the company, calling the
                                                       Occupational Safety and Health Administration (&ldquo ;OSHA”) to report safety issues with
                                                       a piece of modified machinery.[2]..." Brown v. Choice Prods. (W.D. Wis. 2021)
99.    Jones v. S. Atl. Galvinizing (D. S.C. 2023)     Plaintiff also complained to the EEOC about potential violations of the Occupational Safety
                                                       and Health Act (&ldquo ;OSHA”), 29 U.S.C. §§ 651-678:
                                                       Supervisor Brian [t]hrew ammonia pellets in zin[c] kettle and smoked the building...
                                                       Jones v. S. Atl. Galvinizing (D. S.C. 2023)
100.   Altimus v. Saint-Gobain Corp. of N. Am.
                                                       Rather, "OSHA creates an intra-agency mechanism by which an alleged violation can be
       (E.D. Cal. 2017)                                raised by a private actor, . . . suggesting that Congress did not intend for OSHA-based actions
                                                       to be litigated by private actors in federal court." Id. (emphasis added). Plaintiff had the right
                                                       to file a complaint with OSHA and request an inspection of his workplace if he believed there
                                                       to be a violation of OSHA standards or other serious hazards. Because plaintiff's claim for an
                                                       alleged OSHA violation is not properly before this court, it will be dismissed with prejudice.
                                                       Altimus v. Saint-Gobain Corp. of N. Am. (E.D. Cal. 2017)

101.   Dixon v. Primary Health Servs. Ctr. (W.D.
                                                       ) (Finding that plaintiff alleging Title VII retaliation resulting from reporting OSHA violations
       La. 2012)                                       had failed to state a claim for which relief may be granted). The Court finds that Dixon fails to
                                                       establish a prima facie case of retaliation because participation in an OSHA proceeding is not
                                                       a protected activity under Title VII. Therefore, the Court GRANTS Defendants' Motion for
                                                       Summary Judgment on Dixon's claims in Counts Two and Three that her change in job title
                                                       and suspension without pay constituted unlawful retaliation for her testimony in an OSHA
                                                       proceeding.
                                                       Dixon v. Primary Health Servs. Ctr. (W.D. La. 2012)
102.   Casmento v. Volmar Constr., Inc. (S.D. N.Y.
       2021)                                           The Second Circuit has held that an OSHA investigation is "not an . . . adjudication akin to a
                                                       civil trial." Conn. Dep't of Env't Prot. v OSHA, 356 F.3d 226, 234 (2d Cir. 2004). Upon the
                                                       receipt by the Department of Labor of a complaint charging a violation of the Act, the
                 Case 1:22-cv-02234-EK-LB            Document 74-2 Filed 08/24/23                Page 21 of 58 PageID #:
                                                               3999
                                                                  EXHIBIT 3
                                                    LIST OF 218 FEDERAL CASE SUMMARIES
                                                     ON OSHA PRIVATE RIGHT OF ACTION

                                                    Secretary of Labor (the "Secretary") need only "cause such investigation to be made as he
                                                    deems appropriate." 29 U.S.C. § 660(c). The Act does not provide for a judicial or quasi-
                                                    judicial officer, a hearing, the opportunity to call witnesses, or the right of the complainant
                                                    to confront the witnesses against him. The function of the Secretary is purely investigative.
                                                    The Secretary's determination that there has been a violation does not result in an
                                                    adjudication; it is a step precedent to the Secretary bringing an action in federal court where
                                                    a hearing is held. See id. The complainant does not have a private right of action on her own
                                                    under OSHA and, as a matter of administrative procedure, a complainant who is
                                                    disappointed by the investigator's determination has no right to judicial review.
                                                    Casmento v. Volmar Constr., Inc. (S.D. N.Y. 2021)



103.   Perez v. Renaissance Arts & Educ., Inc.      Mr. Shack engaged in his first protected activity on June 22, when he submitted his letter to
                                                    the School in the good faith belief that the violations he was highlighting presented
       (M.D. Fla. 2013)                             workplace safety concerns. OSHA validated his concerns in September 2009 when it cited the
                                                    School for violating OSHA regulations. Mr. Shack also engaged in protected activity on July
                                                    10, when he filed an online complaint with OSHA and emailed the school board members.
                                                    Perez v. Renaissance Arts & Educ., Inc. (M.D. Fla. 2013)
104.   Carr v. United States (E.D. N.C. 2018)
                                                    OSHA authorizes the Secretary of the Department of Labor to file a civil action in a federal
                                                    district court on behalf of an employee who was discharged or discriminated against for
                                                    reporting a safety concern. See 29 U.S.C. § 660(c)(1); Johnson, 871 F. Supp. 2d at 4-5. In
                                                    enacting OSHA, Congress intentionally declined to provide for a private right of action and
                                                    instead vested the Department of Labor with the power to vindicate the rights of employees
                                                    terminated in retaliation for reporting safety concerns. See, e.g., Taylor v. Brighton Corp.,
                                                    616 F.2d 256, 262-63 (6th Cir. 1980)...
                                                    OSHA authorizes the Secretary of the Department of Labor to file a civil action in a federal
                                                    district court on behalf of an employee who was discharged or discriminated against for
                                                    reporting a safety concern. See 29 U.S.C. § 660(c)(1); Johnson, 871 F. Supp. 2d at 4-5. In
                                                    enacting OSHA, Congress intentionally declined to provide for a private right of action and
                                                    instead vested the Department of Labor with the power to vindicate the rights of employees
                                                    terminated in retaliation for reporting safety concerns. See, e.g., Taylor v. Brighton Corp.,
                                                    616 F.2d 256, 262-63 (6th Cir. 1980)...
                                                    Carr v. United States (E.D. N.C. 2018)
105.   Luyon v. GTE, Inc., 107 F.3d 873 (7th Cir.
                                                    At Luyon's request, OSHA inspected Luyon's workplace and equipment at GTE and found no
       1997)                                        violations; indeed, Luyon's equipment was safe. Luyon was told of OSHA's findings. After the
                                                    OSHA inspection, Luyon twice left work early without permission, claiming that her
                                                    equipment was unsafe and bothering her. GTE warned Luyon that if she left early again, she
                                                    could be fired. Luyon did it again, and GTE then fired her solely because she left work early
                                                    without permission or a legitimate excuse and because of her otherwise poor work record.
                                                    Luyon v. GTE, Inc., 107 F.3d 873 (7th Cir. 1997)
                 Case 1:22-cv-02234-EK-LB            Document 74-2 Filed 08/24/23                 Page 22 of 58 PageID #:
                                                               4000
                                                                  EXHIBIT 3
                                                    LIST OF 218 FEDERAL CASE SUMMARIES
                                                     ON OSHA PRIVATE RIGHT OF ACTION

106.   Chaney v. Wal-Mart Stores Inc. (W.D. Okla.
                                                    Plaintiff's complaint also appears to include a claim for retaliatory harassment for reporting
       2015)                                        OSHA violations. See, e.g., Doc. No. 1, at 2, ¶ 9-10. However, while the Tenth Circuit has not
                                                    ruled on the issue, a number of federal courts of appeal have held that OSHA contains no
                                                    private right of action. 29 U.S.C. § 660(c)(2); Hoeft v. Dommisse, 352 F. App'x 77, 80 (7th Cir.
                                                    2009) ("only the Secretary of Labor may sue to enforce [OSHA], which does not provide
                                                    individual employees with any express or implied right
                                                    of action"); Glanton v. Harrah's Entm't, Inc., 297 F. App'x 685, 687 (9th Cir. 2008) ( "OSHA
                                                    does not provide a private cause of action . . . [i]ndeed, OSHA creates an intra-agency
                                                    mechanism by which an alleged violation can be raised by a private actor, 29 U.S.C. §§
                                                    657(f)(1), 660(c), suggesting that Congress did not intend for OSHA-based actions to be
                                                    litigated by private actors in federal court");...
                                                    Chaney v. Wal-Mart Stores Inc. (W.D. Okla. 2015)

107.   Quirk v. Difiore (S.D. N.Y. 2022)
                                                    The last of Quirk's federal law claims are for violations of OSHA regulations (see Compl. ¶¶
                                                    46-51); these claims all fail because Quirk cannot bring a lawsuit under OSHA.[1] See
                                                    Donovan v. Occupational Safety & Rev. Comm'n, 713 F.2d 918, 926 (2d Cir. 1983) (“Under
                                                    OSHA, employees do not have a private right of action.”); see also Jacobsen v. N.Y. City
                                                    Health & Hosps. Corp., No. 12 Civ. 7460, 2013 WL 4565037, at *7 (S.D.N.Y. Aug. 28, 2013)
                                                    (collecting cases and noting that the “statutory scheme [of OSHA] envisions that the public
                                                    rights created by the Act are to be protected by the Secretary [of Labor] and that
                                                    enforcement of the Act is the sole responsibility of the Secretary”).
                                                    Quirk v. Difiore (S.D. N.Y. 2022)
108.   Olivadoti v. 290 Riverside Co. (S.D. N.Y.
                                                    Plaintiff alleges that defendant violated 29 C.F.R. § 191.101(j),2 29 C.F.R. § 1926, regulations
       2012)                                        promulgated by the Occupational Safety and Health Administration ( "OSHA") governing
                                                    toxic substances in the workplace, and other unspecified OSHA regulations. In deference to
                                                    plaintiff's pro se status, the Court liberally construes the Amended Complaint to also raise
                                                    claims under the Occupational Safety and Health Act of 1970 ("OSH Act"), which created
                                                    OSHA. The OSH Act does not give rise to subject matter jurisdiction because it does not
                                                    provide a private right of action. See Jelenic v. Campbell Plastics, 159 F.3d 1347, at *2 (table)
                                                    (2d Cir. 1998); Donovan v. Occupational Safety & Health Review Comm'n, 713 F.2d 918, 926
                                                    (2d Cir. 1983); Rompalli v. Portnova, No. 09-cv-3083, 2010 U.S. Dist. LEXIS 50441, at *5
                                                    (S.D.N.Y. May 21, 2010). This Court does not have jurisdiction to hear a claim brought by a
                                                    citizen attempting to enforce the OSH Act or OSHA regulations.
                                                    Olivadoti v. 290 Riverside Co. (S.D. N.Y. 2012)
                                                    Olivadoti v. 290 Riverside Co. (S.D. N.Y. 2012)
109.   Marshall v. Occupational Safety and
                                                    29 U.S.C. § 659(c) authorizes any employee of an employer contesting a citation issued by
       Health Review Com'n, 635 F.2d 544 (6th       the Secretary to challenge as unreasonable the period of time fixed in the citation for
       Cir. 1980)                                   abatement of the violation. This is the only provision in the act authorizing an affected
                                                    employee to participate in OSHA proceedings before the Commission.
                                                    Marshall v. Occupational Safety and Health Review Com'n, 635 F.2d 544 (6th Cir. 1980)
                 Case 1:22-cv-02234-EK-LB             Document 74-2 Filed 08/24/23                  Page 23 of 58 PageID #:
                                                                4001
                                                                   EXHIBIT 3
                                                     LIST OF 218 FEDERAL CASE SUMMARIES
                                                      ON OSHA PRIVATE RIGHT OF ACTION

110.   Elliott v. S.D. Warren Co., 134 F.3d 1 (1st
                                                     Three of these four courts have held squarely that, because the OSH Act does not create a
       Cir. 1997)                                    private right of action, 2 a violation of an OSHA regulation never can be equated with
                                                     negligence per se. See Robertson, 32 F.3d at 410-11; Ries, 960 F.2d at 1158-65; Albrecht, 808
                                                     F.2d at 332-33. The Sixth Circuit, like the Fifth, leaves open the possibility that a violation of
                                                     an OSHA regulation may, in some cases governed by federal law, constitute negligence per
                                                     se, see Ellis, 63 F.3d at 477; Rabon, 672 F.2d at 1238, but it is rare in either circuit for a court
                                                     actually to uphold a finding of negligence per se on this basis. Silhouetted against this
                                                     backdrop, the Pratico holding is of questionable validity.
                                                     Elliott v. S.D. Warren Co., 134 F.3d 1 (1st Cir. 1997)
111.   Morales v. Supreme Maint. (D. N.M. 2022)
                                                     Plaintiff maintains that Defendants violated OSHA “safety requirements.” See Doc. 33, at 6.
                                                     ;OSHA was enacted to ensure healthy and safe working conditions for employees. See 29
                                                     U.S.C. § 651; Marshall v. Intermountain Elec. Co., 614 F.2d 260, 262 (10th Cir. 1980). “Its
                                                     primary purpose is to ensure that violations of [OSHA] are reported, rather than to vindicate
                                                     private interests.” Marshall, 614 F.2d at 262. OSHA only allows an employee to file a
                                                     complaint-which must be filed within 30 days of the discrimination or discharge-with the
                                                     Secretary of Labor who then decides whether to bring an action on the employee's behalf.
                                                     See 29 U.S.C. § 660(c)(2). Thus, OSHA “does not create a private cause of action on behalf of
                                                     injured workers.” Accord Douglass v. United Auto Workers, Loc. 31, 368 F.Supp.2d 1234,
                                                     1248 (D. Kan. 2005); 29 U.S.C. §...
                                                     Morales v. Supreme Maint. (D. N.M. 2022)
112.   Sandoval v. New Mexico Technology
                                                     Plaintiff was primarily seeking to further the public interests and purposes of the OSHA laws,
       Group LLC., 174 F.Supp.2d 1224 (D. N.M.       the right to collective bargaining and the rights under the Service Contract Act of 1965.
       200                                           Plaintiff was attempting to promote the public safety of the citizens who would come into
                                                     contact with or use any facility maintained or operated by Defendants as well as protect the
                                                     rights of the employees working for Defendant.
                                                     Sandoval v. New Mexico Technology Group LLC., 174 F.Supp.2d 1224 (D. N.M. 2001)
113.   Dravo Corp. v. Occupational Safety and        Foonote: "A violation of an OSHA regulation does not, however, create a private right of
                                                     action against an employer for violation of its terms. Jeter v. St. Regis Paper Co., 507 F.2d 973
       Health Review Com'n, 613 F.2d 1227 (3rd       (5th Cir. 1975)." Dravo Corp. v. Occupational Safety and Health Review Com'n, 613 F.2d 1227
       Cir. 1979)                                    (3rd Cir. 1979)

114.   Palacio v. Cobb Cnty. Code Enforcement
                                                     It appears that Plaintiff claims he performed work in violation of the Occupational Safety and
       (N.D. Ga. 2014)                               Health Act ( "OSHA"), 29 U.S.C. § 651 et seq. OSHA does not create a private right of action
                                                     for an employee to recover for alleged OSHA violations. Rabon v. Automatic Fasteners, Inc.,
                                                     672 F.2d 1231 (11th Cir. 1982). There is no basis for a claim based on alleged hazardous
                                                     work.
                                                     Palacio v. Cobb Cnty. Code Enforcement (N.D. Ga. 2014)
115.   Foster v. Select Med. Corp. (M.D. Fla.
                                                     In his Complaint, Plaintiff alleges that he filed a "timely charge of discrimination with City of
       2012)                                         Orlando Human Relation Department, Equal Employment Opportunity Commission
                 Case 1:22-cv-02234-EK-LB           Document 74-2 Filed 08/24/23                Page 24 of 58 PageID #:
                                                              4002
                                                                 EXHIBIT 3
                                                   LIST OF 218 FEDERAL CASE SUMMARIES
                                                    ON OSHA PRIVATE RIGHT OF ACTION

                                                   [("EEOC")], Occupational Heath and Safety Administration [( "OSHA")], participated in an
                                                   employment discrimination proceeding and opposed the Defendant's unlawful practices."
                                                   (Doc. No. 16, p. 7.) He further alleges that he filed a complaint "with Defendant" for
                                                   "intolerable to a reasonable person, unlawful safety compensation claim, adverse and
                                                   malicious." (Id.) Elsewhere in the Complaint, he appears to allege that he was terminated
                                                   without explanation immediately after he spoke to the CEO about safety violations and/or
                                                   after he filed complaint with the EEOC or OSHA.
                                                   Foster v. Select Med. Corp. (M.D. Fla. 2012)
116.   Fawvor v. Texaco, Inc., 387 F.Supp. 626     "plaintiff contends that this Court has federal question jurisdiction because the Occupational
                                                   Safety and Health Act creates a private right of action for violations of the Act and the
       (E.D. Tex. 1975)                            regulations promulgated pursuant thereto. The Court disagrees..." Fawvor v. Texaco, Inc.,
                                                   387 F.Supp. 626 (E.D. Tex. 1975)
117.   Plaintiff V. The UNITED States (Fed. Cl.    "Mr. Bowling asserts that PWC failed to follow proper safety measures as required by OSHA.
                                                   Compl. 3; Def.'s Mot. 1. Mr. Bowling subsequently worked for other roofing entities but
       2010)                                       asserts that these employers complied with OSHA regulations and therefore could not be
                                                   responsible for his lung damage." Plaintiff V. The UNITED States (Fed. Cl. 2010)

118.   Hurlburt v. Lohr Distrib. Co. (E.D. Mo.
                                                   In Count III, Plaintiff alleges Defendant provided an unsafe work environment by requiring
       2018)                                       Plaintiff to operate an unsafe truck with malfunctioning brakes and locks in violation of
                                                   OSHA. Defendant argues these OSHA claims should be dismissed because OSHA does not
                                                   create a private right of action under which Plaintiff may maintain suit. In her opposition,
                                                   Plaintiff indicated that she does not oppose Defendant's request to dismiss her OSHA claims.
                                                   Accordingly, the Court will grant Defendant's motion to dismiss Plaintiff's OSHA claims.4...
                                                   Hurlburt v. Lohr Distrib. Co. (E.D. Mo. 2018)
119.   Clark v. Wells Fargo Bank, N.A. (D. Or.
                                                   Clark also alleges that Wells Fargo violated OSHA by refusing to block his fax number and
       2014)                                       employing "police and security forces in the workplace," both of which represented "grossly
                                                   unreasonable response[s]" to his correspondences. Compl. ¶¶ 117-19. "OSHA does not
                                                   provide a private right of action for employees to bring claims in federal court based on
                                                   alleged violations of its provisions or associated regulations." Jacobsen v. N.Y.C. Health &
                                                   Hosps. Corp.,...
                                                   Clark v. Wells Fargo Bank, N.A. (D. Or. 2014)
120.   Koontz v. Town of Middlebury (N.D. Ind.
                                                   Plaintiff's alleged denial of FMLA benefits and his report of unsafe working conditions to
       2015)                                       OSHA, the Plaintiff attempts to clarify by stating in his second response brief that such issues
                                                   were raised "to give factual examples of how the Town of Middlebury and [the individual
                                                   defendants] worked together to deny [the Plaintiff] benefits and a safe workplace."...
                                                   Koontz v. Town of Middlebury (N.D. Ind. 2015)
121.   Breaux v. Rosemont Realty (W.D. La. 2015)
                                                   The plaintiff does not contest dismissal of these claims. Further, the defendants are correct
                                                   in their assertion that the general duty clause of OSHA does not create a private right of
                                                   action for plaintiffs. Plaintiff's claims for a breach of the General Duty Clause of the
                                                   Occupational Safety Health Administration is DISMISSED WITH PREJUDICE.
                                                   Breaux v. Rosemont Realty (W.D. La. 2015)
                 Case 1:22-cv-02234-EK-LB             Document 74-2 Filed 08/24/23                 Page 25 of 58 PageID #:
                                                                4003
                                                                   EXHIBIT 3
                                                     LIST OF 218 FEDERAL CASE SUMMARIES
                                                      ON OSHA PRIVATE RIGHT OF ACTION

122.   Von Maack v. 1199SEIU United Healthcare
                                                     Von Maack's claim under the Occupational Safety and Health Act fails for similar reasons.
       Workers E. (S.D. N.Y. 2014)                   Even assuming that 1199 can be held liable for health and safety conditions at Wyckoff,
                                                     there is no private right of action for employees to enforce the Act. Donovan v. Occupational
                                                     Safety and Health Review Comm'n, 713 F.2d 918, 926 (2d Cir. 1983).
                                                     Von Maack v. 1199SEIU United Healthcare Workers E. (S.D. N.Y. 2014)
123.   Lopez v. Burris Logistics Co., 952 F. Supp.
                                                     Plaintiffs' allegations regarding workplace safety, thereby precluding Plaintiffs' common law
       2d 396 (D. Conn. 2013)                        wrongful discharge claims. Doc. # 32. Burris further informs the Court that the Plaintiffs
                                                     “have, and are actually asserting, a proper statutory remedy for their allegations of wrongful
                                                     discharge in violation of Connecticut's ‘safe workplace public policy.’ ” Doc. # 33, p. 2. In
                                                     particular, Burris asserts that “although not plead in the [P]laintiffs' complaints, the
                                                     [P]laintiffs[ ] have a presently pending retaliation claim before the Occupational Safety and
                                                     Health Administration.” Doc. # 33...
                                                     Lopez v. Burris Logistics Co., 952 F. Supp. 2d 396 (D. Conn. 2013)

124.   Naa-Anorkor Okai v. Kaiser Permanente
                                                     Defendants move to dismiss Plaintiff's OSHA claims, arguing there is no private right of
       CSC (S.D. Cal. 2023)                          action under OSHA and, even if there was, the Complaint fails to state any facts to support
                                                     an OSHA violation. (Mot. at 15-16.) Plaintiff admits that she did not intend for violations of
                                                     the OSHA standards to be “part of [her] claims for relief.” (ECF No. 41-1 at 6.) From what the
                                                     Court can tell, Plaintiff seeks to use evidence of alleged OSHA violations to prove the harm
                                                     she suffered relating to her other claims against Defendants. (See id. at 6-7.) Regardless, the
                                                     Court addresses any alleged OSHA claims below.
                                                     Naa-Anorkor Okai v. Kaiser Permanente CSC (S.D. Cal. 2023)
125.   Rabon v. Automatic Fasteners, Inc., 672
                                                     Although OSHA creates no private right of action, violation of an OSHA regulation is evidence
       F.2d 1231 (5th Cir. 1982)                     of negligence or, in appropriate circumstances, negligence per se. 13 Melerine v. Avondale
                                                     Shipyards, Inc., 659 F.2d 706 (5th Cir. 1981); see also, National Marine Services, Inc. v. Gulf
                                                     Oil Co., 433 F.Supp. 913, 919-920 (E.D.La.1977), aff'd 608 F.2d 522 (5th Cir. 1979); Buhler v.
                                                     Marriott Hotels, Inc., 390 F.Supp. 999 (E.D.La.1974). 14 T...
                                                     Rabon v. Automatic Fasteners, Inc., 672 F.2d 1231 (5th Cir. 1982)
126.   Merritt v. Bethlehem Steel Corp., 875 F.2d
                                                     Whether the safety standards of OSHA, the NESC and the NEC apply to
       603 (7th Cir. 1989)                           landowner/contractees such as Bethlehem is an issue we need not resolve. 4 For even if we
                                                     assume that they are applicable to Bethlehem (that Bethlehem is Merritt's indirect or
                                                     statutory "employer" within the meaning of OSHA and the NESC/NEC), and that those
                                                     standards were violated, neither OSHA nor the NESC/NEC can be used to expand or in any
                                                     other manner affect Bethlehem's common law or statutory liability for an employee's
                                                     injuries arising out of, or in the course of, his employment. 29 U.S.C. Sec. 653(b)(4); I.C. 22-8-
                                                     1.1-48.3. 5 Merritt seeks to create a private right of action where none exists. See Jeter v. St.
                                                     Regis Paper Co., 507 F.2d 973, 976-77 (5th Cir.1975); Russell v. Bartley, 494 F.2d 334, 335-36
                                                     (6th Cir.1974); Hebel, 475 N.E.2d at 658.
                                                     Merritt v. Bethlehem Steel Corp., 875 F.2d 603 (7th Cir. 1989)
                 Case 1:22-cv-02234-EK-LB            Document 74-2 Filed 08/24/23                Page 26 of 58 PageID #:
                                                               4004
                                                                  EXHIBIT 3
                                                    LIST OF 218 FEDERAL CASE SUMMARIES
                                                     ON OSHA PRIVATE RIGHT OF ACTION

127.   Roganti v. Metro. Life Ins. Co. (S.D. N.Y.
                                                    On May 23, 2003, Roganti filed a complaint with the Occupational Safety and Health
       2012)                                        Administration ( "OSHA"), a unit of the Department of Labor. He alleged that MetLife had
                                                    violated SOX by retaliating against him after he had reported employee misconduct to
                                                    company management. Compl. ¶ 55. OSHA conducted a preliminary investigation, which did
                                                    not validate Roganti's allegations. Id. ¶ 68. On October 8, 2003, OSHA sent a letter to Roganti
                                                    stating that his complaint had been dismissed. Id.; SOC ¶ 3.
                                                    Roganti v. Metro. Life Ins. Co. (S.D. N.Y. 2012)
128.   Parker v. Hunting Point Apartments, LLC      Plaintiff, the Court takes that Plaintiff intends to allege constitutional violations for "red
       (E.D. Va. 2015)                              lining, social steering, economic determinism and gentrification" giving rise to a claim under
                                                    42 U.S.C. § 1983; violations of various environmental statutes, giving rise to a citizen suit;
                                                    discrimination under federal fair housing and civil rights laws based on age and "economic
                                                    determinism and gentrification"; improper eviction; and tort claims arising from asbestos
                                                    exposure. "Generalized, unsupported assertions are insufficient to state a claim." Parker v.
                                                    Hunting Point Apartments, LLC (E.D. Va. 2015)
                                                    Plaintiff also fails to state a claim under environmental or consumer laws. Plaintiff raises four
                                                    environmental and consumer laws in the "jurisdiction" paragraph of his Amended Complaint:
                                                    the Clean Air Act, the Toxic Substances Control Act ("TSCA"), the Occupational Health and
                                                    Safety Act ( "OSHA") and the Consumer Product Safety Act ("CPSA"). None of these statutes
                                                    are noted in the body of the pleading. As the elements of these statutes have not been
                                                    mentioned, much less pleaded, the Amended Complaint does not state a claim under any of
                                                    the statutes. Moreover, two of the statutes are not enforceable by a generalized private
                                                    right of action.
                                                    Parker v. Hunting Point Apartments, LLC (E.D. Va. 2015)
129.   Stiefel v. Bechtel Corp., 497 F.Supp.2d
                                                    In June 2006, Plaintiff filed a complaint in San Diego County Superior Court for wrongful
       1153 (S.D. Cal. 2007)                        termination in violation of public policy, failure to accommodate a disability in violation of
                                                    California's Fair Employment Housing Act, section 12940 et seq. of California's Labor Code
                                                    ("FEHA"), retaliation in violation of FEHA, violations of California's Labor Code, negligent
                                                    supervision, and intentional infliction of emotional distress. (Compl. ¶¶ 1-74.)...
                                                    Stiefel v. Bechtel Corp., 497 F.Supp.2d 1153 (S.D. Cal. 2007)
                                                    The Taylor court reasoned that the U.S. Secretary of Labor's approval of the Cal/OSHA plan,
                                                    which provided for a private right of action against employers, "is the equivalent of
                                                    congressional action" for the purpose of permitting a plaintiff to assert a claim for relief
                                                    under Cal/OSHA against a federal enclave contractor, and allows state safety
                                                    regulation of federal enclaves when the responsible federal agency does not claim "exclusive
                                                    jurisdiction." See id. at 483-85, 92 Cal.Rptr.2d 873 (citing Cal. Labor Code § 6303) (defining
                                                    "place of employment" within California as "any place, and the premises appurtenant
                                                    thereto, where employment is carried on, except a place the health and safety jurisdiction
                                                    over which is vested by law in, and actively exercised by, any state or federal agency...."); 29
                                                    C.F.R. § 1952.172(b)(4) (providing "[t]he U.S. Department of Labor will continue to exercise
                                                    authority... the Court concludes that, even under Taylor's permissive standard, Plaintiff has
                                                    failed to allege sufficient facts to support his theory that the federal agency responsible for
                                                    SONGS has failed to exercise exclusive jurisdiction such that Plaintiff may bring his claims
                                                    pursuant to sections 6310 and 6311 of California's Labor Code.
                 Case 1:22-cv-02234-EK-LB               Document 74-2 Filed 08/24/23                 Page 27 of 58 PageID #:
                                                                  4005
                                                                     EXHIBIT 3
                                                       LIST OF 218 FEDERAL CASE SUMMARIES
                                                        ON OSHA PRIVATE RIGHT OF ACTION

                                                       Stiefel v. Bechtel Corp., 497 F.Supp.2d 1153 (S.D. Cal. 2007)
130.   Kabir v. Potter (S.D. Ohio 2011)                In addition, the Defendants move for dismissal of Plaintiff's claim under the Occupational
                                                       Safety and Health Act of 1970 ( "OSHA"), 29 U.S.C. § 654. This statute contains an extensive
                                                       administrative process regarding alleged violations of workplace safety regulations. The
                                                       statute contains no language creating a private right of action. Ellis v. Chase Commc'ns, Inc.,
                                                       63 F.3d 473, 478 (6th Cir. 1995). This claim is DISMISSED.

131.                                                   "Of the eleven witnesses who testified at the hearing, however, only the OSHA compliance
                                                       officer who issued the citation to B&B believed that safety belts would have been
                                                       appropriate under the circumstances." B & B Insulation, Inc. v. Occupational Safety and
                                                       Health Review Com'n, 583 F.2d 1364 (5th Cir. 1978) "For example, the Act does not affect
                                                       workmen's compensation in any way, 29 U.S.C.A. § 653(b)(4), and creates no private right of
                                                       action for an injured employee against his employer. Jeter v. St. Regis Paper Co., 507 F.2d
                                                       973 (5th Cir. 1975)." B & B Insulation, Inc. v. Occupational Safety and Health Review Com'n,
                                                       583 F.2d 1364 (5th Cir. 1978) The result in this case is to reverse the Commission's assessment
                                                       of a nonserious violation on the ground that there is not substantial evidence in the record to
                                                       support a finding that a reasonably prudent employer in the insulation industry would have
                                                       understood that the use of safety belts was mandated by the conditions for which B&B was
                                                       cited.
132.   Matthews v. Gee (E.D. Va. 2017)
                                                       Plaintiff cannot recover for alleged OSHA violations because those regulations do not provide
                                                       for a private right of action. See Minichello v. U.S. Indus., Inc., 756 F.2d 26, 29 (6th Cir. 1985)
                                                       ( "OSHA regulations can never provide a basis for liability because Congress has specified
                                                       that they should not."); Jeter v. St. Regis Paper Co., 507 F.2d 973, 977 (5th Cir. 1975)
                                                       ("Congress did not intend OSHA to create a new action for damages in favor of employees.");
                                                       Byrd v. Fieldcrest Mills, Inc., 496 F.2d 1323, 1323 (4th Cir. 1974) (affirming district court
                                                       decision that Occupational Safety and Health Act "preclude[s] a private remedy"). Similarly,
                                                       no private right of action exists under Virginia law for VOSH violations. See VA Code Ann. §
                                                       40.1-49.4 (leaving exclusive enforcement power to the Commissioner of Labor and Industry).
                                                       Matthews v. Gee (E.D. Va. 2017) "Accordingly, to the extent that Plaintiff is attempting to
                                                       state a claim for Defendants' purported regulatory violations, he cannot do so. Those claims
                                                       will be dismissed with prejudice." Matthews v. Gee (E.D. Va. 2017)
133.   Glick v. Chukchansi Fin. Co. (E.D. Cal. 2021)   Plaintiff brings a negligence claim, alleging the incidents giving rise to the cause of action
                                                       occurred during her employment at Chukchansi, with unsafe work conditions causing Glick to
                                                       fall and injure herself multiple times with the first incident occurring in June 2018. (Id. at 8).
                                                       As relief, Plaintiff seeks damages for her lost career, lost wages, lost retirement, and loss of
                                                       enjoyment, health, and ability. (Id. at 9).
                                                       Glick v. Chukchansi Fin. Co. (E.D. Cal. 2021)In particular, the district court found Plaintiff
                                                       failed to sufficiently state what claim she was attempting to bring in the complaint, other
                                                       than a claim under the Occupational Safety and Health Act (&ldquo ;OSHA”). (Id. at 4-5). The
                                                       district court noted, however, that OSHA does not provide a private right of action for
                 Case 1:22-cv-02234-EK-LB            Document 74-2 Filed 08/24/23                 Page 28 of 58 PageID #:
                                                               4006
                                                                  EXHIBIT 3
                                                    LIST OF 218 FEDERAL CASE SUMMARIES
                                                     ON OSHA PRIVATE RIGHT OF ACTION

                                                    employees to bring claims in federal court. (Id. at 3- 4). Considering Plaintiff's pro se status,
                                                    however, the district court permitted Plaintiff an opportunity to file an amended complaint
                                                    within twenty-one days of service of the order. (Id. at 5). Glick v. Chukchansi Fin. Co. (E.D.
                                                    Cal. 2021)

134.   Paige v. Henry J. Kaiser Co., 826 F.2d 857   Appellants' claim is for wrongful discharge based upon violations of state statutes and public
                                                    policy. A private right of action for wrongful discharge due to safety complaints co-exists
       (9th Cir. 1987)                              with the Cal/OSHA remedial scheme. Hentzel v. Singer Co., 138 Cal.App.3d 290, 303, 188
                                                    Cal.Rptr. 159, 167-68 (1982). California's OSHA regulations protect all workers, irrespective
                                                    of any labor agreement. State health and safety standards benefit all employees as individual
                                                    workers, not because they are or are not members of a collective bargaining association. And
                                                    California's interest in providing this private cause of action is the enforcement of the
                                                    underlying statute or policy, not to regulate the employment relationship. Garibaldi, 726
                                                    F.2d at 1374. 10...
                                                    Paige v. Henry J. Kaiser Co., 826 F.2d 857 (9th Cir. 1987)

135.   Groulx v. People’s Republic of China (E.D.   The only injury for which Groulx seeks redress is his inability to ascertain the type of cancer
                                                    he might develop from his exposure, and the only laws which might afford him a right to
       Mich. 2022)                                  such information are OSHA's regulations. (See id. at PageID.11-13).
                                                          But regulations cannot create a private right of action, and the Sixth Circuit has held
                                                    that there is no private right of action under the Occupational Health and Safety Act.
                                                    Alexander v. Sandoval, 532 U.S. 275, 291 (2001); Smith v. Dearborn Fin. Servs., Inc., 982 F.2d
                                                    976, 979 (6th Cir. 1993); Minichello v. U.S. Indus., Inc., 756 F.2d 26, 29 (6th Cir. 1985); see
                                                    also Madigan v. Nabisco Brands, Inc., 46 Fed.Appx. 329, 331 (6th Cir. 2002); Ellis v. Chase
                                                    Commc'ns, Inc., 63 F.3d 473, 476-78 (6th Cir. 1995). Accordingly, because Groulx cannot
                                                    bring a civil lawsuit to enforce the regulations, I suggest that he does not allege a plausible
                                                    claim for relief.
                                                    Groulx v. People’s Republic of China (E.D. Mich. 2022)
136.   Lewis v. DBI Servs. (W.D. Tex. 2020)         "Plaintiff's prior pleadings alleged that he reported safety concerns to management and was
                                                    later subjected to retaliation." Lewis v. DBI Servs. (W.D. Tex. 2020)
                                                    As stated in the undersigned's Order for a More Definite Statement [#16], neither the
                                                    Occupational Health and Safety Act ( "OSHA"), 29 U.S.C. § 660(c), nor the Surface
                                                    Transportation Assistance Act ("STAA"), 49 U.S.C. § 31105(b)(1), both of which contain
                                                    provisions protecting workers from retaliation for reporting safety violations, authorize
                                                    private individuals to file suit for violation of their statutes. See Washington v. M. Hanna
                                                    Const. Inc., 299 Fed. App'x 399, 401-02 (5th Cir. 2008) (private individual cannot sue for
                                                    retaliatory discharge under OSHA); 49 U.S.C. § 31105(e) (conferring on the Secretary of Labor
                                                    the right to bring a civil action to enforce an administrative order remedying any violation
                                                    under the STAA). Because no private right of action exists under either statute, Plaintiff
                                                    cannot directly sue his former employer under OSHA...
                                                    Lewis v. DBI Servs. (W.D. Tex. 2020)
137.   Echard v. Devine, 726 F.Supp. 1045 (N.D.
                                                    In July 1973, plaintiff, Noah Echard, was hired as a foreman by defendant Consolidation Coal
       W.Va. 1989)                                  Company (Consolidation) at the Blacksville # 2 Mine in Wana, West Virginia. After nine years
                                                    of employment, Echard was discharged on February 2, 1982. In the course of deposing
                Case 1:22-cv-02234-EK-LB          Document 74-2 Filed 08/24/23                 Page 29 of 58 PageID #:
                                                            4007
                                                               EXHIBIT 3
                                                 LIST OF 218 FEDERAL CASE SUMMARIES
                                                  ON OSHA PRIVATE RIGHT OF ACTION

                                                 Echard, counsel for defendants raised questions about numerous occurrences of alleged
                                                 violations of work standards by plaintiff. However, the record contains no detailed
                                                 information in form appropriate pursuant to Fed.R.Civ.P. 56 supporting those allegations.
                                                 Accordingly, this Court addresses defendants' summary judgment motion as if no such
                                                 violations by plaintiff in fact occurred. Rchard v. Devine, 726 F.Supp. 1045 (N.D. W.Va. 1989)
                                                 In July 1973, plaintiff, Noah Echard, was hired as a foreman by defendant Consolidation Coal
                                                 Company (Consolidation) at the Blacksville # 2 Mine in Wana, West Virginia. After nine years
                                                 of employment, Echard was discharged on February 2, 1982. In the course of deposing
                                                 Echard, counsel for defendants raised questions about numerous occurrences of alleged
                                                 violations of work standards by plaintiff. However, the record contains no detailed
                                                 information in form appropriate pursuant to Fed.R.Civ.P. 56 supporting those allegations.
                                                 Plaintiff states that during the course of his employment, he became concerned about
                                                 Consolidation's disregard of certain safety procedures, and that he was eventually fired, inter
                                                 alia, in retaliation for his efforts to have Consolidation comply with the laws and policies of
                                                 the United States and of the State of West Virginia.) Accordingly, this Court addresses
                                                 defendants' summary judgment motion as if no such violations by plaintiff in fact occurred.
                                                 Echard v. Devine, 726 F.Supp. 1045 (N.D. W.Va. 1989)
138.   Owens v. Perdue Farms, Inc. (M.D. Ga.     "On August 5, 2020, Owens filed suit against Perdue Farms asserting claims for negligence,
                                                 negligence per se, and punitive damages for his hand injuries. [Doc. 1, pp. 3-5, 7]."
       2021)                                     The second count of Owens' Amended Complaint alleges violations of 29 C.F.R. §§ 1910.212
                                                 and 1910.147. [Doc. 28, ¶¶ 22-26]. The authority for these federal regulations comes from
                                                 29 U.S.C. §§ 653, 655, and 657, more commonly referred to as standards set forth by the
                                                 Occupations Safety and Health Act of 1970 or "OSHA." See [Doc. 28, ¶¶ 20, 23-24, 28, 30].
                                                 ince OSHA does not create a private right of action, it appears that Owens cannot state a
                                                 cognizable negligence per se claim upon which relief may be granted. Accordingly, the Court
                                                 ORDERS the parties to SHOW CAUSE within 14 days from the date of this Order why the
                                                 OSHA-related claims set forth in Count II should not be dismissed.
                                                 Owens v. Perdue Farms, Inc. (M.D. Ga. 2021)
139.   Reyes-Gonzalez v. Firstbank Puerto Rico   Instead, plaintiff frequently and specifically pleads the opposite: "Plaintiff was at all times
                                                 interested in protecting his employees and clients" (d.e. 1, p. 6); and "First Bank . . .
       (D. P.R. 2017)                            discriminated . . . and retaliated against him for demanding safer working conditions as
                                                 mandated by OSHA." (d.e. 1, p. 5). Indeed, he goes out of his way to allege that what he
                                                 "only requested from his former employer and supervisor, Mr. Angel Colon, was for them to
                                                 provide safer working conditions as mandated by OSHA, and to enforce the same reasonable
                                                 accommodations guaranteed to him and other employees."...
                                                 Reyes-Gonzalez v. Firstbank Puerto Rico (D. P.R. 2017)

140.   Momot v. Dziarcak, 208 F.Supp.3d 450      This case arises out of Plaintiff's employment as a Certified Nursing Assistant ("CNA") at
                                                 Defendant Daughters of Sarah Nursing Center ("DSNC") in Albany, New York. See Amended
       (N.D. N.Y. 2016)                          Complaint ("Amended Cmplt."), dkt. # 30, at 1. Plaintiff is a 60-year-old white male. Id. at ¶
                                                 1. Plaintiff worked for the Nursing Center from March 8, 2011 until his termination on March
                                                 30, 2012. Id. at ¶ 3. He alleges that he lost his job due to discrimination. Id. Plaintiff contends
                                                 that, though qualified for his CNA position, the Nursing Center breached workplace safety
                 Case 1:22-cv-02234-EK-LB           Document 74-2 Filed 08/24/23                 Page 30 of 58 PageID #:
                                                              4008
                                                                 EXHIBIT 3
                                                   LIST OF 218 FEDERAL CASE SUMMARIES
                                                    ON OSHA PRIVATE RIGHT OF ACTION

                                                   rules, maintained a hostile work environment, and failed to respond to his warnings about
                                                   the work environment. Id. at ¶ 4. He alleges that he made Defendant aware of a hernia
                                                   [208 F.Supp.3d 454] injury he suffered and was dismissed shortly thereafter.
                                                   The Act sets up a scheme of regulations, inspections, citations and enforcement. See 29
                                                   U.S.C. § 655 -660. While employees play a role in OSHA investigations and rulemaking, they
                                                   "do not have a private right of action." Donovan , 713 F.2d at 926. Since Plaintiff lacks a
                                                   private right of action under OSHA, the Court will grant the motion in this respect too.
                                                   Momot v. Dziarcak, 208 F.Supp.3d 450 (N.D. N.Y. 2016) Id. at ¶ 5.

141.   Perez-Orench v. Acting Seec. of the Dept    On March 18, 2014, Plaintiff filed a TSA Form 2400: Unsafe or Healthful Working Condition
                                                   Employee Report and Investigation (the “2014 Report”).[6] Docket No. 1 at ¶ 21. From
       .of Homeland Sec. (D. P.R. 2023)            October 22, 2014, to November 11, 2014, Plaintiff was hospitalized for bronchial pneumonia,
                                                   bronchitis, and other breathing complications. Id. ¶ 17. Two months after her hospital stay,
                                                   Plaintiff requested sick leave. Id. Two months after she returned to the office, Plaintiff was
                                                   again hospitalized from May 11, 2015, to May 29, 2015. Id. ¶ 18. Plaintiff was diagnosed with
                                                   steroid induced myopathy, “a condition that [] she developed due to the extended use of
                                                   steroids to treat [her] lung condition.” Id. On June 15, 2015, a TSA Investigator informed
                                                   Plaintiff that she was under investigation “for a TA Fraud allegation submitted in May
                                                   2014.”[7] Id. ¶ 19. Plaintiff alleges the investigation was in retaliation for filing the 2014
                                                   Report. Id. Subsequently, in July 2015, OSHA visited the Airport's TSA offices, met with
                                                   Plaintiff, and took samples of visible mold in the office. Id. ¶ 20. Plaintiff did not receive the
                                                   results of the tests performed on the samples nor was she provided status updates.
                                                   Plaintiffs allege that Defendants' conduct violated OSHA. However, this statute does not
                                                   create a private cause of action. Pedraza v. Shell Oil Co., 942 F.2d 48, 52 (1st Cir. 1991)
                                                   (“[E]very court faced with the issue has held that OSHA creates no private right of action.”);
                                                   see also Lopez-Ramos v. Cemex de Puerto Rico, Inc., 2020 WL 5224190, *8 (D.P.R. Sept. 1,
                                                   2020) (“Circuit and District courts have repeatedly found that OSHA does not authorize a
                                                   private cause of action for discriminatory retaliation.”) (cleaned up). Thus, this claim must be
                                                   DISMISSED WITH PREJUDICE.
                                                   Pere-Orench v. Acting Sec. of the Dept of Homeland Sec. (D. P.R. 2023)
142.   Weinberg v. Advanced Data Processing,       Plaintiff Yehonatan Weinberg (“Plaintiff”) commenced this class action lawsuit on August 4,
                                                   2015, against Defendants Advanced Data Processing, Inc. (“ADP”) and Intermedix Corp.
       Inc., 147 F.Supp.3d 1359 (S.D. Fla. 2015)   (“Intermedix,” together with ADP, “Defendants”),1 for failure to safeguard the sensitive
                                                   personal information of Plaintiff and other emergency medical service patients (the “Class”),
                                                   including their names, dates of birth, Social Security numbers, dates of medical services,
                                                   health insurance information, and other protected health information (collectively,
                                                   “Sensitive Information”), pursuant to the Health Insurance Portability and Accountability Act
                                                   of 1996 (“HIPAA”), 42 U.S.C. §§ 1301, et seq., and its implementing rules. Held: "HIPAA
                                                   provides no private right of action—a fact which Plaintiff does not contest. See Pl. Resp. at
                                                   7–8;..." Weinberg v. Advanced Data Processing, Inc., 147 F.Supp.3d 1359 (S.D. Fla. 2015)
                                                   “Florida courts have refused to recognize a private right of action for negligence per se based
                                                   on an alleged violation of a federal statute that does not provide for a private right of
                                                   action.” Stevens v. Danek Medical, Inc., 1999 WL 33217282, at *5–6 (S.D.Fla.1999) (citing
                                                   Jupiter Inlet Corp. v. Brocard, 546 So.2d 1, 2–3 (Fla. 4th DCA 1998) (“OSHA [Occupational
                                                   Safety and Health Act] does not provide the basis for a private right of action.... [Thus,]
                 Case 1:22-cv-02234-EK-LB             Document 74-2 Filed 08/24/23                 Page 31 of 58 PageID #:
                                                                4009
                                                                   EXHIBIT 3
                                                     LIST OF 218 FEDERAL CASE SUMMARIES
                                                      ON OSHA PRIVATE RIGHT OF ACTION

                                                     “violation of OSHA does not constitute per se negligence); see Zarrella v. Pacific Life Ins. Co.,
                                                     755 F.Supp.2d 1218, 1228–29 (S.D.Fla. Nov. 10, 2010) (“Plaintiffs cannot use negligence per
                                                     se to create a private...
                                                     Weinberg v. Advanced Data Processing, Inc., 147 F.Supp.3d 1359 (S.D. Fla. 2015)

143.   Schambeau v. Schambeau (S.D. Ala. 2021)       In his amended complaint, Schambeau invokes federal question jurisdiction1 on the basis of
                                                     the following statues and federal code section/rule: (1) 15 U.S.C. § 77q (fraudulent interstate
                                                     transactions); (2) 17 C.F.R. § 240.13b2-1 (falsification of accounting records); and (3) 18
                                                     U.S.C. § 1514A (the Whistleblower Protection Act). (Doc. 4, PageID. 18).
                                                     Schambeau v. Schambeau (S.D. Ala. 2021)
                                                     Plaintiff cannot rely on this statute to bring suit because he has not established that he filed
                                                     a written complaint with OSHA in order to allow OSHA to resolve his claims administratively
                                                     before filing suit in this Court. In addition, Plaintiff makes no
                                                     allegation (nor can he17) that he was discharged, that he engaged in protected activity, or
                                                     that the protected activity was a contributing factor in any adverse employment action.18...
                                                     Schambeau v. Schambeau (S.D. Ala. 2021)

144.   Simkus v. United Air Lines, Inc. (N.D. Ill.
                                                     Simkus filed his whistleblower complaint with OSHA on May 10, 2010. Doc. 42 at 25. The
       2012)                                         specific retaliatory acts alleged in the amended complaint took place, at the latest, on April
                                                     26, 2009, when Simkus was transferred to a different work location. Id. at 23 (referring to
                                                     "further acts of continued retaliation ... beginning in 2008, and 2009"), 27, 51-55 (listing
                                                     specific acts of retaliation, none of which took place after 2008). Because Simkus does not
                                                     allege a specific retaliatory act that took place within 180 days (giving him the benefit of
                                                     new, longer period) of his May 2010 OSHA whistleblower complaint,...
                                                     Simkus v. United Air Lines, Inc. (N.D. Ill. 2012) "For the foregoing reasons, United's motion to
                                                     dismiss is granted." Simkus v. United Air Lines, Inc. (N.D. Ill. 2012)

145.   Daly v. Citigroup Inc., 939 F.3d 415 (2nd     The plaintiff in this case did not file her complaint with OSHA until at least two years after
                                                     she became aware of the alleged violation. The district court concluded that Daly's claim
       Cir. 2019)                                    required dismissal because she had failed to exhaust her administrative remedies, even
                                                     though it was not certain whether the proper vehicle for that dismissal was for lack of
                                                     jurisdiction, under Rule 12(b)(1), or for failure to state a claim, under Rule 12(b)(6).
                                                     Daly v. Citigroup Inc., 939 F.3d 415 (2nd Cir. 2019)"Here, Daly failed to satisfy her
                                                     administrative exhaustion requirements because she did not file a timely complaint with
                                                     OSHA." Daly v. Citigroup Inc., 939 F.3d 415 (2nd Cir. 2019)




146.   King v. Fox Grocery Co., 642 F.Supp. 288
       (E.D. Pa. 1986)                               Nor has plaintiff included any evidence which would establish a link between his discharge
                                                     and any protests he made about unsafe conditions. Plaintiff has not as yet satisfied the court
                                                     as to the relevance of the evidence concerning the taping down of high speed buttons on the
                 Case 1:22-cv-02234-EK-LB           Document 74-2 Filed 08/24/23                 Page 32 of 58 PageID #:
                                                              4010
                                                                 EXHIBIT 3
                                                   LIST OF 218 FEDERAL CASE SUMMARIES
                                                    ON OSHA PRIVATE RIGHT OF ACTION

                                                   employee's pallet carriers. He fairly has established that employees engaged in this
                                                   prohibited practice; that he had done so on two occasions; that management was aware of
                                                   this practice; and that OSHA had cited Fox for this violation of safety standards. Plaintiff has
                                                   not shown how this relates to his discharge. his is the statutory remedy applicable to
                                                   allegations of this nature; the courts of appeals have not found a private right of action
                                                   under OSHA. See Taylor v. Brighton Corporation, 616 F.2d 256 (6th Cir. 1980); McCarthy v.
                                                   Bark Peking, 676 F.2d [642 F. Supp. 291] 42 (2nd Cir.1982)...
                                                   King v. Fox Grocery Co., 642 F.Supp. 288 (E.D. Pa. 1986)

147.   Burnett v. BJ&’s Wholesale Club, Inc. (D.   This dispute arises out of Burnett's time as an employee at a BJ's retail location in Owings
                                                   Mills, Maryland. (Compl.) Burnett was hired in June 2021 to work part-time as a forklift
       Md. 2023)                                   operator at that location. (Id.) “[D]uring the hiring process,” Burnett disclosed to BJ's his
                                                   “physical and mental disabilities,” including post-traumatic stress disorder, bipolar disorder,
                                                   depression, anxiety, schizophrenia, and chronic pain. (Am. Compl., ECF No. 23, ¶ III(D)-(E).)
                                                   During Burnett's interview for the position, the store's general manager allegedly told him
                                                   that employees operating “heavy lift equipment” were not required to wear steel-toed shoes
                                                   because the store was a retail facility. (Compl.) At the time, Burnett understood a certain
                                                   provision of the United States Occupational Safety and Health Administration's (&ldquo
                                                   ;OSHA”) workplace safety regulations, Standard 1926.95, to require all operators of heavy lift
                                                   equipment to wear steel-toed shoes, including at retail facilities. (Id.)... "On or around
                                                   October 13,2021, Burnett suffered a workplace injury when he tripped over a coworker's
                                                   foot-an incident which he characterizes as an assault and battery-and he noticed when he
                                                   tripped that the coworker was not wearing steel-toed shoes. (Id.)..." Burnett v. BJ&#39;s
                                                   Wholesale Club, Inc. (D. Md. 2023) "Burnett reported the Owings Mills BJ's location for
                                                   noncompliance with OSHA Standard
                                                   1926.95 via OSHA's online complaint portal. (Compl.) In November 2021, while Burnett was
                                                   still on leave and collecting “temporary disability [benefits],” BJ's terminated his
                                                   employment." Burnett v. BJ&#39;s Wholesale Club, Inc. (D. Md. 2023)
                                                   Burnett v. BJ&#39;s Wholesale Club, Inc. (D. Md. 2023) "violated the Occupational Safety and
                                                   Health Act's (“OSH Act”) “whistleblower protection” provision, 29 U.S.C. § 660(c);..." Burnett
                                                   v. BJ&#39;s Wholesale Club, Inc. (D. Md. 2023) Footnote:
                                                   The relevant provision governing OSHA complaints does not provide a private right of action.
                                                   See 29 U.S.C. § 660(c); see also Doe I v. Scalia, 58 F.4th 708,711 (3rd Cir. 2023) (“In general,
                                                   OSHA, rather than private litigants, is responsible for assuring workplace safety. In
                                                   furtherance of that objective, the OSH Act funnels safety grievances through OSHA's
                                                   administrative processes.”). Burnett v. BJ&’s Wholesale Club, Inc. (D. Md. 2023)




148.   Walsh v. United States Postal Serv. (W.D.   Plaintiff Martin J. Walsh, the United States Secretary of Labor (“the Secretary”), brings this
                                                   action under Section 11(c) of the Occupational Safety and Health Act of 1970, 29 U.S.C. §
       Pa. 2022)                                   660(c), against Defendant, the United States Postal Service (“USPS”), alleging that USPS
                 Case 1:22-cv-02234-EK-LB               Document 74-2 Filed 08/24/23                Page 33 of 58 PageID #:
                                                                  4011
                                                                     EXHIBIT 3
                                                       LIST OF 218 FEDERAL CASE SUMMARIES
                                                        ON OSHA PRIVATE RIGHT OF ACTION

                                                       violated the law when it fired a postal employee in retaliation for having reported a work
                                                       injury. "On or about April 21, 2016, the day before he was given a termination letter,
                                                       Holland initiated a complaint with OSHA alleging that USPS discriminated against him in
                                                       violation of Section 11(c)(1) of the Act." Walsh v. United States Postal Serv. (W.D. Pa. 2022)

149.   Porter v. Williams (M.D. Ga. 2016)              On January 16, 2014, the Housing Authority terminated Porter. The Housing Authority
                                                       asserts that it terminated Porter due to "unsatisfactory job performance." Defs.' Mot. for
                                                       Summ. J. Ex. O, Separation Notice, ECF No. 10-21. Porter contends that she had no job
                                                       performance problems. Pl.'s Resp. in Opp'n to Defs.' Mot. for Summ. J. 4-5. A few months
                                                       later, in August 2014, Porter filed a complaint with the Occupational Safety and Health
                                                       Administration ( "OSHA") regarding the Housing Authority's failure to provide her with health
                                                       insurance. An Administrative Law Judge ("ALJ")...
                                                       Porter v. Williams (M.D. Ga. 2016)
150.   Jones v. Manor Care Health Servs. (E.D.         "Plaintiff claims she was injured on the job on August 8, 2011 and is now disabled as a result
                                                       of that injury. Plaintiff asserts that she was terminated in retaliation for filing a workers'
       Mo. 2017)                                       compensation claim..." "Additionally, plaintiff's claims brought pursuant to the Occupational
                                                       Health and Safety Act and against the United States Occupational Safety and Health
                                                       Administration will also be dismissed." The Occupational Safety and Health Act "creates no
                                                       private right of action for an injured employee against his employer." B&B Insulation, Inc. v.
                                                       Occupational Safety and Health Review Comm'n, 583 F.2d 1364, 1371 n. 11 (5th Cir. 1978)...
                                                       Jones v. Manor Care Health Servs. (E.D. Mo. 2017)
151.   Liban v. McCarty (E.D. Pa. 2017)                "Although his safety concerns were appreciated, his complaints dealt with the design and
                                                       redesign of equipment, which was monitored by the Operations Unit of PWD, not the
                                                       Construction Unit to which he was assigned. (Id.)..." Liban v. McCarty (E.D. Pa. 2017)"In
                                                       addition, Plaintiff raises a claim, alleging violations of regulations imposed by the
                                                       Occupational Health and Safety Administration (OSHA). (Doc. No. 1 ¶ 121.)..." Liban v.
                                                       McCarty (E.D. Pa. 2017)
152.   Reed v. Tyson Foods, Inc. (W.D. Tenn.
                                                       Plaintiffs Symantha Reed, Charles Goez, James Spaulding, Gary Crawford, Wendy Wharton,
       2022)                                           and Michelle Whitehead filed this action in the Dyer County Chancery Court against their
                                                       employer Tyson Foods, Inc. Plaintiffs allege that Defendant Tyson Foods violated their rights
                                                       under the First, Fourth, and Fifth Amendments to the United States Constitution; the
                                                       Tennessee Constitution, Article I, Section 3; the Religious Freedom Restoration Act (“RFRA”),
                                                       42 U.S.C. § 2000bb et seq.; the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12010 et
                                                       seq.; the Nuremberg Code; Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et seq.;
                                                       the Food, Drug, and Cosmetic Act (“FDCA”), 21 U.S.C. § 360bbb-3; the Tennessee Human
                                                       Rights Act (“THRA”), Tenn. Code Ann. § 4-21-101 et seq.; the Tennessee Disability Act
                                                       (“TDA”), Tenn. Code Ann. § 8-50-103 et seq.; and Tenn. Code Ann. § 14-1-101 et seq., by
                                                       requiring them to be vaccinated with the COVID-19 vaccine prior to November 1, 2021, or
                                                       else go on unpaid leave without the assurance of ever reclaiming their jobs.
                                                       Reed v. Tyson Foods, Inc. (W.D. Tenn. 2022) – NO OSHA Section 11(a) Claim – but Heald no
                                                       Private right of action under Tennessee Constitution

153.   Jenkins v. Sec. Eng'rs, Inc. (11th Cir. 2019)   The district court also granted Jenkins's request to file an amended complaint, which she did
                                                       on May 29, 2018. Jenkins's amended complaint (1) provided more detailed allegations
                 Case 1:22-cv-02234-EK-LB             Document 74-2 Filed 08/24/23                Page 34 of 58 PageID #:
                                                                4012
                                                                   EXHIBIT 3
                                                     LIST OF 218 FEDERAL CASE SUMMARIES
                                                      ON OSHA PRIVATE RIGHT OF ACTION

                                                     regarding the claims asserted in her initial complaint, and (2) added these two claims: wage
                                                     and hour violations under FLSA and retaliation under the Occupational Safety and Health
                                                     Act, 29 U.S.C. § 660(c) ( "OSHA") for reporting safety violations. "The district court dismissed
                                                     Jenkins's OSHA retaliation claim because OSHA affords no private right of action." Jenkins v.
                                                     Sec. Eng'rs, Inc. (11th Cir. 2019)

154.   Marshall v. N.L. Industries, Inc., 618 F.2d   The Secretary later filed this lawsuit arguing that defendant had violated Section 11(c) of the
                                                     Act as construed in OSHA regulations and seeking a variety of relief, including a permanent
       1220 (7th Cir. 1979)                          injunction against further violations by defendant, back pay and vacation pay for Heard, and
                                                     the posting of a prescribed notice.
                                                     Marshall v. N.L. Industries, Inc., 618 F.2d 1220 (7th Cir. 1979)

155.   Hayslett v. Tyson Foods, Inc. (W.D. Tenn.     When Plaintiff requested a religious accommodation, Defendants offered her up to one year
                                                     of absence without pay that would commence November 1, 2021. Id. ¶ 15. Defendants
       2023)                                         explained to Plaintiff that her other options were taking the vaccine or termination. Id. ¶ 16.
                                                     After Defendants refused Plaintiff's request for an alternative accommodation, id. ¶ 17,
                                                     Plaintiff elected to take the unpaid leave of absence, effective November 1, 2021. Id. ¶ 18. In
                                                     May 2022, Plaintiff notified Defendants she no longer wanted to remain on unpaid leave and
                                                     requested a return to work. Id. ¶ 20. Defendants refused her request to come back without
                                                     first receiving the vaccine. Id. ¶ 21. Based on these factual premises, the Complaint alleges
                                                     that Defendants have terminated or constructively terminated Plaintiff's employment in
                                                     violation of Tenn. Code Ann. § 14-2-102(a). Motion to Dismiss Denied.
                                                     Hayslett v. Tyson Foods, Inc. (W.D. Tenn. 2023)
156.   Horton v. Narbaitz (N.D. Cal. 2023)           "Although Horton filed complaints, the SAC alleges that “[n]othing was done by SFPUC
                                                     management regarding implementing a safety plan” or improve safety." Horton v. Narbaitz
                                                     (N.D. Cal. 2023) "The crux of these claims is that after Horton was assaulted near his job site,
                                                     causing him severe trauma, the defendants discriminated against him based on his disability
                                                     and race, failed to accommodate his disability, and ultimately fired him by way of medical
                                                     separation." Horton v. Narbaitz (N.D. Cal. 2023)
157.   Firmin v. Richard Constr., Inc. (E.D. La.
                                                     Firmin did not merely put forth unidentified claims that could be interpreted by the Court as
       2012)                                         arising under state or federal law. Rather, he explicitly and repeatedly relied on federal
                                                     statutes and made no mention of state law. His later identification of state discrimination
                                                     statutes does not affect the Court's jurisdiction, which is based on the face of plaintiff's
                                                     complaint. See Torres, 113 F.3d at 542.
                                                         Nevertheless, that Firmin's claims raise federal questions does not resolve the issue of
                                                     whether the Court may exercise subject matter jurisdiction.
                                                     The Court in fact held that Firmin may not bring a cause of action under OSHA, as the statute
                                                     does not allow for a private right of action for retaliatory discharge. R. Doc. 23 at 5 (citing
                                                     George v. Aztec Rental Ctr. Inc., 763 F.2d 184, 186 (5th Cir. 1985)).
                                                     Firmin v. Richard Constr., Inc. (E.D. La. 2012)
                 Case 1:22-cv-02234-EK-LB             Document 74-2 Filed 08/24/23                 Page 35 of 58 PageID #:
                                                                4013
                                                                   EXHIBIT 3
                                                     LIST OF 218 FEDERAL CASE SUMMARIES
                                                      ON OSHA PRIVATE RIGHT OF ACTION

158.   Cichocki v. Mass. Bay Cmty. Coll. (D. Mass.   Cichocki alleges that MassBay, O'Donnell, and Nelson-Bailey violated OSHA's prohibition of
       2013)                                         an unsafe work environment by failing to address Cichocki's "repeated oral and written
                                                     complaints of [an] unsafe work environment" and taking "actions that exacerbated the
                                                     already dangerous situation" at Cichocki's workplace. (#1 ¶ 6).          Cichocki will not succeed
                                                     on this claim because OSHA does not create a private right of action. Enforcement of the
                                                     provisions of OSHA, 29 U.S.C. §§ 651-678 (2000), is reserved for the United States Secretary
                                                     of Labor. See 29 U.S.C. § 658 (authorizing the Secretary to issue citations for violations of
                                                     occupational safety and health standards and to establish reasonable time for abatement);
                                                     29 U.S.C. § 662 (authorizing Secretary to file petition for injunctive relief to restrain imminent
                                                     workplace dangers). Cichocki cannot maintain a private cause of action against MassBay
                                                     pursuant to OSHA, see, e.g., Cabana v. Forcier, 148 F. Supp.2d 110, 115 (D. Mass. 2001)
                                                     (citing Elliot v. S.D. Warren Co., 134 F.3d 1, 4 (1st Cir. 1998)), he is unable to demonstrate
                                                     that this claim is likely to succeed on the merits.
                                                     Cichocki v. Mass. Bay Cmty. Coll. (D. Mass. 2013)

159.   Cichocki v. Mass. Bay Cmty. Coll. (D. Mass.   Here, it is not clear whether or not plaintiff is attempting to maintain her own private cause
       2013)                                         of action under the OSHA statute or if she is using the statute to support her retaliation
                                                     claim. To the extent that plaintiff is citing the OSHA statute as a private cause of action, said
                                                     action is prohibited by the statute.
                                                     Jacques-Scott v. Sears Holdings Corp. (D. Del. 2011)

160.   Jacques-Scott v. Sears Holdings Corp. (D.     Plaintiff was employed by defendants, Sears Holdings Corporation and Sears Roebuck and
                                                     Company ("Sears" or collectively "defendants"), from January 28, 2008 until June 11, 2008.
       Del. 2011)                                    Plaintiff alleges that during her employment she was discriminated against based on her age,
                                                     race and gender, subjected to a hostile work environment and her character was defamed.
                                                     Plaintiff further alleges that her employment was terminated in retaliation for reporting
                                                     safety, health and fire violations...under the Federal OSHA. "Any amendment would be futile
                                                     since the plaintiff cannot establish a private right of action under the statute. Therefore, the
                                                     plaintiff's claim for relief under the OSHA statute should be dismissed with prejudice."
                                                     Jacques-Scott v. Sears Holdings Corp. (D. Del. 2011)

161.   Baudison v. Walmart, Inc. (S.D. Ill. 2021)    "Finally, the Court remains convinced that its dismissal of any OSHA claim was correct. As
                                                     outlined in its Memorandum and Order, there is no private right of action under OSHA (See
                                                     Doc. 29)." Baudison v. Walmart, Inc. (S.D. Ill. 2021)

162.   Drevaleva v. Alameda Health Sys. (N.D.        "he plaintiff's discussion under the federal Occupational Safety and Health Act (OSHA) is
                                                     without merit. See ECF No. 47 at 9-10. Nothing in the complaint alleges an OSHA violation.
       Cal. 2017)                                    factual allegation suggests that this is an occupational-safety case." "The regulation that the
                                                     plaintiff repeatedly cites (29 C.F.R. § 1977.11) relates to retaliation for giving 'testimony.'
                                                     Nothing in the complaint suggests that AHS retaliated against the plaintiff for giving
                                                     testimony." Drevaleva v. Alameda Health Sys. (N.D. Cal. 2017) "It is not a grant of jurisdiction,
                                                     does not create a private right of action, and does not address anything that is going on in
                                                     the plaintiff's complaint." Drevaleva v. Alameda Health Sys. (N.D. Cal. 2017)
                 Case 1:22-cv-02234-EK-LB             Document 74-2 Filed 08/24/23                Page 36 of 58 PageID #:
                                                                4014
                                                                   EXHIBIT 3
                                                     LIST OF 218 FEDERAL CASE SUMMARIES
                                                      ON OSHA PRIVATE RIGHT OF ACTION


163.   Munoz v. Navistar Int'l Corp. (N.D. Okla.     "She contends that she informed 'John Mattox in Worker's Compensation that the
                                                     Defendant was unlawfully reporting OSHA recordable accidents,' and was thereafter
       2015)                                         'harassed ... and terminated....'..." Munoz v. Navistar Int'l Corp. (N.D. Okla. 2015)

164.   Palmer v. Amazon.com, Inc., 498               "But courts are not expert in public health or workplace safety matters, and lack the training,
                                                     expertise, and resources to oversee compliance with evolving industry guidance. Plaintiffs’
       F.Supp.3d 359 (E.D. N.Y. 2020)                claims and proposed injunctive relief go to the heart of OSHA's expertise and discretion."
                                                     "The risk of inconsistent rulings further weighs in favor of applying the doctrine of primary
                                                     jurisdiction. This case concerns state and federal guidance addressing workplace safety
                                                     during a pandemic for which there is no immediate end in sight." Palmer v. Amazon.com,
                                                     Inc., 498 F.Supp.3d 359 (E.D. N.Y. 2020)Palmer v. Amazon.com, Inc., 498 F.Supp.3d 359 (E.D.
                                                     N.Y. 2020)

165.   Blessing v. United States, 447 F.Supp. 1160
                                                     These cases, now before us on Rule 12 motions, raise the important question whether a
       (E.D. Pa. 1978)                               claim is stated against the United States under the Federal Tort Claims Act by a complaint
                                                     alleging that personal injuries have been sustained by an employee of a private industrial
                                                     plant as the result of a negligently conducted inspection of the facility by representatives of
                                                     the Occupational Safety and Health Administration hereinafter "OSHA".
                                                     neither the regulations nor the statute is at the heart of the present actions. Rather,
                                                     plaintiffs' claims center on principles of common law tort, made applicable to claims against
                                                     the United States by the FTCA, whereby one is rendered liable to another for breach of a
                                                     duty voluntarily assumed by affirmative conduct, even when that assumption of duty is
                                                     gratuitous.
                                                     Blessing v. United States, 447 F.Supp. 1160 (E.D. Pa. 1978)

166.   Pinson v. 45 Dev., LLC, 758 F.3d 948 (8th
                                                     Pinson also argues that the Occupational Safety and Health Act (OSHA), the International
       Cir. 2014)                                    Builders Code, and the National Electrical Safety Code established a standard of care
                                                     breached by 45 Development at the time of his injury. The district court concluded that any
                                                     such safety violations could be presented to a jury as evidence of negligence, but that they
                                                     were not relevant at the summary judgment stage. OSHA does not generally expand
                                                     employer duties from those at common law, and the statute does not create a private right
                                                     of action nor does it preempt state law. See29 U.S.C. § 653(b)(4); Solis v. Summit
                                                     Contractors, Inc., 558 F.3d 815, 828–29 (8th Cir.2009). Pinson also failed to demonstrate that
                                                     other safety codes, even if adopted by statute in Arkansas, establish a standard of care or
                                                     expand 45 Development's common law duty. As we pointed out in Chew, “Arkansas courts
                                                     have been hesitant to permit Arkansas statutes and regulations to expand common law
                                                     causes of action” without “clear legislative intent.
                                                     Pinson v. 45 Dev., LLC, 758 F.3d 948 (8th Cir. 2014)
                 Case 1:22-cv-02234-EK-LB            Document 74-2 Filed 08/24/23                 Page 37 of 58 PageID #:
                                                               4015
                                                                  EXHIBIT 3
                                                    LIST OF 218 FEDERAL CASE SUMMARIES
                                                     ON OSHA PRIVATE RIGHT OF ACTION



167.   Mullen v. Norfolk S. Ry. Co. (W.D. Pa.
                                                    In his Complaint, Mullen alleges that "he was illegally dismissed by NSR in retaliation for
       2015)                                        having protested unsafe acts in violation of Federal rail safety regulations, refused to commit
                                                    the acts himself, and confronted managers as to their violations of these regulations in a
                                                    company safety meeting, where such problems are supposed to be raised." Pl.'s Compl. at
                                                    1...
                                                    Mullen v. Norfolk S. Ry. Co. (W.D. Pa. 2015)"According to OSHA, 'there [was] no evidence
                                                    that [Mullen's] discipline was motivated in any way by his protected activity, but rather
                                                    because of his disruptive behavior and insubordination.' Def.'s App'x Ex. 2, ECF No. 37-2 at
                                                    3." Mullen v. Norfolk S. Ry. Co. (W.D. Pa. 2015)

168.   Gunnells v. United States, 514 F.Supp. 754   The defendant contends that neither the Bureau of Mines nor the Corps of Engineers has an
                                                    actionable duty to enforce the provisions of the Mine Act or the Refuse Act and
       (S.D. W.Va. 1981)                            [514 F. Supp. 757]that neither Act gives rise to an implied private right of action. Defendant
                                                    further contends that negligent enforcement of federal statutes is not actionable under the
                                                    FTCA...Gunnells v. United States, 514 F.Supp. 754 (S.D. W.Va. 1981)

169.   Edwards v. Elmhurst Hosp. Ctr. (E.D. N.Y.    To the extent that plaintiff brings this suit to address the alleged unsafe working conditions
                                                    at the defendant Hospital, the Court notes that there is no private right of action under the
       2013)                                        United States Occupational Health and Safety Administration ( "OSHA") statutes. Donovan v.
                                                    Occupational Safety and Health Review Comm'n, 713 F.2d 918, 926 (2d Cir. 1983).
                                                    Edwards v. Elmhurst Hosp. Ctr. (E.D. N.Y. 2013)

170.   Hendrix v. Pactiv LLC (W.D. N.Y. 2020)       "Plaintiff asserts a cause of action under OSHA due to Cronk's alleged falsification of OSHA
                                                    paperwork on January 19, 2018." Hendrix v. Pactiv LLC (W.D. N.Y. 2020)
                                                    "Pursuant to this provision, it is now well established that 'OSHA violations do not
                                                    themselves constitute a private cause of action for breach.'" Am. Fed'n of Gov't Employees,
                                                    AFL-CIO v. Rumsfeld, 321 F.3d 139, 143-44 (D.C. Cir. 2003) (quoting Crane v. Conoco, Inc., 41
                                                    F.3d 547, 553 (9th Cir. 1994); citing Pedraza v. Shell Oil Co., 942 F.2d 48, 52 (1st Cir. 1991)
                                                    ("[E]very court faced with the issue has held that OSHA creates no private right of action.");
                                                    other citations omitted).
                                                    Hendrix v. Pactiv LLC (W.D. N.Y. 2020)

171.   Garvey v. Admin. Review Bd. (D.C. Cir.       "In August 2016, Garvey filed a pro se complaint with the Occupational Safety and Health
                                                    Administration (' ;OSHA') at the Department of Labor ('DOL') against Morgan Stanley for
       2022)                                        alleged retaliation in violation of Section 806..." Garvey v. Admin. Review Bd. (D.C. Cir. 2022)

172.   Green v. N.Y.C. Transit Auth. (S.D. N.Y.     "While Plaintiff claims that NYCTA 'violated her rights by still using a known carcinogen'
                                                    contained in soap, Plaintiff does not have a private right of action to bring that claim. SAC, p.
       2019)                                        33. Thus, Plaintiffs OSHA claims are dismissed." Green v. N.Y.C. Transit Auth. (S.D. N.Y. 2019)
                 Case 1:22-cv-02234-EK-LB          Document 74-2 Filed 08/24/23                 Page 38 of 58 PageID #:
                                                             4016
                                                                EXHIBIT 3
                                                  LIST OF 218 FEDERAL CASE SUMMARIES
                                                   ON OSHA PRIVATE RIGHT OF ACTION




173.   Von Maack v. Wyckoff Heights Med. Ctr.
                                                  Finally, Plaintiff alleges that Defendant violated a number of federal and state regulations
       (S.D. N.Y. 2016)                           governing pharmacies, including 10 N.Y.C.R.R. § 405.17; N.Y. Educ. Law, Art. 137; 29 C.F.R. §
                                                  1910.1200; OSHA Directive CPL 02-02-054; and United States Pharmacopeia Chapter 797.
                                                  Compl. at 59-61. Yet, as in her prior suit against 1199, Plaintiff has not directed the Court to
                                                  any provision creating a private right of action to enforce these regulations. Von Maack v.
                                                  1199SEIU United Healthcare Workers E., 2014 WL 5801349, at *7. Plaintiff's claims
                                                  predicated on these regulations are therefore dismissed with prejudice.
                                                  Von Maack v. Wyckoff Heights Med. Ctr. (S.D. N.Y. 2016)

174.   Desai v. Dejoy (E.D. Va. 2023)             "Plaintiff asserts claims that do not appear to be explicitly based on a statute, writing that
                                                  she is bringing claims under the “legal standard for discrimination act,”
                                                  for “unsafe work,..." "]Accordingly, Plaintiff's OSHA claim is dismissed for lack of subject-
                                                  matter jurisdiction." Desai v. Dejoy (E.D. Va. 2023)

175.   Jarvis v. Oakland-Macomb Obstretrics       Here, plaintiff alleges that in mid-July 2020 she engaged in protected activity under the WPA
                                                  when she contacted OSHA and subsequently informed her supervisor that she had done so
       (E.D. Mich. 2022)                          and was considering filing a complaint with OSHA. (ECF No. 29, PageID.195, ¶¶ 38-39).
                                                  Plaintiff further alleges that she thereafter suffered adverse employment actions in the form
                                                  of increased exposure to COVID-19, discipline, and termination. (Id., PageID.209, ¶ 124).
                                                  On November 17, 2020, plaintiff allegedly attended a meeting with defendants, during which
                                                  she expressed her concerns regarding defendants' COVID-19-related protocols and her
                                                  exposure to COVID-19 in particular. (Id., PageID.198-99, ¶¶ 57-65). Plaintiff alleges that at
                                                  this meeting, defendant Micallef was “dismissive of her concerns, ” “used an angry tone, ”
                                                  told her that “she was ‘paranoid, '” “advised [her] . . . to immediately cease discussing her
                                                  dissatisfaction with Defendants' protocols, ” and “described her as ‘impossible to satisfy.'”
                                                  (Id., PageID.199, ¶¶ 66-70).
                                                  Jarvis v. Oakland-Macomb Obstretrics (E.D. Mich. 2022)

176.   Intern. Brominated Solvents v. Amer.
                                                  Plaintiffs allege in Count V that federal law prohibits the Department of Labor, acting
       Conference, 393 F.Supp.2d 1362 (M.D. Ga.   through OSHA, from using its Hazard Communication Rule, 29 C.F.R. § 1910.1200, to
       2005)                                      incorporate by reference "prospective versions or editions of publications or standards —
                                                  such as the 2005 TLVs — into the Code of Federal Regulations." Pls.' Brief in Resp. to Fed.
                                                  Defs.' Mot. to Dismiss, tab 66, at 23; see Pls.' Am. Compl., tab 24, at ¶¶ 118-121. The Rule
                                                  was promulgated pursuant to the Occupational Health and Safety Act ("OSH Act"), 29
                                                  U.S.C.A. § 651 et seq. (1999). Plaintiffs assert that the Rule violates the Federal Register Act,
                                                  the Paperwork Reduction Act, and the Due Process Clause of the Fifth Amendment.
                                                  Intern. Brominated Solvents v. Amer. Conference, 393 F.Supp.2d 1362 (M.D. Ga. 2005)
                 Case 1:22-cv-02234-EK-LB              Document 74-2 Filed 08/24/23                  Page 39 of 58 PageID #:
                                                                 4017
                                                                    EXHIBIT 3
                                                      LIST OF 218 FEDERAL CASE SUMMARIES
                                                       ON OSHA PRIVATE RIGHT OF ACTION




177.   Acosta v. Idaho Falls Sch. Dist. No. 91, 291
                                                      On May 31, 2011, Penny Weymiller filed a whistleblower complaint with the U.S. Secretary
       F.Supp.3d 1162 (D. Idaho 2017                  of Labor, alleging that the District retaliated against her for raising concerns with asbestos
                                                      removal plans, in violation of the whistleblower provisions of the Asbestos Hazard
                                                      Emergency Response Act of 1986 ("AHERA"). The Occupational Safety and Health
                                                      Administration ( "OSHA") investigated Ms. Weymiller's claims and announced its
                                                      determination on January 15, 2015. OSHA found that Ms. Weymiller had been subject to
                                                      whistleblower retaliation...
                                                      Acosta v. Idaho Falls Sch. Dist. No. 91, 291 F.Supp.3d 1162 (D. Idaho 2017)

178.   Sinegal v. Ryan Marine Servs., 712             "Plaintiff was employed by Dynamic Industries, Inc. (“Dynamic”) as a welder/rigger/fitter to
                                                      perform work on the Maritech High Island A 560 stationary platform off the coast of
       F.Supp.2d 597 (S.D. Tex. 2008)                 Galveston in the Gulf of Mexico." Sinegal v. Ryan Marine Servs., 712 F.Supp.2d 597 (S.D. Tex.
                                                      2008)
                                                      Plaintiff alleges that during the basket transfer from the platform to the boat, high winds and
                                                      rough conditions prevented Williams from controlling the basket, and caused the basket to
                                                      strike the crew boat port stacks and hit the railing of the boat. Plaintiff claims that, as a
                                                      result, he lost his footing and fell to the deck of the boat, suffering severe injuries to his neck,
                                                      back, wrist, and knee.3...
                                                      Sinegal v. Ryan Marine Servs., 712 F.Supp.2d 597 (S.D. Tex. 2008)
                                                       No Private right of action for personal injury claims – court held that:
                                                      “The Fifth Circuit and other courts have further determined that OSHA does not create a
                                                      private right of action, and thus does not impose any duty on an employer. See, e.g., Jeter v.
                                                      St. Regis Paper Co., 507 F.2d 973, 976-77 (5th Cir.1975) (“[N]o cause of action for such
                                                      violations can be implied under OSHA to run in favor of a person who was not an employee
                                                      of the violator against whom recovery is sought.”). The Texas Courts of Appeals have also
                                                      rejected the argument that OSHA regulations impose such a non-delegable duty on a
                                                      premises owner, and have held that common law duties are not expanded by OSHA. See,
                                                      e.g., McClure v. Denham, 162 S.W.3d 346, 352-54 (Tex.App.-Fort Worth 2005).
                                                      Sinegal v. Ryan Marine Servs., 712 F.Supp.2d 597 (S.D. Tex. 2008)

179.   Mason v. Ashland Exploration, Inc., 965
                                                      Plaintiff Clarence Mason, a painter, was seriously injured when he caught his hand in the
       F.2d 1421 (7th Cir. 1992)                      rotating counterweights of an oil pump. In 1986, he filed a diversity action in the Southern
                                                      District of Illinois against the pump's owners, Ashland Oil, Inc. and Ashland Exploration, Inc.
                                                      (collectively referred to as "Ashland"), and the pump's manufacturer, National Supply
                                                      Company ("National"). In 1991, the district court granted summary judgment in favor of
                                                      Ashland and National, concluding that, under Illinois law, they had no duty to warn or to
                                                      protect Mr. Mason from the obvious dangers of the counterweights.
                                                      Mr. Mason's reliance on OSHA and its regulations warrants little discussion. In Merritt v.
                                                      Bethlehem Steel Corporation, 875 F.2d 603, 608 (7th Cir.1989), this court held that an
                 Case 1:22-cv-02234-EK-LB            Document 74-2 Filed 08/24/23                Page 40 of 58 PageID #:
                                                               4018
                                                                  EXHIBIT 3
                                                    LIST OF 218 FEDERAL CASE SUMMARIES
                                                     ON OSHA PRIVATE RIGHT OF ACTION

                                                    employee of a contractor has no private right of action based on OSHA against the operator
                                                    of a workplace who violates that statute. Merritt, therefore, precludes Mr. Mason's OSHA
                                                    claim. See also 29 U.S.C. § 653(b)(4); Jeter v. St. Regis Paper Co., 507 F.2d 973, 976-77 (5th
                                                    Cir.1975). 6...
                                                    Mason v. Ashland Exploration, Inc., 965 F.2d 1421 (7th Cir. 1992)
180.   Mason v. Ashland Exploration, Inc., 965
                                                    Mr. Mason's reliance on OSHA and its regulations warrants little discussion. In Merritt v.
       F.2d 1421 (7th Cir. 1992)                    Bethlehem Steel Corporation, 875 F.2d 603, 608 (7th Cir.1989), this court held that an
                                                    employee of a contractor has no private right of action based on OSHA against the operator
                                                    of a workplace who violates that statute. Merritt, therefore, precludes Mr. Mason's OSHA
                                                    claim. See also 29 U.S.C. § 653(b)(4); Jeter v. St. Regis Paper Co., 507 F.2d 973, 976-77 (5th
                                                    Cir.1975). 6...
                                                    Mason v. Ashland Exploration, Inc., 965 F.2d 1421 (7th Cir. 1992)

181.   Smith v. Wal-Mart Stores, Inc., 167 F.3d     "'Thus, if there was an OSHA violation ... Kimberly Clark was under an affirmative OSHA duty
                                                    to periodically inspect and to see that work and walk surfaces were unobstructed, which
       286 (6th Cir. 1999)                          duty was owed to its employees.' Id. at 539. 6 See also Rouse v. CSX..." Smith v. Wal-Mart
                                                    Stores, Inc., 167 F.3d 286 (6th Cir. 1999)

182.   Gardner v. Greg's Marine Constr., Inc. (D.
       Md. 2014)                                    9). Moreover, "OSHA does not independently establish tort duties between a contractor and
                                                    employees of other contractors or subcontractors. The Act explicitly states that it shall not
                                                    be construed to supersede or affect any workmen's compensation law or to enlarge or
                                                    diminish the common law or statutory rights, duties, or liabilities of employers with respect
                                                    to injuries to their employees." Jones, 2004 WL 1254029, at *5. The Fourth Circuit has
                                                    stated, "'[i]n a negligence action, regulations promulgated under . . . [OSHA] provide
                                                    evidence of the standard of care exacted of employers, but they neither create an implied
                                                    cause of action nor establish negligence per se.'" Albrecht v. Balt. & Ohio R. Co., 808 F.2d
                                                    329, 332 (4th Cir. 1987) (quoting Melerine v. Avondale Shipyards, Inc.,659 F.2d 706 (5th Cir.
                                                    1981)); Ellis v. Chase Commc'ns, Inc., 63 F.3d 473, 478 (6th Cir. 1995) ("even if an OSHA
                                                    violation is evidence of [defendant's] negligence . . . [defendant] must owe a duty to
                                                    [plaintiff] under a theory of liability independent of OSHA, as OSHA does not create a private
                                                    right of action. OSHA regulations can never provide a basis for liability").
                                                    Gardner v. Greg's Marine Constr., Inc. (D. Md. 2014)

183.   Smith v. Millennium Rail, Inc., 241
                                                    Assuming arguendo that Millennium Rail did commit OSHA violations, Smith fails to
       F.Supp.3d 1183 (D. Kan. 2017)                demonstrate the second element: that he reported any OSHA violations either internally or
                                                    externally. Smith relies on Flenker v. Willamette Industries, Inc.95 in asserting his OSHA-
                                                    related claim. But Flenker dealt exclusively with the whistleblower exception.96 And as the
                                                    name suggests, one cannot bring such an action without alleging that he was in fact a
                                                    whistleblower. Here, no such evidence exists. Smith does not allege that he filed a
                                                    [241 F.Supp.3d 1207]
                 Case 1:22-cv-02234-EK-LB           Document 74-2 Filed 08/24/23                Page 41 of 58 PageID #:
                                                              4019
                                                                 EXHIBIT 3
                                                   LIST OF 218 FEDERAL CASE SUMMARIES
                                                    ON OSHA PRIVATE RIGHT OF ACTION


                                                   complaint, internally or externally, about perceived OSHA violations.
                                                   Smith v. Millennium Rail, Inc., 241 F.Supp.3d 1183 (D. Kan. 2017)


184.   Mckeown v. Port Authority of N.Y. & N.J.,
                                                   The only provision in OSHA that permits a private citizen to bring a suit in federal court to
       162 F.Supp.2d 173 (S.D. N.Y. 2001)          enforce a standard is section 655(f), which allows

       Employee can bring a suit directly in the        [a]ny person who may be adversely affected by a standard issued under this section ... at
                                                   any time prior to the sixtieth day after such standard is promulgated [to] file a petition
       Federal Court of Appeals challenging a      challenging the validity of such standard with the United States court of appeals for the
       standard.                                   circuit wherein such person resides or has his principal place of business, for a judicial review
                                                   of such standard.
                                                      29 U.S.C. § 655(f).
                                                   Mckeown v. Port Authority of N.Y. & N.J., 162 F.Supp.2d 173 (S.D. N.Y. 2001)

185.   Westley v. Mann (D. Minn. 2012)             "In October 2008, Westley and AFTEF, through defendant Pukel, commenced a legal action in
                                                   Miami Dade Circuit Court before defendant Sigler to obtain compliance with federal OSHA
                                                   workplace laws, ADA access requirements, fire, life and safety codes and public health
                                                   regulations. Id.,..." Westley v. Mann (D. Minn. 2012) No provide right o action for OSHA
                                                   violations
186.   McCrae v. H.N.S. Mgmt. (D. Conn. 2022)
                                                   In July 2022, Plaintiffs attended a meeting with an assistant manager at HNS, where they
                                                   were told that it was up to Ms. Pellegrini to decide whether or not the disinfectants would
                                                   continue to be used, and Ms. Pellegrini had decided to go ahead with their use. (Id. ¶ 35.)
                                                   After this meeting, Plaintiffs filed individual complaints with OSHA. (Id.)...
                                                   McCrae v. H.N.S. Mgmt. (D. Conn. 2022)

187.   Roman v. Tyco Simplex Grinnell (M.D. Fla.
                                                   The Court also explained that OSHA does not create a private right of action, so Roman could
       2017)                                       not bring a claim under that statute. (Id. at 6). Roman then filed his Third Amended
                                                   Complaint. (Doc. # 16). The Third Amended Complaint included four different
                                                   counts: two counts for breach of oral contract, one count for "Unsafe-Unfair work
                                                   conditions," which was brought under OSHA...
                                                   Roman v. Tyco Simplex Grinnell (M.D. Fla. 2017)

188.   Federal Deposit Ins. V. Schuchmann, 235
                                                   In support of its finding in Valdez that Congress did not intend to legislate negligence as a
       F.3d 1217 (10th Cir. 2000)                  matter of law for any violation of OSHA, the New Mexico Supreme Court cited a section of
                                                   OSHA that provides "[n]othing in this chapter shall be construed to . . . diminish or affect in
                                                   any other manner the common law or statutory rights, duties, or liabilities of employers and
                                                   employees." 29 U.S.C. 653(b)(4).
                Case 1:22-cv-02234-EK-LB            Document 74-2 Filed 08/24/23                Page 42 of 58 PageID #:
                                                              4020
                                                                 EXHIBIT 3
                                                   LIST OF 218 FEDERAL CASE SUMMARIES
                                                    ON OSHA PRIVATE RIGHT OF ACTION

                                                   Federal Deposit Ins. V. Schuchmann, 235 F.3d 1217 (10th Cir. 2000)

189.   Ross v. Tenn. Commercial Warehouse, Inc.    "Plaintiff filed a complaint with the North Carolina Labor Board, which forwarded his
                                                   complaint to the Occupational Safety and Health Administration ( 'OSHA'). Id. OSHA then
       (W.D. N.C. 2014                             investigated and dismissed the complaint, id. at 3-4, and Plaintiff filed the present action on
                                                   July 16, 2014." Ross v. Tenn. Commercial Warehouse, Inc. (W.D. N.C. 2014) "In their Motion
                                                   to Dismiss, Defendants correctly assert that the Occupational Safety and Health Act provides
                                                   no private right of action. (Doc. No. 4, p. 4). Therefore, Defendants' motion to dismiss
                                                   Plaintiff's claim under the Occupational Safety and Health Act of 1970 is GRANTED." Ross v.
                                                   Tenn. Commercial Warehouse, Inc. (W.D. N.C. 2014)

190.   Mickens v. Gen. Elec. Co. (W.D. Ky. 2016)
                                                   In Paragraph 32 of Plaintiff's complaint, Mickens alleges that GE violated the Occupational
                                                   Safety and Health Act "in relation to how to address which bathroom the Plaintiff was to
                                                   have used while an employee." (Complaint ¶32.) In as much as this is an independent claim,
                                                   the Defendant correctly notes that OSHA does not create a private civil remedy. Ellis v. Chase
                                                   Communications, Inc., 63 F.3d 473, 477 (6th Cir. 1995); Akers v. Wal-Mart Stores, Inc., 2011
                                                   WL 826246 (E.D. Tenn. March 3, 2011). Accordingly, Defendant's motion to dismiss this claim
                                                   is granted.
                                                   Mickens v. Gen. Elec. Co. (W.D. Ky. 2016)

191.   Greenwood v. Frost (D. Haw. 2019)
                                                   To the extent Plaintiffs are attempting to bring an OSHA claim, like HIPAA, "OSHA violations
                                                   do not themselves constitute a private cause of action for breach." Crane v. Conoco, Inc., 41
                                                   F.3d 547, 553 (9th Cir. 1994). Instead, "in private civil actions with a valid statutory or
                                                   common law basis, the plaintiff may seek to introduce applicable OSHA standards to prove
                                                   the duty owed to the plaintiff by the defendant." Sevcik v. Unlimited Constr. Services, Inc.,
                                                   2006 WL 1285013, at *3 (D. Haw. May 8, 2006).
                                                   Greenwood v. Frost (D. Haw. 2019)

192.   In re Complaint of Wepfer Marine, Inc.,
                                                   Even so, the Court deems it appropriate to comment on the Claimant's final argument; that
       344 F.Supp.2d 1130 (W.D. Tenn. 2004)        is, that violations of the Occupational Safety and Health Act (" ;OSHA") committed by Wepfer
                                                   constitute negligence per se, citing Teal v. E.I. DuPont de Nemours & Co., 728 F.2d 799 (6th
                                                   Cir.1984). In Teal, the Sixth Circuit held that an OSHA violation could constitute negligence
                                                   per se if the injured party was a member of a class of persons the statute was intended to
                                                   protect. Teal, 728 F.2d at 804. In Ellis v. Chase Communications, Inc., 63 F.3d 473, 477 (6th
                                                   Cir.1995), the Sixth Circuit clarified its earlier holding, noting that Teal "does not change the
                                                   law of this circuit that OSHA does not create a private right of action." Consequently, with
                                                   the LHWCA claim dismissed, Gonzalez cannot sustain this action based solely on an alleged
                                                   OSHA violation.
                                                   In re Complaint of Wepfer Marine, Inc., 344 F.Supp.2d 1130 (W.D. Tenn. 2004)
                 Case 1:22-cv-02234-EK-LB         Document 74-2 Filed 08/24/23                Page 43 of 58 PageID #:
                                                            4021
                                                               EXHIBIT 3
                                                 LIST OF 218 FEDERAL CASE SUMMARIES
                                                  ON OSHA PRIVATE RIGHT OF ACTION

193.   Schwartzman Inc. v. Atchison Topeka
                                                 Instead, the court determined that "OSHA violations do not constitute a basis for assigning
       Santa Fe Ry., 857 F.Supp. 838 (D. N.M.    negligence as a matter of law" because of the lack of legislative intent to allow private civil
       1994                                      actions for damages based on violations of OSHA standards. Id. at 577-78, 734 P.2d 1258,
                                                 citing Arvas v. Feather's Jewelers, 92 N.M. 89, 91, 582 P.2d 1302 (Ct.App.1978) (reaching the
                                                 same conclusion in dicta).


                                                      Other courts have disallowed negligence per se claims predicated on environmental
                                                 statutes which are similar to New Mexico's. In Lutz v. Chromatex, 718 F.Supp. 413
                                                 (M.D.Pa.1989),...
                                                 Schwartzman Inc. v. Atchison Topeka Santa Fe Ry., 857 F.Supp. 838 (D. N.M. 1994)

194.   Metz v. Wyeth, LLC, 872 F.Supp.2d 1335    Case mentions - "OSHA does not provide a basis for a private right of action and violations of
                                                 it do not constitute negligence per se )." Metz v. Wyeth, LLC, 872 F.Supp.2d 1335 (M.D. Fla.
       (M.D. Fla. 2012)                          2012)

195.   Ingram Industries, Inc. v. Nowicki, 502
                                                 The decision of the Court is also in accord with the Sixth Circuit's interpretation of these
       F.Supp. 1060 (E.D. Ky. 1980)              Supreme Court cases. In Taylor v. Brighton Corp., 616 F.2d 256, 257 (6th Cir. 1980), the Court
                                                 was presented with the question of "whether the Occupational Safety and Health Act, 29
                                                 U.S.C. §§ 651-678, creates an implied private right of action whereby an employee
                                                 discharged in retaliation for reporting safety violations to OSHA may maintain a suit against
                                                 his former employer." In affirming the district court's decision that it does not, the Court's
                                                 analysis centered on the inquiry: "Did Congress intend to create a private right of action in
                                                 this situation?" Id. at 259. The Court then looked to the statutory language in answering this
                                                 question:
                                                 Two points are evident from the statutory language. First, Congress nowhere mentioned
                                                 private suits to enforce § 11(c). Second, Congress explicitly provided an alternative means of
                                                 redressing § 11(c) violations. `In view of these express provisions for enforcing the statutory
                                                 prohibition, it is highly improbable that "Congress absentmindedly forgot to mention an
                                                 intended private action."' TAMA v. Lewis, supra, 444 U.S. at 20, 100 S.Ct. at 247 (quoting
                                                 Cannon v. University of Chicago, supra, 441 U.S. at 742, 99 S.Ct. at 1981 (Powell, J.,
                                                 dissenting)).
                                                 Ingram Industries, Inc. v. Nowicki, 502 F.Supp. 1060 (E.D. Ky. 1980)

196.   Augustus v. AHRC Nassau (E.D. N.Y. 2012   Plaintiff also alleges that she was retaliated against for asking that Defendant provide better
                                                 lighting at one of its outdoor job sites. (Compl. ¶ 8.) While Plaintiff does not specify the law
                                                 under which she brings this claim, the Court construes it as a claim under the Occupational
                                                 Safety and Health Act ( "OSHA"). See 29 CFR § 1926.26 (setting forth "minimum illumination
                                                 intensities" for work areas); 29 U.S.C. § 660(c)(1) (prohibiting retaliation against any
                                                 employee for protesting violations of any requirements under the Act). Plaintiff cannot
                                                 sustain this claim in federal court, because the exclusive remedy for retaliation under OSHA
                 Case 1:22-cv-02234-EK-LB             Document 74-2 Filed 08/24/23                 Page 44 of 58 PageID #:
                                                                4022
                                                                   EXHIBIT 3
                                                     LIST OF 218 FEDERAL CASE SUMMARIES
                                                      ON OSHA PRIVATE RIGHT OF ACTION

                                                     is to file an administrative complaint with the Secretary of Labor. 29 U.S.C. § 660(c)(2). There
                                                     is no private right of action under OSHA. Rompalli v. Portnova, No.09 Civ. 3083, 2010 WL
                                                     2034362, at *2 (S.D.N.Y. May 21, 2010) (...
                                                     Augustus v. AHRC Nassau (E.D. N.Y. 2012)
197.   Lawson v. FMR LLC, 670 F.3d 61, 33 IER        In the notice of final rulemaking promulgating these regulations, OSHA repeatedly states that
                                                     “[t]hese rules are procedural in nature and are not intended to provide interpretations of the
       Cases 457, 95 Empl. Prac. Dec. P 44417        Act.” 69 Fed.Reg. 52,104, 52,105 (Aug. 24, 2004). In this case, the DOL has explicitly stated
       (1st Cir. 2012)                               that “[t]he Department of Labor does not have substantive rulemaking authority with
                                                     respect to section 1514A” and thus the Secretary of Labor does not seek Chevron deference
                                                     “for her procedural regulations.”...
                                                     Lawson v. FMR LLC, 670 F.3d 61, 33 IER Cases 457, 95 Empl. Prac. Dec. P 44417 (1st Cir. 2012)
198.   Ingram Industries, Inc. v. Nowicki, 502
                                                     The decision of the Court is also in accord with the Sixth Circuit's interpretation of these
       F.Supp. 1060 (E.D. Ky. 1980)                  Supreme Court cases. In Taylor v. Brighton Corp., 616 F.2d 256, 257 (6th Cir. 1980), the Court
                                                     was presented with the question of "whether the Occupational Safety and Health Act, 29
                                                     U.S.C. §§ 651-678, creates an implied private right of action whereby an employee
                                                     discharged in retaliation for reporting safety violations to OSHA may maintain a suit against
                                                     his former employer." In affirming the district court's decision that it does not, the Court's
                                                     analysis centered on the inquiry:...
                                                     Ingram Industries, Inc. v. Nowicki, 502 F.Supp. 1060 (E.D. Ky. 1980)
199.   Power v. GEO Grp. (D. N.M. 2021)              "Plaintiff shared OSHA materials with staff; filed additional grievances; collected more
                                                     samples; and asked prison officials to stop the paint grinding project. (Doc. 1) at 4-5." Power
                                                     v. GEO Grp. (D. N.M. 2021) "Nothing in the statute creates a private right of action for
                                                     enforcing air quality standards." Power v. GEO Grp. (D. N.M. 2021)
200.   Gonzalez v. Red Hook Container Terminal       "Plaintiff also asserts that Defendant violated the rules and regulations of the New York State
                                                     Industrial Code, the Board of Standards and Appeals, and the Occupational Safety and Health
       LLC (E.D. N.Y. 2016)                          Administration ( 'OSHA')." Gonzalez v. Red Hook Container Terminal LLC (E.D. N.Y. 2016)
201.   Erhart v. Bofi Holding, Inc., 387 F.Supp.3d
                                                     Erhart failed to fully exhaust his administrative remedy with the Occupational Safety and
       1046 (S.D. Cal. 2019)                         Health Administration ( "OSHA") before filing his lawsuit. (Id. 9:14–11:16.) Therefore, BofI
                                                     seeks a ruling that this claim fails to the extent it rests on protected activity that was not
                                                     adequately raised in Erhart's administrative complaint filed with OSHA. (Id. )...
                                                     Erhart v. Bofi Holding, Inc., 387 F.Supp.3d 1046 (S.D. Cal. 2019)
202.   Doutherd v. Montesdeoca (E.D. Cal. 2020)
                                                     "Plaintiff alleges his employer has harmed him by its violation of OSHA regulations and put
                                                     him at risk for injury." FAC ¶ 78. There is no private right of action for OSHA violations. 29
                                                     U.S.C. § 653(b)(4) ("[n]othing in this chapter shall be construed to ... enlarge or diminish or
                                                     affect in any other manner the common law or statutory rights, duties, or
                                                     liabilities of employers and employees."); see also Crane v. Conoco, Inc., 41 F.3d 547, 553
                                                     (9th Cir. 1994) (noting no private right of action under OSHA). Plaintiff's purported private
                                                     claim for OSHA violations is barred as a matter of law.
                                                     Doutherd v. Montesdeoca (E.D. Cal. 2020)
203.   Turner Constr. Co., 421 F.Supp.3d 645         "In summary, the Court holds Dickey's wrongful discharge claim is not cognizable because
                                                     the wrongful discharge allegedly stems from a violation of Iowa Code § 730.5..." Dickey v.
       (S.D. Iowa 2019)                              Turner Constr. Co., 421 F.Supp.3d 645 (S.D. Iowa 2019)
                 Case 1:22-cv-02234-EK-LB          Document 74-2 Filed 08/24/23                Page 45 of 58 PageID #:
                                                             4023
                                                                EXHIBIT 3
                                                  LIST OF 218 FEDERAL CASE SUMMARIES
                                                   ON OSHA PRIVATE RIGHT OF ACTION

204.   Powell v. Laurie (D. Kan. 2020)            "(noncompliance with OSHA does not state an Eighth Amendment violation); Gillespie v.
                                                  Wall, 2011 WL 3319990 *4 (D.R.I. 8/1/2011)(conclusory allegations of fire code violations fail
                                                  to state a claim)." Powell v. Laurie (D. Kan. 2020)
205.   McCarty v. Covol Fuels No. 2, LLC, 978
                                                  Plaintiffs' theory of negligence per se without the Plaintiff first showing an independent basis
       F.Supp.2d 799 (W.D. Ky. 2013)              for a duty owed to McCarty. Defendant's argument arises from language in Ellis v. Chase
                                                  Communications, Inc., 63 F.3d 473, 478 (6th Cir.1995) where the court found that the
                                                  plaintiff could not simply rely on OSHA violations to establish an independent duty of care
                                                  because the regulations “can never create a private right of action,” and they “can never
                                                  provide a basis for liability.” Id. Defendant is correct in stating that Plaintiff may not base a
                                                  claim on a federal MSHA violation because KRS § 446.070 clearly only applies to violations of
                                                  Kentucky regulations. Young v. Carran, 289 S.W.3d 586, 589 (Ky.Ct.App.2008) (citing T & M
                                                  Jewelry, Inc. v. Hicks ex rel. Hicks, 189 S.W.3d 526, 530 (Ky.2006)) (“Kentucky courts have
                                                  held that the ‘any statute’ language in KRS 446.070 is limited to Kentucky statutes...
                                                  McCarty v. Covol Fuels No. 2, LLC, 978 F.Supp.2d 799 (W.D. Ky. 2013)
206.   Augustus v. Nassau, 976 F.Supp.2d 375
                                                  Plaintiff's complaint also alleges a claim of retaliation under the Occupational Safety and
       (E.D. N.Y. 2013)                           Administration (“OSHA”) laws. Plaintiff alleges retaliation under OSHA arising from her
                                                  advocacy for heightened workplace safety measures for clients, including flash lights for use
                                                  in some buildings where the lights were turned off after work hours. (Dkt. 1 at 2.) However,
                                                  as the Court previously ruled, OSHA provides no private right of action. See, e.g., Donovan v.
                                                  Occupational Safety and Health Review Comm'n, 713 F.2d 918, 926 (2d Cir.1983); see also
                                                  Jones v. Staten Island Univ. Hosp., 04–CV–3302(JG), 2006 WL 2713987, at *1 (E.D.N.Y. Sept.
                                                  22, 2006) (“neither an OSHA violation nor retaliation against an employee for complaining of
                                                  such a violation will support a cause of action under OSHA by an affected employee”).
                                                  Accordingly, Plaintiff's OSHA claim is dismissed...
                                                  Augustus v. Nassau, 976 F.Supp.2d 375 (E.D. N.Y. 2013)
207.   Costin v. Gotech, Inc. (M.D. La. 2018)
                                                  As to the OSHA claim, not only has Costin presented no evidence of an actual violation, this
                                                  claim fails as a matter of law as the Louisiana Whistleblower Statute requires an actual
                                                  violation of state law, not federal law. It is well-settled that the Louisiana Whistleblower
                                                  Statute applies only to violations of state law and does not apply to violations of federal
                                                  law.129 As such, Costin has no retaliation claim for such a violation under the Louisiana
                                                  Whistleblower Statute as a matter of law.
                                                  Costin v. Gotech, Inc. (M.D. La. 2018)
208.   McPeters v. Lexisnexis, 11 F.Supp.3d 789
                                                  Plaintiffs vigorously maintain that they “are not trying to enforce the Texas Government
       (S.D. Tex. 2014)                           Codes,” but instead are citing those violations in the same way a plaintiff might refer to
                                                  “violations of OSHA regulations [to] show that a defendant breached the applicable standard
                                                  of conduct, or a violation of the Texas Transportation Code to evidence negligence per se.”
                                                  (Id. at 10.)...
                                                  The Court's holding here is consistent with the general proposition that, where a private
                                                  right of action does not exist for the violation of a particular statute, a plaintiff cannot
                                                  “create” one by alleging that the violation of that statute nevertheless satisfies an element of
                                                  another claim. SCI Texas Funeral Servs., Inc. v. Hijar, 214 S.W.3d 148, 154 (Tex.App.-El Paso
                 Case 1:22-cv-02234-EK-LB             Document 74-2 Filed 08/24/23                Page 46 of 58 PageID #:
                                                                4024
                                                                   EXHIBIT 3
                                                     LIST OF 218 FEDERAL CASE SUMMARIES
                                                      ON OSHA PRIVATE RIGHT OF ACTION

                                                     2007). In Hijar, Plaintiffs had asserted claims for breach of contract, illegal contract, civil
                                                     conspiracy, and a violation of the Texas Occupations Code. Id. Each of those claims was
                                                     based upon an alleged violation of the federal Funeral Rule. Id. Because there was no private
                                                     right of action for a violation of that rule, the court held that appellees had no standing to
                                                     [11 F.Supp.3d 801]
                                                     assert their claims, even pleaded as different causes of action. Id.
                                                     McPeters v. Lexisnexis, 11 F.Supp.3d 789 (S.D. Tex. 2014)
                                                     McPeters v. Lexisnexis, 11 F.Supp.3d 789 (S.D. Tex. 2014)
209.   Moody v. U.S., 774 F.2d 150 (6th Cir. 1985)
                                                     We addressed this issue in Schindler v. United States, 661 F.2d 552, 560 (6th Cir.1981),
                                                     where the court held that while "[i]t is clear that usually the federal regulatory statute is not
                                                     the source of a private right of action," "[t]he federal statute or regulation may well be
                                                     relevant to the analysis of the state cause of action" under Sec. 323. (footnote omitted).
                                                     "[T]he federal regulatory statute may be relevant in defining the scope of the undertaking of
                                                     the United States and the plaintiff's right to rely thereon." Id. (footnote omitted).
                                                     Moody v. U.S., 774 F.2d 150 (6th Cir. 1985)
                                                     Held that, pursuant to the doctrine of negligence per se, an employer could be held liable for
                                                     violation of an OSHA regulation. Id. at 802-04. Accordingly, since under Tennessee law a
                                                     private individual could be held liable for violation of a federal regulation, the United States
                                                     under the FTCA is exposed to similar liability. 12...
                                                     Moody v. U.S., 774 F.2d 150 (6th Cir. 1985)
210.   Dolen-Cartwright v. Alexander (M.D. La.       OSHA Respiratory Protection Standards
                                                     Count XVIII appears to allege that the mask mandate does not comply with the Occupational
       2022)                                         Safety and Health Administration (&ldquo ;OSHA”) Respiratory Protection Standards. (R. Doc.
                                                     5 at 42-53). Plaintiff merely quotes the federal regulatory standards governing safe
                                                     respirator usage in the workplace found in 29 C.F.R. 1910.134.Plaintiff and her children are
                                                     not employees of the School Board and have not raised any allegations with respect to
                                                     respirators as defined by the regulations. Plaintiff has failed to state a claim under 29 C.F.R.
                                                     1910.134.
                                                     Dolen-Cartwright v. Alexander (M.D. La. 2022)
211.   Marsman v. Western Elec. Co., 719 F.Supp.     "The court also dismissed count VII, which alleged retaliation against Marsman by AT & T for
                                                     complaining about an alleged unsafe work environment in violation of OSHA, since there is
       1128 (D. Mass. 1988)                          no private right of action under OSHA." Marsman v. Western Elec. Co., 719 F.Supp. 1128 (D.
                                                     Mass. 1988)
212.   Myers v. U.S., 17 F.3d 890 (6th Cir. 1994)    "A violation of these regulations would be conclusively presumed to be negligence. Cf. Teal v.
                                                     E.I. DuPont De Nemours & Co., 728 F.2d 799 (6th Cir.1984) (employer's breach of OSHA
                                                     regulations was negligence per se under Tennessee law)." Myers v. U.S., 17 F.3d 890 (6th Cir.
                                                     1994)
213.   Reel v. The City of El Centro (S.D. Cal.      On July 10, 2020, Plaintiff followed up with DFEH regarding his 2019 complaint, and was
                                                     notified it was still being investigated. (Compl. ¶ 53.) He also contacted DOL to file an OSHA
       2022)                                         complaint for them to investigate the lack of Covid-19 field protocols and death of the
                                                     officer. (Compl. ¶ 53.)... "he statutes do not themselves create a private right of action; 4)
                                                     Piedra was not Johnson's employer,..." Reel v. The City of El Centro (S.D. Cal. 2022)
                Case 1:22-cv-02234-EK-LB           Document 74-2 Filed 08/24/23                    Page 47 of 58 PageID #:
                                                             4025
                                                                EXHIBIT 3
                                                  LIST OF 218 FEDERAL CASE SUMMARIES
                                                   ON OSHA PRIVATE RIGHT OF ACTION

                                                  Reel v. The City of El Centro (S.D. Cal. 2022)



214.   Kazolias v. IBEW LU 363 (S.D. N.Y. 2012)
                                                  In their Amended Complaint, Plaintiffs claim that some or all of the defendants violated the
                                                  Occupational Safety and Health Act of 1970 ( "OSHA"), 29 U.S.C. § 651 et seq. D.E. 39 at ¶¶
                                                  13, 26. OSHA does not create a private right of action. See Donovan v. Occupational Health
                                                  and Safety Review Comm'n, 713 F.2d 918, 926 (2d cir. 1983)("Under OSHA, employees do
                                                  not have a private right of action"). Thus this Court lacks jurisdiction to entertain this claim.
                                                  Rompalli v. Portnova, No. 09 Civ. 3083(RMB)(FM), 2010 WL 2034362, at *2 (S.D.N.Y. May 21,
                                                  2010).
                                                  Kazolias v. IBEW LU 363 (S.D. N.Y. 2012)
215.   Bozgoz v. James (D. D.C. 2020)
                                                  In Claim 5, plaintiffs allege a violation of the Occupational Health and Safety Act. Fourth Am.
                                                  Compl. ¶ 309. They claim that defendants committed "discriminatory acts" against plaintiffs
                                                  by failing to provide reasonable accommodations and "[f]ailing to perform safety
                                                  assessments after being requested." Id. But this does not state a viable claim, first because
                                                  "OSHA violations do not themselves constitute a private cause of action for breach." Am.
                                                  Fed'n of Gov't Employees, AFL-CIO v. Rumsfeld, 321 F.3d 139, 143 (D.C. Cir. 2003), quoting
                                                  Crane v. Conoco, Inc., 41 F.3d 547, 553 (9th Cir. 1994). Second, the definition of "employer"
                                                  in OSHA explicitly precludes the United States. 29 U.S.C. § 652(5). While the act requires
                                                  federal agencies to "provide safe and healthful places and conditions of employment," it is
                                                  clear from the statute that "Congress did not intend private litigants to enforce the OSH Act
                                                  against federal agencies."...
                                                  Bozgoz v. James (D. D.C. 2020)
216.   Gaughan v. Rubenstein, 261 F. Supp. 3d
                                                  Moreover, to the extent Plaintiff intends to state a claim for unsafe working conditions under
       390 (S.D. N.Y. 2017)                       the Occupational Safety and Health Act ( "OSHA"), 29 U.S.C. §§ 651 et seq. , OSHA does not
                                                  provide for a private right of action for employees in federal court. Jacobsen v. N.Y.C. Health
                                                  & Hosps. Corp. , No. 12-cv-7460 (JPO), 2013 WL 4565037, at *7–8 (S.D.N.Y. Aug. 28, 2013)
                                                  (collecting cases); see also Jones v. Staten Island Univ. Hosp. , No. 04-cv-3302 (JG), 2006 WL
                                                  2713987, at *1–2 (E.D.N.Y. Sept. 22, 2006) ("neither an OSHA violation nor retaliation against
                                                  an employee for complaining of such a violation will support a cause of action under OSHA
                                                  by the affected employee."). Plaintiff also suggests that Radwan's filings in this case were
                                                  retaliatory and that Rubenstein...
                                                  Gaughan v. Rubenstein, 261 F. Supp. 3d 390 (S.D. N.Y. 2017)
217.   American Federation of Gov't
                                                  Appellants American Federation of Government Employees, AFL-CIO, et al., appeal from a
       Employees v. Rumsfeld, 321 F.3d 139        judgment of the District Court dismissing their claims that the Redstone Arsenal Army
       (D.C. Cir. 2003)                           installation has failed to adhere to instructions, directives, and regulations promulgated by
                                                  the Department of Defense ("DOD"), Department of the Army ("Army"), and Office of
                                                  Personnel Management ("OPM"), pursuant to the Occupational Safety and Health Act ("
                                                  ;OSHA"), 29 U.S.C. §§ 651-678...
       Case 1:22-cv-02234-EK-LB    Document 74-2 Filed 08/24/23                Page 48 of 58 PageID #:
                                             4026
                                                EXHIBIT 3
                                  LIST OF 218 FEDERAL CASE SUMMARIES
                                   ON OSHA PRIVATE RIGHT OF ACTION


                                  [T]he enforcement scheme of the OSH Act further indicates the congressional intent not to
                                  allow employees to bring an action against a federal agency as an employer. The Act
                                  establishes an elaborate enforcement procedure in 29 U.S.C. § 659 that the Secretary of
                                  Labor may use against an "employer." However, the term "employer" does not include the
                                  United States. 29 U.S.C. § 652(5). Therefore, although 29 U.S.C. § 668(a) does require federal
                                  agencies to "provide safe and healthful places and conditions of employment," the Act
                                  confers no authority upon the Secretary to take enforcement action against federal agencies.
                                  The reason for this is that the federal agency area is one "in which ordinary enforcement and
                                  penalty provisions are hardly applicable." H.R. Rep. No. 90-1720, 90th Cong., 2d Sess. 20
                                  (1968). If Congress did not intend the Secretary of Labor to enforce the OSH Act against
                                  federal agencies, then, a fortiori, Congress did not intend private litigants to enforce the OSH
                                  Act against federal agencies. Accordingly, the Court finds that the OSH Act does not create a
                                  private right of action against federal agencies.
                                  446 F.Supp. at 183.

                                  American Federation of Gov't Employees v. Rumsfeld, 321 F.3d 139 (D.C. Cir. 2003)
218.
219.
                Case 1:22-cv-02234-EK-LB             Document 74-2 Filed 08/24/23                Page 49 of 58 PageID #:
                                                               4027
                                                               EXHIBIT 4
                                                LIST OF US COURT OF APPEALS SUMMARIES

1.              US SUPREME COURT                    Claiming that a suspended wiremesh screen in petitioner's manufacturing plant used to
                                                    protect employees from objects occasionally falling from an overhead conveyor was
                                                    unsafe, two employees of petitioner refused to comply with their foreman's order to
     Whirlpool Corp. v. Marshall, 445 U.S. 1, 100   perform their usual maintenance duties on the screen. They were then ordered to punch
                  S. Ct. 883 (1980)                 out without working or being paid for the remainder of their shift, and subsequently
                                                    received written reprimands, which were placed in their employment files. Thereafter,
                                                    respondent brought suit in Federal District Court, alleging that petitioner's actions against
                                                    the two employees constituted discrimination in violation of § 11(c)(1) of the Act, and
                                                    seeking injunctive and other relief.
                                                    the Secretary filed suit in the United States District Court for the Northern District of Ohio,
                                                    alleging that the petitioner's actions against Deemer and Cornwell constituted
                                                    discrimination in violation of § 11(c)(1) of the Act. As relief, the complaint prayed, inter
                                                    alia, that the petitioner be ordered to expunge from its personnel files all references to the
                                                    reprimands issued to the two employees, and for a permanent injunction requiring the
                                                    petitioner to compensate the two employees for the six hours of pay they had lost by
                                                    reason of their disciplinary suspensions.
                                                    To ensure that this process functions effectively, the Act expressly accords to every
                                                    employee several rights, the exercise of which may not subject him to discharge or
                                                    discrimination. An employee is given the right to inform OSHA of an imminently dangerous
                                                    workplace condition or practice and request that OSHA inspect that condition or practice.
                                                    29 U.S.C. § 657 (f)(1). He is given a limited right to assist the OSHA inspector in inspecting
                                                    the workplace, §§ 657(a)(2), (e), and (f)(2), and the right to aid a court in determining
                                                    whether or not a risk of imminent danger in fact exists. See § 660(c)(1). Finally, an affected
                                                    employee is given the right to bring an action to compel the Secretary to seek injunctive
                                                    relief if he believes the Secretary has wrongfully declined to do so. § 662(d).
                                                    The Secretary has exercised his rulemaking power under 29 U.S.C. § 657 (g)(2) and has
                                                    determined that, when an employee in good faith finds himself in such a predicament, he
                                                    may refuse to expose himself to the dangerous condition, without being subjected to
                                                    "subsequent discrimination" by the employer.
                                                    Held that Against this background of legislative silence, the Secretary has exercised his
                                                    rulemaking power under 29 U.S.C. § 657 (g)(2) and has determined that, when an
                                                    employee in good faith finds himself in such a predicament, he may refuse to expose
                                                    himself to the dangerous condition, without being subjected to "subsequent
                                                    discrimination" by the employer.
                 Case 1:22-cv-02234-EK-LB              Document 74-2 Filed 08/24/23                 Page 50 of 58 PageID #:
                                                                 4028
                                                                  EXHIBIT 4
                                                   LIST OF US COURT OF APPEALS SUMMARIES

2.    Pratico v. Portland Terminal Co., 783 F.2d                                                                                                         4(1st Cir)
                                                      He claimed that his injury was caused by the railroad's use of equipment in violation of
                  255 (1st Cir. 1985)                 OSHA regulations and that this constituted negligence per se. He also claimed that under
                                                      FELA a violation by the employer of a safety statute which leads to an injury eliminates the
                                                      employer's defense of contributory negligence. 45 U.S.C. Sec. 53. The district court found
                                                      that there was no relevan...
                                                      Pratico v. Portland Terminal Co., 783 F.2d 255 (1st Cir. 1985)

3.   Morales-Vallellanes v. Potter, 339 F.3d 9 (1st
                                                      In 1988, Morales was hired to work as a distribution and window clerk at the Caparra
                      Cir. 2003)                      Heights, Puerto Rico, Station of the United States Postal Service. On April 7, 1995, plaintiff
                                                      filed a letter with OSHA complaining of dust accumulation, rodent infestation, and other
                                                      unsanitary conditions at the Caparra Heights station. OSHA ordered the station manager to
                                                      correct the violations by June 19, 1995, but to no avail. Morales renewed his OSHA
                                                      complaint through certified letters to the OSHA Area Director on August 1, 1995,
                                                      February 23, 1996, and April 6, 1996. Finally, on June 14, 1996, OSHA conducted a formal
                                                      inspection of the Caparra Heights station and confirmed plaintiff's allegations. OSHA cited
                                                      the Caparra Heights station for at least five violations, and directed the station to remedy
                                                      the safety and health hazards by October 9, 1996.
                                                      Morales-Vallellanes v. Potter, 339 F.3d 9 (1st Cir. 2003) – No private right of action

4.       Elliott v. S.D. Warren Co., 134 F.3d 1       Three of these four courts have held squarely that, because the OSH Act does not create a
                                                      private right of action, a violation of an OSHA regulation never can be equated with
                      (1st Cir. 1997)                 negligence per se. See Robertson, 32 F.3d at 410-11; Ries, 960 F.2d at 1158-65; Albrecht,
                                                      808 F.2d at 332-33. The Sixth Circuit, like the Fifth, leaves open the possibility that a
                                                      violation of an OSHA regulation may, in some cases governed by federal law, constitute
                                                      negligence per se, see Ellis, 63 F.3d at 477; Rabon, 672 F.2d at 1238, but it is rare in either
                                                      circuit for a court actually to uphold a finding of negligence per se on this basis. Silhouetted
                                                      against this backdrop, the Pratico holding is of questionable validity.
                                                      Elliott v. S.D. Warren Co., 134 F.3d 1 (1st Cir. 1997)

5.     Lawson v. FMR LLC, 670 F.3d 61, 33 IER         In the notice of final rulemaking promulgating these regulations, OSHA repeatedly states
                                                      that “[t]hese rules are procedural in nature and are not intended to provide
     Cases 457, 95 Empl. Prac. Dec. P 44417 (1st      interpretations of the Act.” 69 Fed.Reg. 52,104, 52,105 (Aug. 24, 2004). In this case, the
                     Cir. 2012)                       DOL has explicitly stated that “[t]he Department of Labor does not have substantive
                                                      rulemaking authority with respect to section 1514A” and thus the Secretary of Labor does
                                                      not seek Chevron deference “for her procedural regulations.”...
                                                      Lawson v. FMR LLC, 670 F.3d 61, 33 IER Cases 457, 95 Empl. Prac. Dec. P 44417 (1st Cir.
                                                      2012)

6.        Daly v. Citigroup Inc., 939 F.3d 415        The plaintiff in this case did not file her complaint with OSHA until at least two years after     1 (2nd Cir)
                                                      she became aware of the alleged violation. The district court concluded that Daly's claim
                     (2nd Cir. 2019)                  required dismissal because she had failed to exhaust her administrative remedies, even
                                                      though it was not certain whether the proper vehicle for that dismissal was for lack of
                                                      jurisdiction, under Rule 12(b)(1), or for failure to state a claim, under Rule 12(b)(6).
                Case 1:22-cv-02234-EK-LB              Document 74-2 Filed 08/24/23                Page 51 of 58 PageID #:
                                                                4029
                                                                  EXHIBIT 4
                                                   LIST OF US COURT OF APPEALS SUMMARIES

                                                     Daly v. Citigroup Inc., 939 F.3d 415 (2nd Cir. 2019)"Here, Daly failed to satisfy her
                                                     administrative exhaustion requirements because she did not file a timely complaint with
                                                     OSHA." Daly v. Citigroup Inc., 939 F.3d 415 (2nd Cir. 2019)
                                                     The plaintiff-appellant Erin Daly was employed by the defendants-appellees, Citigroup Inc.,
                                                     Citigroup Global Markets, Inc., and Citibank, N.A. She brought suit in the United States
                                                     District Court for the Southern District of New York alleging gender discrimination and
                                                     whistleblower retaliation claims under several local, state, and federal laws, including the
                                                     Dodd-Frank Act and the Sarbanes-Oxley Act- which requires filing claims through OSHA

7.     Dravo Corp. v. Occupational Safety and        Foonote: "A violation of an OSHA regulation does not, however, create a private right of        2 (3rd Cir)
                                                     action against an employer for violation of its terms. Jeter v. St. Regis Paper Co., 507 F.2d
        Health Review Com'n, 613 F.2d 1227           973 (5th Cir. 1975)." Dravo Corp. v. Occupational Safety and Health Review Com'n, 613
                   (3rd Cir. 1979)                   F.2d 1227 (3rd Cir. 1979)

8.    Ries v. National R.R. Passenger Corp., 960     Our review of the legislative history of OSHA suggests that it is highly unlikely that
                                                     Congress considered the interaction of OSHA regulations with other common law and
               F.2d 1156 (3rd Cir. 1992)             statutory schemes other than worker's compensation. [Section 653(b)(4) ] is satisfactorily
                                                     explained as intended to protect worker's compensation acts from competition by a new
                                                     private right of action and to keep OSHA regulations from having any effect on the
                                                     operation of the worker's compensation scheme itself.
                                                     This appeal arises from a suit by Charles Ries against the National Railroad Passenger
                                                     Corporation (Amtrak) for damages resulting from an injury to his ankle. This case involves a
                                                     modest amount of money, but an important issue of law. Specifically, we are asked to
                                                     consider whether a violation of an Occupational Safety and Health Act (OSHA) regulation
                                                     establishes negligence per se and bars consideration of an employee's contributory
                                                     negligence under the Federal Employers' Liability Act (FELA).

9.    Rosen v. Prince George's Bd. of Educ., 81      In April 1993, Rosen was diagnosed with mesothelioma cancer of the lungs. She died in           1 (4th Cir)
                                                     March 1994. Appellants claimed that the conditions in the school violated the
              F.3d 151 (4th Cir. 1996)               Occupational Safety and Health Act (OSHA), 29 U.S.C.A. §§ 651-678 (West 1985 &
                                                     Supp.1995), and based their civil rights claim, 42 U.S.C. § 1983 (1988), on the alleged
                                                     violations.
                                                     Rosen v. Prince George's Bd. of Educ., 81 F.3d 151 (4th Cir. 1996)


10. Jeter v. St. Regis Paper Co., 507 F.2d 973,                                                                                                      5 (5th Cir)
                                                     Assuming without deciding that St. Regis may have violated the requirements of OSHA and
        35 A.L.R. Fed. 449 (5th Cir. 1975)           the regulations promulgated thereunder by the Secretary of Labor, we affirm the trial
                                                     court's charge and hold that no cause of action for such violations can be implied under
                                                     OSHA to run in favor of a person who was not an employee of the violator against whom
                                                     recovery is sought.
                                                     Jeter v. St. Regis Paper Co., 507 F.2d 973, 35 A.L.R. Fed. 449 (5th Cir. 1975)
                 Case 1:22-cv-02234-EK-LB              Document 74-2 Filed 08/24/23                 Page 52 of 58 PageID #:
                                                                 4030
                                                                EXHIBIT 4
                                                 LIST OF US COURT OF APPEALS SUMMARIES

                                                      The provisions for the enforcement of OSHA and the regulations promulgated thereunder
                                                      are sufficiently comprehensive to make such a private right of action unnecessary to
                                                      effectuate the congressional policy underpinning the substantive provisions of the statute.
                                                      See Martinez v. Behring's Bearings Service, Inc., 501 F.2d 104 (5th Cir. 1074); cf.
                                                      Breitweiser v. KMS Industries, Inc., 467 F.2d 1391, 1394 (5th Cir. 1972), cert. denied, 410
                                                      U.S. 969, 93 S.Ct. 1445, 35 L.Ed.2d 705 (1973).
                                                      Jeter v. St. Regis Paper Co., 507 F.2d 973, 35 A.L.R. Fed. 449 (5th Cir. 1975)
                                                      "Although the results are not yet conclusive as to the litigation of private claims spawned
                                                      by this relatively new Act, the courts so far have been unanimous in their rejection of
                                                      contentions similar to the one made by Jeter." Jeter v. St. Regis Paper Co., 507 F.2d 973, 35
                                                      A.L.R. Fed. 449 (5th Cir. 1975)
                                                      NOTE: Jeter points out that "The Fourth Circuit has refused to imply an action against the
                                                      employer itself, where state workmen's compensation was the exclusive remedy of the
                                                      injured party. Byrd v. Fieldcrest Mills, Inc., 496 F.2d 1323 (4th Cir. 1974)." Jeter v. St. Regis
                                                      Paper Co., 507 F.2d 973, 35 A.L.R. Fed. 449 (5th Cir. 1975) – Where there is a remedy there
                                                      is no private right of action.
                                                      Although the facts here do not call upon us to decide definitively whether OSHA may
                                                      create a private right of action by an employee against his employer, we perceive no base
                                                      upon which to posit a claim on behalf of Jeter, a nonemployee, against St. Regis. St. Regis
                                                      owes no duty to Jeter under OSHA. There being no duty, there can be no breach. The
                                                      district court was correct in not submitting this theory of action to the jury.
                                                      Jeter v. St. Regis Paper Co., 507 F.2d 973, 35 A.L.R. Fed. 449 (5th Cir. 1975)
11. George v. Aztec Rental Center Inc., 763 F.2d
                184 (5th Cir. 1985)                   On November 21, 1984, defendant filed a motion for summary judgment, contending,
                                                      inter alia, that shortly after plaintiff's discharge, which defendant contended was for
                                                      inadequate performance on the job, plaintiff filed a complaint with the Secretary of Labor
                                                      pursuant to section 11(c)(2) making the same complaint as made in this suit, namely, that
                                                      his referenced discharge was in retaliation for previous OSHA complaints, contrary to
                                                      section 11(c)(1); that in response the Department of Labor, on November 9, 1981,
                                                      determined that the discharge was a retaliatory one contrary to section 11(c)(1) and
                                                      recommended a settlement between the plaintiff, the defendant, a...
                                                      Note: "In the absence of strong indicia of a contrary congressional intent, we are
                                                      compelled to conclude that Congress provided precisely the remedies it considered
                                                      appropriate.'..." George v. Aztec Rental Center Inc., 763 F.2d 184 (5th Cir. 1985)

12.          Evans v. Turner, 59 F.3d 1242            cites - Evans v. Turner, 59 F.3d 1242 (5th Cir. 1995). "The provisions for the enforcement
                                                      of OSHA and the regulations promulgated thereunder are sufficiently comprehensive to
                     (5th Cir. 1995                   make such a private right of action unnecessary to effectuate the congressional policy
                                                      underpinning the substantive provisions of the statute."

13. Longhorn Integrity Inspection Servs., L.L.C. v.   McCurdy removed the case to federal court based on diversity jurisdiction and
                                                      counterclaimed for negligence under the Texas Deceptive Trade Practices Act ("DTPA"),
     McCurdy No. 17-20788 (5th Cir. Sep. 14,          fraudulent misrepresentation, and wrongful discharge under the Occupational Safety and
               2018) (5th Cir. 2018)                  Health Administration ( "OSHA") retaliatory discharge provision. The district court granted
                                                      LIIS summary judgment on all of McCurdy's counterclaims.
                Case 1:22-cv-02234-EK-LB             Document 74-2 Filed 08/24/23                  Page 53 of 58 PageID #:
                                                               4031
                                                                 EXHIBIT 4
                                                  LIST OF US COURT OF APPEALS SUMMARIES

                                                    Longhorn Integrity Inspection Servs., L.L.C. v. McCurdy (5th Cir. 2018) Lastly, as to
                                                    McCurdy's purported wrongful discharge action under OSHA, we agree with the district
                                                    court that there is no private right of action under OSHA's retaliatory discharge provision,
                                                    29 U.S.C. § 660(c). See George v. Aztec Rental Ctr., Inc., 763 F.2d 184, 186 (5th Cir. 1985)

14. Rabon v. Automatic Fasteners, Inc., 672 F.2d
                                                    Although OSHA creates no private right of action, violation of an OSHA regulation is
               1231 (5th Cir. 1982)                 evidence of negligence or, in appropriate circumstances, negligence per se. 13 Melerine v.
                                                    Avondale Shipyards, Inc., 659 F.2d 706 (5th Cir. 1981); see also, National Marine Services,
                                                    Inc. v. Gulf Oil Co., 433 F.Supp. 913, 919-920 (E.D.La.1977), aff'd 608 F.2d 522 (5th Cir.
                                                    1979); Buhler v. Marriott Hotels, Inc., 390 F.Supp. 999 (E.D.La.1974). 14 T...
                                                    Rabon v. Automatic Fasteners, Inc., 672 F.2d 1231 (5th Cir. 1982)



15.   Ellis v. Chase Communications, Inc., 63                                                                                                            5(6th Cir)
                                                    “OSHA regulations can never provide a basis for liability. Minichello, 756 F.2d at 29. The
       F.3d 473, 153 A.L.R. Fed. 693 (6th Cir.      Act itself explicitly states that it is not intended to affect the civil standard of liability. 29
                       1995)                        U.S.C. Sec. 653(b)(4). Plaintiffs have failed to establish a theory under which Chase owed a
                                                    duty to Ellis, as, under Tennessee law, the defendant owed no duty to protect Ellis from an
                                                    obvious and apparent danger.
                                                    Ellis v. Chase Communications, Inc., 63 F.3d 473, 153 A.L.R. Fed. 693 (6th Cir. 1995)
                                                    Instead of denying that they failed to comply with OSHA regulations or that they had an
                                                    obligation to do so, defendants denied that they had an obligation to comply with OSHA
                                                    regulations for the benefit of Ellis. In essence, defendants argued that, since Ellis was not
                                                    their employee, he was not within the class of persons protected by the OSHA regulations.
                                                    Ellis v. Chase Communications, Inc., 63 F.3d 473, 153 A.L.R. Fed. 693 (6th Cir. 1995)

16.    Dougherty v. Parsec, Inc., 824 F.2d 1477
                                                    In his complaint, Dougherty asserted that on or about June 27, 1985, Parsec discharged
                   (6th Cir. 1987)                  him from his employment at the request of Seaboard. He alleged that Seaboard brought
                                                    about his discharge because he had complained to OSHA concerning certain unsafe work
                                                    conditions which Seaboard allowed to exist on its premises. (Did not hold that there is no
                                                    private right of action – holding was on a different state statute)

17.   Marshall v. Occupational Safety and Health
                                                    Held that: “In Taylor v. Brighton Corporation, 616 F.2d 256 (6th Cir. 1980), this court held
            Review Com'n, 635 F.2d 544              that the Occupational Safety and Health Act does not create a private right of action in
                    (6th Cir. 1980)                 favor of employees.”
                                                    29 U.S.C. § 659(c) authorizes any employee of an employer contesting a citation issued by
                                                    the Secretary to challenge as unreasonable the period of time fixed in the citation for
                                                    abatement of the violation. This is the only provision in the act authorizing an affected
                                                    employee to participate in OSHA proceedings before the Commission.
                Case 1:22-cv-02234-EK-LB              Document 74-2 Filed 08/24/23                Page 54 of 58 PageID #:
                                                                4032
                                                                  EXHIBIT 4
                                                   LIST OF US COURT OF APPEALS SUMMARIES

                                                     Held “Only the Secretary of Labor is empowered by the Act to issue a citation, and the
                                                     issuance thereof is left entirely to his discretion as citations are to be issued when the
                                                     Secretary or his authorized representative `believes' that an employer has violated the Act.
                                                     29 U.S.C. § 658(a). This and other sections of the Act show that Congress intended to
                                                     exclusively bestow all enforcement powers under the Act upon the Secretary.”


18. Smith v. Wal-Mart Stores, Inc., 167 F.3d 286     "'Thus, if there was an OSHA violation ... Kimberly Clark was under an affirmative OSHA
                                                     duty to periodically inspect and to see that work and walk surfaces were unobstructed,
                  (6th Cir. 1999)                    which duty was owed to its employees.' Id. at 539. 6 See also Rouse v. CSX..." Smith v. Wal-
                                                     Mart Stores, Inc., 167 F.3d 286 (6th Cir. 1999)
19.   Moody v. U.S., 774 F.2d 150 (6th Cir. 1985)
                                                     We addressed this issue in Schindler v. United States, 661 F.2d 552, 560 (6th Cir.1981),
                                                     where the court held that while "[i]t is clear that usually the federal regulatory statute is
                                                     not the source of a private right of action," "[t]he federal statute or regulation may well be
                                                     relevant to the analysis of the state cause of action" under Sec. 323. (footnote omitted).
                                                     "[T]he federal regulatory statute may be relevant in defining the scope of the undertaking
                                                     of the United States and the plaintiff's right to rely thereon." Id. (footnote omitted).
                                                     Moody v. U.S., 774 F.2d 150 (6th Cir. 1985)
                                                     Held that, pursuant to the doctrine of negligence per se, an employer could be held liable
                                                     for violation of an OSHA regulation. Id. at 802-04. Accordingly, since under Tennessee law
                                                     a private individual could be held liable for violation of a federal regulation, the United
                                                     States under the FTCA is exposed to similar liability. 12...
                                                     Moody v. U.S., 774 F.2d 150 (6th Cir. 1985)



20.        Luyon v. GTE, Inc., 107 F.3d 873                                                                                                           5 (7th Cir)
                                                     At Luyon's request, OSHA inspected Luyon's workplace and equipment at GTE and found
                    (7th Cir. 1997)                  no violations; indeed, Luyon's equipment was safe. Luyon was told of OSHA's findings.
                                                     After the OSHA inspection, Luyon twice left work early without permission, claiming that
                                                     her equipment was unsafe and bothering her. GTE warned Luyon that if she left early
                                                     again, she could be fired. Luyon did it again, and GTE then fired her solely because she left
                                                     work early without permission or a legitimate excuse and because of her otherwise poor
                                                     work record.
                                                     Luyon v. GTE, Inc., 107 F.3d 873 (7th Cir. 1997)
21.   Merritt v. Bethlehem Steel Corp., 875 F.2d
                                                     Whether the safety standards of OSHA, the NESC and the NEC apply to
                  603 (7th Cir. 1989)                landowner/contractees such as Bethlehem is an issue we need not resolve. For even if we
                                                     assume that they are applicable to Bethlehem (that Bethlehem is Merritt's indirect or
                                                     statutory "employer" within the meaning of OSHA and the NESC/NEC), and that those
                                                     standards were violated, neither OSHA nor the NESC/NEC can be used to expand or in any
                                                     other manner affect Bethlehem's common law or statutory liability for an employee's
                Case 1:22-cv-02234-EK-LB               Document 74-2 Filed 08/24/23                 Page 55 of 58 PageID #:
                                                                 4033
                                                                   EXHIBIT 4
                                                    LIST OF US COURT OF APPEALS SUMMARIES

                                                      injuries arising out of, or in the course of, his employment. 29 U.S.C. Sec. 653(b)(4); I.C. 22-
                                                      8-1.1-48.3. 5 Merritt seeks to create a private right of action where none exists. See Jeter
                                                      v. St. Regis Paper Co., 507 F.2d 973, 976-77 (5th Cir.1975); Russell v. Bartley, 494 F.2d 334,
                                                      335-36 (6th Cir.1974); Hebel, 475 N.E.2d at 658.
                                                      Merritt v. Bethlehem Steel Corp., 875 F.2d 603 (7th Cir. 1989)

22.   Marshall v. N.L. Industries, Inc., 618 F.2d     The Secretary later filed this lawsuit arguing that defendant had violated Section 11(c) of
                                                      the Act as construed in OSHA regulations and seeking a variety of relief, including a
                1220 (7th Cir. 1979)                  permanent injunction against further violations by defendant, back pay and vacation pay
                                                      for Heard, and the posting of a prescribed notice.
                                                      Marshall v. N.L. Industries, Inc., 618 F.2d 1220 (7th Cir. 1979)

23. Mason v. Ashland Exploration, Inc., 965 F.2d
                                                      Mr. Mason's reliance on OSHA and its regulations warrants little discussion. In Merritt v.
               1421 (7th Cir. 1992)                   Bethlehem Steel Corporation, 875 F.2d 603, 608 (7th Cir.1989), this court held that an
                                                      employee of a contractor has no private right of action based on OSHA against the
                                                      operator of a workplace who violates that statute. Merritt, therefore, precludes Mr.
                                                      Mason's OSHA claim. See also 29 U.S.C. § 653(b)(4); Jeter v. St. Regis Paper Co., 507 F.2d
                                                      973, 976-77 (5th Cir.1975). 6...
                                                      Mason v. Ashland Exploration, Inc., 965 F.2d 1421 (7th Cir. 1992)
24. Chew v. American Greetings Corp., 754 F.3d        "The court dismisses plaintiff's OSHA claim because neither OSHA nor its regulations               2 (8th Cir)
                                                      'independently create private rights of action or impose alternative duties on
             632, 637 (8th Cir. 2014)..               defendants.”

                                                      Second, the Occupation Safety and Health Administration (OSHA) regulations and the
                                                      Arkansas statutes and regulations that the plaintiffs cite fail to impose an alternative duty
                                                      on American Greetings. Though a violation of an OSHA regulation may be relevant
                                                      evidence of whether American Greetings breached a duty it may have owed the plaintiffs,
                                                      see Dunn v. Brimer, 259 Ark. 855, 537 S.W.2d 164, 165–66 (1976), the regulations do not
                                                      independently create private rights of action or impose alternative duties on defendants.
                                                      See Solis v. Summit Contractors, Inc., 558 F.3d 815, 828–29 (8th Cir.2009); see also29
                                                      U.S.C. § 653(b)(4) (“Nothing in this chapter shall be construed to ... enlarge or diminish or
                                                      affect in any other manner the common law or statutory rights, duties, or liabilities of
                                                      employers and employees under any law with respect to injuries, diseases, or death of
                                                      employees arising out of, or in the course of, employment.”); Koch v. Northport Health
                                                      Servs. of Ark., LLC, 361 Ark. 192, 205 S.W.3d 754, 766 (2005) (reasoning that a federal
                                                      regulation did not provide the “relevant standard of care” but, nonetheless, could still
                                                      serve as “evidence of the types of considerations that should bear on the reasonable
                                                      person”). Similarly, Arkansas courts have been hesitant to permit Arkansas statutes and
                                                      regulations to expand common law causes of action, see Cent. Okla. Pipeline, Inc. v. Hawk
                                                      Field Servs., LLC, 2012 Ark. 157, 400 S.W.3d 701, 711 (2012); Kowalski, 378 S.W.3d at 118–
                                                      19, and only do so when faced with clear legislative intent. See Shannon v. Wilson, 329 Ark.
                                                      143, 947 S.W.2d 349, 356–58 (1997).
                 Case 1:22-cv-02234-EK-LB                Document 74-2 Filed 08/24/23                Page 56 of 58 PageID #:
                                                                   4034
                                                                     EXHIBIT 4
                                                      LIST OF US COURT OF APPEALS SUMMARIES



25.      Pinson v. 45 Dev., LLC, 758 F.3d 948
                                                        Pinson also argues that the Occupational Safety and Health Act (OSHA), the International
                    (8th Cir. 2014)                     Builders Code, and the National Electrical Safety Code established a standard of care
                                                        breached by 45 Development at the time of his injury. The district court concluded that
                                                        any such safety violations could be presented to a jury as evidence of negligence, but that
                                                        they were not relevant at the summary judgment stage. OSHA does not generally expand
                                                        employer duties from those at common law, and the statute does not create a private
                                                        right of action nor does it preempt state law. See29 U.S.C. § 653(b)(4); Solis v. Summit
                                                        Contractors, Inc., 558 F.3d 815, 828–29 (8th Cir.2009). Pinson also failed to demonstrate
                                                        that other safety codes, even if adopted by statute in Arkansas, establish a standard of
                                                        care or expand 45 Development's common law duty. As we pointed out in Chew,
                                                        “Arkansas courts have been hesitant to permit Arkansas statutes and regulations to
                                                        expand common law causes of action” without “clear legislative intent.
                                                        Pinson v. 45 Dev., LLC, 758 F.3d 948 (8th Cir. 2014)

26.            Clark v. Wells Fargo Bank                "(plaintiff's 'vague allegations with no factual support that the defendants engaged in any       3 (9th Cir)
                                                        of the requisite predicate crimes' were insufficient to survive a motion to dismiss)." Clark v.
                     (9th Cir. 2016)                    Wells Fargo Bank (9th Cir. 2016) "The district court properly dismissed Clark's allegations
                                                        of OSHA violations because OSHA does not provide a private right of action. See 29 U.S.C.
                                                        § 653(b)(4)." Clark v. Wells Fargo Bank (9th Cir. 2016)

27.   Skillsky v. Lucky Stores, Inc., 893 F.2d 1088     “A private right of action for wrongful discharge due to safety complaints co-exists with the
                                                        Cal/OSHA remedial scheme.'),..." Skillsky v. Lucky Stores, Inc., 893 F.2d 1088 (9th Cir. 1990)
                      (9th Cir. 1990)
28.   Paige v. Henry J. Kaiser Co., 826 F.2d 857        Appellants' claim is for wrongful discharge based upon violations of state statutes and
                                                        public policy. A private right of action for wrongful discharge due to safety complaints co-
                   (9th Cir. 1987)                      exists with the Cal/OSHA remedial scheme. Hentzel v. Singer Co., 138 Cal.App.3d 290, 303,
                                                        188 Cal.Rptr. 159, 167-68 (1982). California's OSHA regulations protect all workers,
                                                        irrespective of any labor agreement. State health and safety standards benefit all
                                                        employees as individual workers, not because they are or are not members of a collective
                                                        bargaining association. And California's interest in providing this private cause of action is
                                                        the enforcement of the underlying statute or policy, not to regulate the employment
                                                        relationship. Garibaldi, 726 F.2d at 1374. 10...
                                                        Paige v. Henry J. Kaiser Co., 826 F.2d 857 (9th Cir. 1987)
29.   R.T. Vanderbilt Co. v. Occupational Safety        R.T. Vanderbilt Company, an intervenor in the proceedings below, petitions this Court to          2 (11th Cir)
                                                        reverse a finding by the Occupational Health and Safety Review Commission that one of its
       and Health Review Com'n, 708 F.2d 570            talc products, "Ceramitalc HDT," contains asbestos fibers. We have jurisdiction to hear this
                  (11th Cir. 1983)                      petition pursuant to 29 U.S.C. § 660(a).
                                                        Hull Pottery Company used Ceramitalc HDT to manufacture ceramic pottery. On July 20-
                                                        21, 1977, the Occupational Safety and Health Administration (OSHA) inspected Hull's
                                                        Crooksville, Ohio plant. During the inspection, OSHA investigators took samples from the
                                                        talc itself and from the air. Laboratory analysis revealed asbestos fibers in both air and bulk
                 Case 1:22-cv-02234-EK-LB                Document 74-2 Filed 08/24/23                Page 57 of 58 PageID #:
                                                                   4035
                                                                     EXHIBIT 4
                                                      LIST OF US COURT OF APPEALS SUMMARIES

                                                        samples. Subsequently, Hull Pottery was charged with violating three provisions of OSHA's
                                                        asbestos standard: failure to wet spilled Ceramitalc before sweeping; failure to affix
                                                        asbestos caution labels on either the Ceramitalc bags or the pallet on which the bags were
                                                        stored; failure to dispose of the empty Ceramitalc bags in impermeable containers. See 29
                                                        U.S.C. § 654(a)(2); 29 C.F.R. §§ 1910.1001(c), (g), and (h).


                                                        In determining "whether Congress intended to create a private right of action under a
                                                        federal statute without saying so explicitly[,] [t]he key to the inquiry is the intent of the
                                                        legislature." Middlesex County Sewerage Auth. v. National Sea Clammers Ass'n, 453 U.S. 1,
                                                        12, 101 S.Ct. 2615 2622, 69 L.Ed.2d 435 (1981)...
                                                        R.T. Vanderbilt Co. v. Occupational Safety and Health Review Com'n, 708 F.2d 570 (11th
                                                        Cir. 1983)
                                                        In Davis v. Passman, 442 U.S. 228, 99 S.Ct. 2264, 60 L.Ed.2d 846 (1979), the Supreme Court
                                                        stated that, "in the absence of 'a textually demonstrable constitutional commitment of
                                                        [an] issue to a coordinate political department,' Baker v. Carr, supra, 369 U.S. at 217 [82
                                                        S.Ct. 691 at 710, 7 L.Ed.2d 663], we presume that justiciable constitutional rights are to be
                                                        enforced through the courts." 442 U.S. at 242,...
                                                        R.T. Vanderbilt Co. v. Occupational Safety and Health Review Com'n, 708 F.2d 570 (11th
                                                        Cir. 1983)
                                                        Primary rights do not depend on the availability of remedies but, rather, remedies are
                                                        designed by legislatures and the courts to foster the primary purposes of laws. See Hart &
                                                        Sachs, supra, at 152
                                                        The test for implying rights of action under the Constitution is less stringent than that
                                                        under statutes. In Davis v. Passman, 442 U.S. 228, 99 S. Ct. 2264, 60 L. Ed. 2d 846 (1979),
                                                        the Supreme Court stated that, "in the absence of 'a textually demonstrable constitutional
                                                        commitment of [an] issue to a coordinate political department,' Baker v. Carr, supra, 369
                                                        U.S. at 217 [82 S. Ct. 691 at 710, 7 L. Ed. 2d 663], we presume that justiciable constitutional
                                                        rights are to be enforced through the courts." 442 U.S. at 242, 99 S. Ct. at 2275. Flast v.
                                                        Cohen, 392 U.S. 83, 88 S. Ct. 1942, 20 L. Ed. 2d 947 (1968), presents an example of an
                                                        implied right of action under the Constitution.

30.   Jenkins v. Sec. Eng'rs, Inc. (11th Cir. 2019)     Pamela Blackmore Jenkins (“Jenkins”), proceeding pro se, appeals the district court's grant
                                                        of Security Engineers Inc.’s (“SEI”) motion to dismiss her employment discrimination
                                                        complaint for want of prosecution. Jenkins's employment discrimination action alleged
                                                        claims of (1) sexual harassment, a hostile work environment, and retaliation, in violation of
                                                        Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e-3(a) (“Title VII”); (2) age
                                                        discrimination, in violation of the Age Discrimination in Employment Act, 29 U.S.C. § 621
                                                        (“ADEA”); and (3) wage and hour offenses, in violation of the Fair Labor Standards Act, 29
                                                        U.S.C. § 203 (“FLSA”)
Case 1:22-cv-02234-EK-LB    Document 74-2 Filed 08/24/23                Page 58 of 58 PageID #:
                                      4036
                                      EXHIBIT 4
                       LIST OF US COURT OF APPEALS SUMMARIES

                           The district court also granted Jenkins's request to file an amended complaint, which she
                           did on May 29, 2018. Jenkins's amended complaint (1) provided more detailed allegations
                           regarding the claims asserted in her initial complaint, and (2) added these two claims:
                           wage and hour violations under FLSA and retaliation under the Occupational Safety and
                           Health Act, 29 U.S.C. § 660(c) ( "OSHA") for reporting safety violations. "The district court
                           dismissed Jenkins's OSHA retaliation claim because OSHA affords no private right of
                           action." Jenkins v. Sec. Eng'rs, Inc. (11th Cir. 2019)
